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                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


EAGLE COUNTY,                          )
COLORADO,                              )
                                       )
      Petitioner,                      )
                                               22-1019
                                       )
v.                                     )     PETITION FOR REVIEW
                                       )
SURFACE TRANSPORTATION                 )
BOARD                                  )
and THE UNITED                         )
STATES OF AMERICA,                     )
                                       )
      Respondents.                     )


      Petitioner Eagle County, Colorado (Petitioner) petitions the United States

Court of Appeals for the District of Columbia Circuit for review of two decisions

of the Respondent Surface Transportation Board (STB) decided on January 4,

2021, and December 15, 2021, in STB Finance Docket No. 36284, Seven County

Infrastructure Coalition—Rail Construction & Operation Exemption—In Utah,

Carbon, Duchesne, and Uintah Counties, Utah (collectively, the Final Decision).

The Final Decision approved the construction and operation of an 85-mile rail line

for the purpose of transporting oil from the Uinta Basin in Utah.

      Petitioner seeks review on the grounds that the Final Decision was issued

without observance of procedures required by law, is arbitrary and capricious,

constitutes an abuse of discretion, exceeds the STB’s statutory authority, and is in
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violation of the Interstate Commerce Commission Termination Act, 49 U.S.C. §

10101 et seq., National Environmental Policy Act, 42 U.S.C. § 4321 et seq.,

Administrative Procedure Act, 5 U.S.C. § 706, and other federal laws. Petitioner

requests that this Court vacate the Final Decision.

      Venue is proper pursuant to 28 U.S.C. § 2343. Pursuant to Federal Rule of

Appellate Procedure 15, a copy of the STB’s Final Decision and a list of

Respondents are attached as Exhibit A and Exhibit B, respectively.

      Rule 26.1 Disclosure Statement. Petitioner is not a “nongovernmental

corporate party,” and therefore is not required to file a corporate disclosure

statement pursuant to Federal Rule of Appellate Procedure 26.1(a).

      Dated: February 10, 2022.

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                         CERTIFICATE OF SERVICE

      I certify, in accordance with Fed. R. App. P. 15(c)(1), that on the 10th day of
February 2022, a true copy of the foregoing Petition for Review and exhibits were
sent by FedEx to:


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Ute Indian Tribe of Uintah and Ouray
Reservation



                               /s/ Nathaniel H. Hunt
                                     Nathaniel H. Hunt

                              Counsel for Petitioner Eagle County, Colorado




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            Surface Transportation Board January 4, 2021 and
                 December 15, 2021 Decisions on Review
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50412                       SERVICE DATE -JANUARY 5, 2021
EB

                           SURFACE TRANSPORTATION BOARD

                                          DECISION

                                     Docket No. FD 36284

     SEVEN COUNTY INFRASTRUCTURE COALITION- RAIL CONSTRUCTION &
      OPERATION EXEMPTION- IN UTAH, CARBON, DUCHESNE, AND UINTAH
                            COUNTIES, UTAH

        Digest: 1 The Seven County Infrastructure Coalition has filed a petition for
        exemption to construct and operate an approximately 85-mile rail line in Utah.
        The Board addresses the transportation merits of the proposed construction and
        preliminarily concludes, subject to completion of the ongoing environmental
        review, that the transportation aspects of the proposed construction meet the
        statutory exemption standard.

                                   Decided: January 4, 2021

       On May 29, 2020, the Seven County Infrastructure Coalition (Coalition) filed a petition
for exemption under 49 U.S.C. § 10502 from the prior approval requirements of 49 U.S.C.
§ 10901 for authorization to construct and operate an approximately 85-mile rail line connecting
two termini in the Uinta Basin near South Myton Bench, Utah, and Leland Bench, Utah, to the
national rail network at Kyune, Utah. The Coalition asks that the Board issue a preliminary
decision addressing the transportation aspects of the project while the environmental review is
ongoing.

         The Board received filings both supporting and opposing the petition. Several
government officials have filed in support, as discussed below. The opponents include the
Center for Biological Diversity (Center), the Argyle Wilderness Preservation Alliance (Argyle),
and numerous individuals. These commenters argue, among other things, that the requested
preliminary decision is not appropriate, that the transpotiation aspects of the petition do not
satisfy the § 10502 standards, and that the Board should reject the petition and require an
application under § 10901 .

       As discussed below, the Board concludes that an application is not necessary and that the
requested approach of issuing a preliminary decision on the transportation merits is appropriate
here. The Board prelinlinarily concludes, subject to completion of the ongoing environn1ental
review, that the proposed transaction meets the statutory standards for exemption under § 10502.

        1
        The digest constitutes no part of the decision of the Board but has been prepared for the
convenience of the reader. It may not be cited to or relied upon as precedent. See Pol'y
Statement on Plain Language Digests in Decisions, EP 696 (STB served Sept. 2, 2010).



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This decision only addresses the transportation merits, however, and does not grant the
exemption or allow construction to begin. After the Board has considered the potential
environmental impacts associated with this proposal, and weighed those potential impacts with
the transportation merits, it will issue a final decision either granting the exemption, with
conditions, if appropriate, or denying it.

                                        BACKGROUND

        The Coalition explains that it is an independent political subdivision of the State of Utah,
whose member counties include Carbon, Daggett, Duchesne, Emery, San Juan, Sevier, and
Uintah Counties. (Pet. 5.) It was fom1ed to, among other things, identify and develop
infrastructure projects that will promote resource utilization and development. (Id.) The
Coalition is proposing to construct a rail line that would extend generally southwest from
terminus points in the Uinta Basin to a connection with an existing rail line owned by Union
Pacific Railroad Company (UP) near Kyune, Utah (the Whitmore Park Alternative). The rail
line would generally parallel U.S. Route 191 through Indian Canyon and would be located within
Utah, Carbon, Duchesne, and Uintah Counties in Utah. (Id. at 8-9, 43.)

       The Coalition asserts that goods produced or consumed in the Uinta Basin today can be
transported only by truck and that the proposed project would give shippers an additional freight
transportation option, eliminating longstanding transportation constraints. (Pet. 13-15.) The
Coalition claims that adding a rail transportation option would provide local industries the
opportunity to access new markets and increase their competitiveness in the national
marketplace, and the removal of transportation constraints would benefit oil producers, mining
companies, ranchers, fam1ers, and other local industries. Qd. at 15.)

       The Coalition argues that regulation of the construction and operation of the proposed
line under§ 10901 is not needed to carry out the rail transportation policy (RTP) at 49 U.S.C.
§ 10101, that the project would promote several provisions of the RTP, and that an application
under§ 10901 is not required to protect shippers from an abuse of market power. (Pet. 21 -22.)
As noted above, the Coalition requests that, in considering the petition, the Board follow a two-
step approach, addressing the transportation aspects of the project in advance of the
environmental issues. iliL_ at 26-28.)2

        On July 7, 2020, the Center filed a reply 3 arguing that the Coalition has failed to justify
its request for a preliminary decision on the transportation merits and that the Board should reject
the petition and require the Coalition to seek its authority through an application under§ 10901.
(Ctr. Reply 1.) On the same day, Argyle also filed a reply, likewise arguing that the Board
should reject the petition for exemption and require greater scrutiny of the proposed project
through an application. (Argyle Reply 9, July 7, 2020.) Argyle argues that, if it is not rejected,
the petition for exemption should be denied because the project undermines various RTP goals.

       2
          Based on a request from Argyle, the Board extended the due date for comments on the
petition for an additional 20 days to July 7, 2020.
       3
         On July 13, 2020, the Center submitted a supplemental filing consisting of the
references cited in its reply.

                                                 2

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(Id.) Argyle also claims that the Coalition has failed to justify its requested two-step review
process. (Id. at 14.) Additionally, by separate filings submitted on July 7, 2020, Argyle
submitted numerous letters from individuals opposing the project.4

        On July 21, 2020, the Coalition filed a response to the various filings and filed a motion
asking that the Board accept its reply.5 Argyle filed in opposition to that motion on August 10,
2020. On September 14, 2020, Argyle filed a letter asking that the Board take notice of Texas
Central Railroad & Infrastructure, Inc- Petition for Exemption- Passenger Rail Line Between
Dallas & Houston, Tex., FD 36025 (STB served July 16, 2020), a decision Argyle claims
supports its position that an application is warranted here.

         The Board has also received several letters in support of the Coalition' s proposal. On
November 20, 2019, Governor Ga1y R. Herbert submitted a letter stating that the proposed rail
line represents an important opportunity to enhance the rural economies in eastern Utah and
in1prove the state's energy infrastructure and environmental stewardship. On December 1, 2020,
a joint letter supporting the Coalition's project was filed by U.S. Senators Mitt Romney and
Mike Lee and U.S. Representatives Rob Bishop, Chris Stewart, and John Curtis. On
December 7, 2020, Utah State Senate President J. Stuart Adams and Utah State House of
Representatives Speaker Brad Wilson separately filed letters in support of the project. Also on
December 7, 2020, Governor Herbert, Lieutenant Governor Spencer J. Cox, Utah State Senate
President Adams, and Utah State House of Representatives Speaker Wilson submitted a joint
letter supporting the project.

                                    PRELIMINARY MATTERS

        On August 26, 2020, the Director of the Office of Proceedings instituted a proceeding
under 49 U.S.C. § 10502(b). That decision stated that the Coalition's July 21 motion for leave to
file and other late-filed submissions would be addressed in a subsequent decision.

         The Board will grant the Coalition's motion for leave to file and accept its July 21, 2020
filing. Although 49 C.F.R. part 1121 does not provide for rebuttals and the Board strnck such
filings in the cases Argyle cites, the Board' s action in those cases was primarily focused on the
fact that the rebuttals there were filed shortly before a regulatory deadline, a factor that is not
present here. See Burlington N. & Santa Fe Ry.-Aban. of Chi. Area Trackage in Cook Cnty.,
Ill., AB 6 (Sub-No. 382X), slip op. at 1-2 (STB served Sept. 21, 1999) (filing rejected where
regulatory deadline precluded protestants' response); Cent. R.R. oflnd.- Aban. Exemption- in
Dearborn, Decatur, Franklin, Ripley, & Shelby Cntys., Ind., AB 459 (Sub-No. 2X), sl ip op. at 3
(STB served May 4, 1998) (filing rejected four days before regulatory deadline). In light of the
arguments raised here regarding the appropriateness of the exemption process and the request for
a preliminary decision on the transportation merits, the Coalition's filing provides a more
complete record for the Board to consider these arguments. A lso in the interest of a more


       4
        Letters were also filed separately by individuals Julie Mach on July 6, 2020, Powell T.
Wood on July 8, 2020, and Alan T. Robinson on July 16, 2020.
       5   The Coalition filed a letter on July 22, 2020, updating its response.

                                                  3

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complete record, the Board will accept all of the comments and letters that have been filed with
the Board.

                              DISCUSSION AND CONCLUSIONS

       The construction of new railroad lines that are to be part of the interstate rail network
requires prior Board authorization, either through issuance of a certificate under 49 U.S.C.
§ 10901 or, as requested here, through an exemption under 49 U .S.C. § 10502 from the formal
application procedures of§ 10901. Section l 090 l ( c) directs the Board to grant rail conshuction
proposals "unless the Board finds that such activities are inconsistent w ith the public
convenience and necessity." See Alaska R.R.-Constr. & Operation Exemption-A Rail Line
Extension to Port MacKenzie, Alaska, FD 35095, slip op. at 5 (STB served Nov. 21, 2011 ), affd
sub nom. Alaska Survival v. STB, 705 F.3d 1073 (9th Cir. 2013) (addressing the Board's
construction exemption process). Thus, Congress has established a presumption that rail
construction projects are in the public interest unless shown otherwise. See Lone Star R.R.-
Track Constr. & Operation Exemption- in Howard Cnty., Tex.,_FD 35874, slip op. at 3 (STB
served Mar. 3, 2016.).

        Under 49 U.S.C. § 10502(a), however, the Board, "to the maximum extent" consistent
with 49 U.S.C. §§ 10101-10908, "shall exempt" a transaction (including a construction proposal)
from the prior approval requirements of§ 10901 when it finds that: (1) regulation is not
necessary to carry out the RTP of 49 U.S.C. § 10101 ; and (2) either (a) the transaction is of
limited scope or (b) application of the statutory provision is not needed to protect shippers from
the abuse of market power. Ken Tenn Reg' l Rail Partners- Constr. & Operation Exemption-in
Fulton Cnty., Ky . & Obion Cnty., Tenn., FD 36328, slip op. at 3 (STB served Dec. 1, 2020.)
Congress thus has directed the Board to exempt a rail construction proposal from the
requirements of the full application process- even if significant in scope- so long as the
application of§ 10901 is not necessary to carry out the RTP and there is no danger of market
power abuse. See A laska Survival, 705 F.3d at 1082-83; Vill. of Palestine v. ICC, 936 F .2d
1335, 1337, 1340 (D.C. Cir. 1991).

       Application vs. Petition for Exemption.

        The Center argues that the Board should reject the petition and require the Coalition to
seek its authority through an application under § 10901. Among other reasons, the Center claims
greater scrutiny is required because the project would not be financially viable and could pose
significant financial risk to public entities and taxpayers, the most likely source of fund ing
through the issuance of municipal bonds.6 (Ctr. Reply 2, 7, 12, 20-21.)


       6
          The Center also argues that greater scrutiny is necessary here because there were
irregularities in the selection of a developer and the award of a $27.9 million grant from the Utah
Permanent Community Impact Board. (Ctr. Reply 12-16.) The Center further cla ims that the
Coalition has failed to provide the public information or solicit its input as part of the Coalition's
decisionmaking regarding the rail project. (Id. at 16-19.) These concerns, however, appear to be
based on Utah state law and should be raised in a different fornm.

                                                  4

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         The Center maintains that there are insufficient proven oil quantities in the Uinta Basin to
justify the project's construction, and that there is a limited portfolio of potential industries and
shipping commodities that the railway could service. (Id. at 2.) Furthermore, it argues that the
"collapse" in the global oil market and the American shale industry as well as weak market
forecasts make it unlikely that a real need for new crude oil transportation capacity exists in the
Basin. (Id.) Therefore, the Center contends, the public might be "on the hook" for a
multibillion-dollar project unable to pay for itself. (ldJ

       The Center also notes that the 2018 pre-feasibility study, prepared for the Coalition by
R.L. Banks & Associates, Inc. (R.L. Banks), provides an analysis of the proposed line, but the
Center asserts that the Coalition has refused to release an unredacted version of that study. (Id.
at 22-23, 25.) In redacted versions of the study, which the Center submits in its July 13, 2020
supplement, the Coalition redacted the market forecast, transportation rate, and other data
underlying the study's conclusions on the economic feasibility of the project. (Id. at 25.) The
Center argues that such data should be made publicly available so that the Board and the public
can determine whether assertions of the proposed line's viability are based on reasonable
assumptions. (lgJ

         Finally, the Center states that the construction cost of a rail line similar to the Coalition's
preferred route here was projected in 2015 to cost $4.5 billion, but the Coalition's projections for
the current preferred route are now one-third of that 2015 estin1ate, raising questions as to the
reliability of the Coalition's cost projections. Q.g_. at 19.) The Center further states that the
required financing for the project has not yet been secured and asserts that it appears increasingly
unlikely that financing can be achieved for a potentially multibillion-dollar project. Q.Q..)

        Similarly, Argyle opposes the proj ect proceeding by exemption. It claims that such an
approach is not appropriate where, as here, the proposal is vigorously contested and highly
controversial. (Argyle Reply 3-4, July 7, 2020.) Argyle also claims that there is neither
evidence of financial ability to complete the proposed construction nor evidence of public need
for the project. (1Q,_ at 4-9.) For these reasons, it argues that the Board should reject the petition
and require a full application. In its September 14, 2020 filing, Argyle notes that the Board
required an application for the construction proposed in Texas Central Railroad & Infrastructure,
Inc., FD 36025, slip op. at 13- 15. The individual commenters raise concerns similar to Argyle's
and claim, among other things, that the there is no need for the rail line and that constructing it
would needlessly disrupt landowners use of their land and adversely affect the rural area in
which the proposed line would be constructed.

        The Coalition responds that the opposition has raised no serious question showing that
the project should not be decided under the exemption criteria at§ 10502. (Coalition Reply 3-4,
July 21, 2020.) The Coalition adds that controversy does not preclude use of the exemption
process, (id. at 6), and that questions raised by opponents regarding the project's financial
viability are based on speculation rather than fact, wl, at 8). The Coalition further asserts that
Texas Central Railroad & Infrastructure, Inc., is inapposite. (Rebuttal 10.)

        The arguments presented by the opponents do not warrant rejecting the petition and
requiring an application. There is nothing in the language of§ 10502 to suggest that an


                                                   5

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exemption proceeding is inappropriate if the viability of the proposed rail line is questioned. See
Alaska Survival, 705 F.3d at 1082 (affirming the Board's exemption proceeding where financial
viability of the line was questioned). Furthermore, the Board's grant of authority to construct a
line (whether under§ 10901 or by exemption under§ 10502) is permissive, not mandatory- that
is, the Board does not require that an approved line be built. See U.S. Dep't of Energy-Rail
Constr. & Operation- Caliente Rail Line in Lincoln, Nye & Esmeralda Cntys., Nev., FD 35106,
slip op. at 3 (STB served June 27, 2008); Dakota, Minn. & E. R.R. Corp. Constr. Into the Powder
River Basin, FD 33407, slip op. at 19 (STB served Feb. 15, 2006). As a result, the Board has
repeatedly recognized that the ultimate decision to go forward with an approved project is in the
hands of the applicant and the financial marketplace, not the agency. See Mid States Coal. for
Progress v. STB, 345 F.3d 520, 552 (8th Cir. 2003) (noting the insight and expertise of financial
institutions and agreeing with the Board that the ultimate test of financial fitness will come when
the railroad seeks financ ing); U.S. Dep' t of Energy, FD 35106, slip op. at 3. Simply put, the
Board's grant of authority permits a new rail line to be built if the necessary financing is
obtained. Without moving forward with the process needed to obtain Board authority, however,
no new rail lines could be built, regardless of how viable the projects might be.

         In addition, the Coalition recognizes that conditions beyond its control can affect the
amount of rail traffic on the proposed line, (Pet. 15), and, prior to seeking authority from the
Board for this project, the Coalition asked R.L. Banks to prepare a detailed 2018 feasibility study
addressing the viability of the line. Moreover, the Utah Petroleum Association, Enefit Oil
Company, Utah Royalty Owners Association, National Oil Shale Association, and Western
Energy Alliance have expressed support for the project. (Coalition Reply 16, July 2 1, 2020.) 7
Such support, and the information submitted in this record, indicates the proposed line could be
viable. And, despite claims by the opponents that there is no public need for the line, the support
that this project has received suggests otherwise.

        It is well settled that, because the Board's authority is permissive, the Board may grant
authority to construct a line even if all outstanding issues related to the proposed construction,
such as financing, have not yet been resolved or if factors beyond the Board's control might
ultimately prevent consummation of authority for a proposed construction. See Mid States Coal.
for Progress, 345 F.3d at 552; Cal. High-Speed Rail Auth.- Constr. Exemption- in Fresno,
Kings, Tulare, & Kem Cntys., Ca l., FD 35724 (Sub-No. 1), slip op. at 11 (STB served Aug. 12,
2014) (with Board Member Begeman dissenting). The Board does not find that the additional
financial infom1ation sought by Argyle is necessary in this proceeding.8


       7
          The Center asserts that the Basin holds only approximately five years' worth of oi l at
the most by pointing to a U.S. Energy Information Administration estimate from 2019. (Ctr.
Reply 23-24.) This figure, however, only covers "proved reserves," (Ctr. Supp. 662), and, as the
Center itself admits, estin1ates of the amount of oil in the Basin "vary widely," (Ctr. Reply 23).
Indeed, the 2018 pre-feasibility study from R. L Banks lists a much higher range. (Ctr.
Supp. 392.)
       8
          For the same reasons, the Board does not need the material currently redacted in the
R.L. Banks 2018 feasibility study obtained by the Center, despite the Center's clain1 to the
contrary. (Ctr. Reply 25.)

                                                 6

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        The opponents ' filings also do not lead to a conclusion that an application is necessary
here. To be clear, the agency has found the exemption process suitable in considering other
projects that have drawn opposition.9 To the extent opponents here raise environmental issues,
the environmental review conducted by the Board does not depend on whether the proposed
construction is decided under§ 10901 or § 10502-the environmental review process is the same
under either scenario. See Cal. High-Speed Rail Auth., FD 35724 (Sub-No. 1), slip op at 11
(STB served Aug. 12, 2014).

         The Board's decisions in Ozark Mountain Railroad-Constmction Exemption, FD 32204
(ICC served Sept. 25, 1995), and Texas Central Railroad & Infrastmcture, Inc, FD 36025, slip
op. at 13-15, do not show that an application is necessary here. In Ozark Mountain Railroad, the
agency required an application under § 10901 for the proposed construction of a highly
controversial passenger excursion train as pa1t of a " huge development plan." Ozark Mountain
R.R. , FD 32204, slip op at 2. The agency decided that it would be inappropriate to move
forward without the financial infommtion required in an application because of significant
concerns that the applicant there would not be able to bring the project to fmition. Id. In Texas
Central Railroad & Infrastructure, Inc., FD 36025, slip op. at 13- 15, the Board, in requiring an
application, explained that significant questions had been raised surrounding the financial
feasibility of that proposed passenger rail project, namely the potential increase in cost from over
$ 10 billion to over $20 billion (with one estinmte over $30 billion) and the funding sources to
cover those increased costs. Indeed, in that case, the record included a letter from a Texas
Central official indicating substantially higher project costs than those previously presented to
the Board, see Texas Central, FD 36025, slip op. at 13 & n.24, and this discrepancy was not
adequately addressed. Moreover, the record indicated conflicting statements from individuals
associated with Texas Central as to the extent of nonmarket funding sources. Jo See id. at 14
n.27. Here, not only is the projected cost of the project far less than that of the projected cost of
the Texas project, but, based on the record, it has not dramatically increased as in the Texas
case. 11 Although there is some uncertainty as to financing beyond the $27 .9 million that the

       9
         See, e.g., Cal. High-Speed Rail Auth., FD 35724 (Sub-No. 1) (STB served Aug. 14,
2014); Cal. High-Speed Rail Auth.- Constr. Exemption- in Merced, Madera & Fresno Cntys.,
Cal., FD 35724 (STB served June 13, 2013); Alaska R.R., FD 35095; and San Jacinto Rail
Constr. Exemption-Build Out to the Bayport Loop Near Houston, Harris Cnty., Tex., FD 34079
(STB served Aug. 28, 2002).
        JO That is not to say that any increase in project costs or uncertainty about funding
sources necessitate an application, given that the ultimate test of financial fitness is in the hands
of the applicant and marketplace. However, when those two factors are both substantial and
inadequately or inconsistently addressed, combined with other relevant factors, including the
extent to which the marketplace will assess financial fitness, additional scrutiny may be
warranted.
        11
            In fact, the Center questions whether the costs for the project are too low because they
are lower than a similar project the Utah Department of Transportation studied in 2015. (Ctr.
Reply 19.) As the Coalition explains, however, that project was different because, among other
things, it involved the reconstruction of an existing highway, which is not part of the project at
issue here. (Coalition Reply 13, July 21, 2020.)

                                                  7

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Coalition has already received from a Utah agency, the record does not, unlike the Texas case,
include inconsistent statements from the petitioner as to the project 's costs or its target future
funding or financing sources, including from nonmarket sources .

       In short, it is appropriate to consider the Coalition's construction proposal under § 10502,
and an application proceeding under§ 10901 is not required here.

       Issuance of Preliminary Decision on the Transportation Merits.

        As noted above, the Coalition requests that the Board issue a preliminary decision
addressing the transportation aspects of the project in advance of completing its review of the
environmental issues. The Coalition explains that streamlining the regulatory process by issuing
a preliminary decision on the transportation-re lated issues would help hasten its recovery from
the economic downturn stemming from the pandemic. (Pet. 26-27.) Both Argyle and the Center
oppose the Coalition's request. The Center argues that based on prior Board precedent a
preliminary decision addressing the transportation merits requires a "showing of some unique or
compelling circumstances" and that the Coalition has made no such showing here. (Ctr.
Reply 5-6.) The Center claims that the Coalition has failed to explain how addressing the
transportation merits before completing the environmental review process and determining
whether to allow construction to begin would increase efficiencie.s in the process, mitigate the
economic impacts of the pandemic, or benefit the proposed rail line. (Id.) The Coalition
responds that examining the project in the two-step approach would hasten its ability to secure
financing for the line. (Rebuttal 14.)

        The Board has considered requests for prelinunary decisions addressing the
transportation merits of a project over the years. 12 Although the Board indicated in 2007 that it
would generally only issue a preliminary decision on the transportation merits of a constmction
proposal based on a showing of unique or compelling circumstances, 13 the Board has only once
since that time denied a request for a preliminary decision on the transportation merits, see Cal.
High-Speed Rail Auth., FD 35724 (Sub-No. 1), slip op. at 2 (STB served Dec. 4, 2013). 14 The

       12
          See Six Cnty. Ass'n of Gov' ts- Constr. & Operation Exemption- A Rail Line
Between Levan & Salina, Utah, FD 34075 (STB served Sept. 3, 2015); Alaska R.R.-Constr. &
Operation Exemption- Rail Line Between Eielson Air Force Base & Fort Greely, Alaska,
FD 34658 (STB served Oct. 4, 2007).
        13 See Alaska R.R. Constr., FD 34658, slip op. at 2. Prior to 2007, the Board did not use
this standard when considering whether to issue a preliminary decision on the transportation
merits in rail constmction cases. See, e.g., Burlington N. & Santa Fe Ry.-Constr. & Operation
Exemption-Merced Cnty., Cal., FD 34305 (STB served Mar. 28, 2003); San Jacinto Rail
Constr. Exemption, FD 34079, slip op. at 7.
        14
          In Texas Railway Exchange LLC- Constmction & Operation Exemption- Galveston
County, Tex., FD 36186 et al., slip op. at 2, 5 (STB served Jan. 17, 2020), the Board denied as
moot a request for a prelinunary decision on the transportation merits because the Board was, in
the same decision, granting the petition for exemption to constmct and operate the new rail line.
A request for preliminary decision on the transportation merits is currently pending in


                                                  8

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Board recently used the two-step process in a construction case. In that case, the applicant had
received support from state and local entities, the transportation merits of the project were
apparent, and there was no opposition to the request for preliminary decision or the exemption
itself at that time. Ken Tenn Reg'l Rail Partners, FD 36328, slip op. at 3-4. 15 Here, there is also
strong support from state and local entities (in addition to the seven-county Coalition), and the
transportation merits are convincing (as described below). While the Board acknowledges
opposition to the project, the economic circumstances, exacerbated by the current pandemic, are
compelling, and, under the circumstances, issuing a preliminary decision on the transportation
merits will help ensure the development and continuation of a sound rail transportation system,
foster sound economic conditions in transportation, and reduce barriers to entry. See 49 U.S.C.
§ 10101(4), (5) (7). Therefore, the Board finds it appropriate to issue a prelinunary decision on
the transportation merits while the Board continues the environmental review of the proposed
construction.

       Rail Transportation Analysis.

        As noted above, the Board must exempt a proposed rail line construction when it finds
that application of the provisions of§ 10901 is not necessary to carry out the RTP and there is no
danger of market power abuse. Based on the record, the Board preliminarily concludes that the
proposed construction qualifies for an exemption under § 10502 from the prior approval
requirements of§ 10901.

        First, regulation under§ 10901 is not necessary to carry out the RTP in this case. The
record here shows that the proposed rail line would provide an alternative, more cost-effective
method of transportation for shippers that are currently limited to shipping by truck. (Pet. 13-
15.) The proposed line would provide shippers in the Basin the opporturuty to enter markets
they currently cannot access due to cost constraints and the ability to import materials into the
Basin at a more econonucal cost. (Pet. 13-15; Coalition Reply 15-16, July 2 1, 2020.)
Accordingly, the proposed line would enhance competition by providing shippers in the area
with a freight rail option that does not currently exist and foster sound economic conditions in
transportation, consistent with§ 10101(4) & (5). Additionally, consistent with§§ 10101(2) and
10101(7), an exemption will minimize the need for federal regulatory control over the rail
transportation system and reduce regulatory barriers to entry by nuninuzing the time and
administrative expense associated with the construction and commencement of operations. (Pet.
21-22.)

         Argyle claims that the RTP goals at§ 10101(8), concerning public safety, and
§ 10101(11), concerning safe working conditions, would be undemuned by the project. (Argyle
Reply 9, July 7, 2020.) Argyle asserts that there will be a substantial increase in local truck
traffic if oil production were to increase to the extent claimed by the Coalition. (kl at 10.)
Argyle also claims, among other things, that rail activities could trigger forest fires and notes that
Argyle Canyon was heavily damaged by a fire in 2012. (!.4,_) The Board takes important

Brookhaven Rail LLC-Construction & Operation Exemption- in Suffolk County, N.Y.,
Docket No. FD 36398.
        15
             A petition for reconsideration has since been filed in that docket.

                                                    9

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concerns such as these seriously, and they will be examined as part of OEA's environmental
review and further examined by the Board in a subsequent decision considering the
environmental impacts of the project. Cf. Brookhaven Rail- Constr. & Operation Exemption-
in Suffolk Cnty.• N.Y., FD 36398, et al., slip op. at 6 (STB served Oct. 23, 2020) (rejecting
petition seeking exemption from 49 U.S.C. § 10909 and noting concerns stemming from
§ 10101(8), among others).

        Second, application of§ l 090 l is not necessary to protect shippers from an abuse of
market power. 16 The proposed line would enhance transportation service to shippers by
providing an opportunity to use rail service where none currently exists. Currently, the only
transportation option available to freight shippers in the Uinta Basin is trucking along two-lane
highways. (Pet. 13.) The proposed line, when completed, would provide freight shippers in the
Basin with rail service and access to the interstate rail network and would result in increased
intermodal competition with commercial freight by truck. Therefore, the proposed line would
increase competitive options to shippers and eliminate shippers' reliance on one option for
freight transportation.

       Environmental Review.

        As discussed above, the Board has prelinunarily concluded that the proposed construction
meets the statutory standards for exemption on the transportation merits, subject to completion of
the ongoing environmental review. The Board's Office of Environmental Analysis (OEA)
issued a Final Scope of Study for the Environmental Impact Statement (EIS) on December 13,
2019, and a Draft EIS on October 30, 2020, for public review and comment. OEA also held six
virtual public meetings to receive oral comments, the last of which took place on December 3,
2020. Following the conclusion of the comment period (January 28, 2021 ), OEA w ill issue a
Final EIS addressing the public comments and environmental in1pacts and make its final
recommendations to the Board.

        Following the conclusion of the environmental review process, the Board will issue a
further decision assessing the potential environmental impacts of the proposal, weighing the
potential environmental impacts and the transportation merits, and determining whether to make
the exemption effective at that time, and if so, whether to include appropriate mitigation
conditions. See Mo. Mining, Inc. v. ICC, 33 F.3d 980 (8th Cir. 1994).

       The decision issued today is a preliminary determination that does not prejudge the
Board's final decision, nor diminish the agency's environmental review process concerning the
proposed Line's construction. See Ill. Com. Comm'n v. ICC, 848 F.2d 1246, 1259 (D.C.
Cir. 1988). Construction may not begin unless and until authorized by the Board in a final
decision, which may impose environmental mitigation as appropriate, and until any such final
decision has become effective.


       16
           Because regulation of the proposed construction and operation is not needed to protect
shippers from the abuse of market power, the Board need not determine whether the transaction
is limited in scope. 49 U.S.C. § 10502(a)(2).

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       It is ordered:

       1. The Coalition's July 21, 2020 response and the late-filed replies and letters are
accepted into the record.

        2. Under 49 U.S.C. § 10502, the Board preliminarily exempts the construction and
operation of the above-described line from the prior approval requirements of 49 U.S.C. § 10901,
subject to further consideration of the potential environmental impacts of the proposal.

        3. On completion of the environmental review, the Board will issue a further, final
decision addressing any potential environmental impacts, weighing any environmental impacts
with the transportation merits, and determining whether the exemption should become effective
(subject to any appropriate mitigation conditions). Construction may not begin unless and until
the Board issues a final decision authorizing the exemption and any such decision has become
effective.

       4. Notice of this decision will be published in the Federal Register.

       5. Petitions for reconsideration must be filed by January 25, 2021.

       6. This decision is effective 30 days from the date of service.

       By the Board, Board Members Begeman, Fuchs, and Oberman. Board Member Oberman
dissented with a separate expression.


BOARD MEMBER OBERMAN, dissenting:

        The Board majority has reached a preliminary conclusion that the transportation merits of
the proposal of the Seven County Infrastructure Coalition (the Coalition) to construct and operate
the approximately 85-mile line at issue (the project) in the Uinta Basin meet the statutory
exemption standard under 49 U.S.C. § 10502. The majority has reached this conclusion in a so-
called two-step process, in which it has preliminarily addressed the transportation merits prior to
considering the environmental impacts and any necessary mitigation requirements.

        I dissent from both aspects of this decision (Decision). I do not conclude that the Board
should find, today, that an application is necessary here- only that the Board should not make a
finding now that an application is not necessary and should not and cannot reach a conclusion on
the transportation merits, even prelintinarily, prior to completing the environn1ental review and
resolving issues concerning the project's financial viability.

        Introduction. Based on the instant record and publicly available infom1ation affecting
the potential success of this project, as discussed below, serious questions have been raised about
the transportation merits of the project, especially concerning the financial viability of the line.
In addition, the Board's Office of Environmental Analysis (OEA) has issued a Draft
Environmental Impact Statement (Draft EIS) which concludes that the project "would result in
significant environmental impacts." (Draft EIS S-1.) Rather than finding today both that a

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petition for exemption is the appropriate procedure and preliminarily concluding that the
statutory exemption standard has been met, the Board should seek additional information
concerning the financial viability of and long-term need for this project in order to provide
clarity on the uncertainties surrounding these two issues, and should allow the environmental
review process to be completed before making these decisions.

        Given these uncertainties and the controversial nature of the project, the transportation
merits cannot properly be determined without measuring them against whatever environmental
degradation the project will cause. In this case, the Board should not deviate from precedent
generally disfavoring such a two-step process.1 It is therefore premature for the Board to reach a
prelintinary conclusion on the transportation merits of this case, and it is equally premature for
the Board to decide now that an application is not necessary.

         Application vs. Petition for Exemption. Under 49 U.S.C . § 10502, the Board must
exempt a proposed rail line construction from the application procedures at 49 U.S.C. § 10901
when the Board finds that: (1) those procedures are not necessary to carry out the rail
transportation policy (RTP) of§ 10101; and (2) either (a) the proposal is of limited scope, or (b)
the full application procedures are not necessary to protect shippers from an abuse of market
power. ~ . Ken Tenn Reg'l Rail Partners-Constr. & Operation Exemption-in Fulton Cnty,
Ky. & Obion Cnty., Tenn., FD 36328, slip op. at 3 (STB served Dec. 1, 2020); Tex. Cent. R.R. &
Infrastructure, Inc-Pet. for Exemption-Passenger Rail Line Between Dallas & Houston, Tex.
(Tex. Cent. R.R. June 2020), FD 36025, slip op. at 5 (STB served June 20, 2020).

        In considering a construction application under 49 U.S .C. § 10901, the Board "shall"
grant such an application "unless the Board finds that such activities are inconsistent with the
public convenience and necessity." 49 U.S .C. § 1090l(c); ~ ' Ken Tenn Reg'l Rail Partners,
FD 36328, slip op. at 3. When measuring the public convenience and necessity, the Board looks
at "whether: (1) the applicant is financially able to undertake the project and provide rail service;
(2) there is a public demand or need for the proposed service; and (3) the proposal is in the
public interest and will not unduly harm existing services." Tongue River R.R.- Constr. &
Operation-W. Alignment, FD 30186 (Sub-No. 3) et al., slip op. at 13 (STB served Oct. 9,
2007). While the majority correctly states that Board precedent holds that there is a statutory
presumption that construction projects should be approved, Decision 4, such a presumption does
not obviate the Board's statutory obligation to determine whether regulation is necessary to carry
out the RTP of§ 10101, and if so, whether the project is consistent with the public convenience
and necessity.

        As detailed below, there are more than enough unanswered questions about the financial
viability of, and public need for, this project to raise the serious potential that, after the
development of a complete record, the Board may find that regulation here is necessary to carry
out the RTP of§ 10101, and that the presumption in favor of approving construction may well be
overcome.

       1
         See, e.g., Alaska Railroad-Construction & Operation Exemption-Rail Line Between
Eielson Air Force Base & Fort Greely, Alaska, FD 34658, slip op. at 2 (STB served Oct. 4,
2007).

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        In the past, the Board has rejected an exemption and required an application in
construction cases presenting significant controversy, particularly where concerns have been
raised about the project's financial feasibility and its impact on the local area. See Tex. Cent.
R.R. & Infrastrncture, Inc-Pet. for Exemption-Passenger Rail Line Between Dallas &
Houston, Tex. (Tex. Cent. R.R. July 2020), FD 36025, slip op. at 14 (STB served July 16, 2020)
("[A]n application here would provide the Board with additional information periaining to the
financial condition of the applicant and financial feasibility of the project that would assist the
Board in considering the h·ansportation merits of the project."); Ozark Mountain R.R.-
Construction Exemption, FD 32204, slip op. at 4-5 (ICC served Dec. 15, 1994) (revoking
conditional exemption and requiring application due to "[s]ignificant public opposition to the
project" including concerns that the applicant "will be unable to construct and operate the
proposed lines").

        Here, the majority declines to follow these precedents, see Decision 7, finding that a
petition for exemption is appropriate, stating: "[t]here is nothing in the language of§ 10502 to
suggest that an exemption proceeding is inappropriate if the viability of the proposed rail line is
questioned" because "the Board's grant of authority to constrnct a line ... is permissive, not
mandatory." Decision 5-6. Given the state of the instant record, I disagree with the majority' s
decision finding, at this tin1e, that a petition for exemption is appropriate. Rather than ignoring
the public opposition and significant questions about the project's financial feasibility, the state
of the instant record requires the Board to seek additional information and clarify these important
issues before concluding that the full application procedures are not necessary to carry out the
RTP of§ 10101.2

        A two-step process involving preliminary approval In particular, I find it
inappropriate and ill-advised for the Board to undertake a two-step process here, reaching a
prelinunary conclusion on the transportation merits of the Coalition's petition for exemption
before the completion of the environmental review process. From the information currently in
the record, the transportation merits of this project- discussed in detail below- are not clear. In
addition, significant environmental issues have been raised. Though I have full faith in OEA to
conduct a rigorous and thorough environmental analysis regardless of whether the Board reaches
a prelinunary conclusion on the transportation merits of the project, the Board should withhold
judgment on the transportation merits until it also has the benefit of OEA's environmental
analysis.3

       2
          See, e.g., Ozark Mountain Railroad, FD 32204, where the agency had conditionally
granted an exemption to construct several lines, but, when financial feasibility concerns were
raised by the public, the agency requested additional financial information from the applicant
before later revoking the conditional grant of authority and requiring an application. Ozark
Mountain R.R., FD 32204, slip op. at 1.
       3
          Furthermore, to the extent the standard for issuance of a preliminary decision on the
transportation merits requires a showing of unique or compelling circumstances, see Six County
Ass' n of Governments-Construction & Operation Exemption- A Rail Line Between Levan &
Salina, Utah, FD 34075, slip op. at 2 n.4 (STB served Sept. 3, 2015); Alaska Railroad-


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        The instant case is easily distinguished from Ken Tenn Regional Rail Partners,
FD 36328, cited by the majority. Decision 4, 8. In that case (in which I joined with the
majority), the Board issued a preliminary decision on the transportation merits of a petition for
exemption in a construction case. But the facts in Ken Tenn were significantly different from the
instant case. There, on the record before the Board at the time,4 no financial or environmental
concerns had been raised (though, as here, the environmental process is ongoing), and in fact it
appeared there was no opposition at all to either the request for a preliminary exemption or the
petition itself. Ken Tenn Reg 'l Rail Partners, FD 36328, slip op. at 4. By contrast, here, though
there is support from state and local entities (including that the Coalition itself is an independent
political subdivision of the State of Utah, see Decision 2), there is also significant opposition,
and that opposition has raised both financial and environmental concerns. I will discuss the
transportation merits and the environmental concerns separately.

        Transportation merits. While the Coalition argues an exemption should be granted
because "key economic activities in the Uinta Basin, including farming, ranching, oil and gas
production, and mineral extraction, depend heavily on the transportation of goods and
commodities in and out of the region," (Pet. 12-13), there can be no doubt that the singular
rationale for constructing the proposed railroad is to provide rail transportation to stimulate an
increase in oil production in the Basin, (.ill:. at 13-17). It is beyond contradiction that without the
hoped-for increase in oil production, there is virtually no possibility the railroad would be
financially viable. But reliance on future oil production to sustain the project, based on currently
available information and the record before the Board, is problematic at best, as discussed below.

        In 2018, the Coalition commissioned a consultant, R.L. Banks & Associates, Inc. (R.L.
Banks) to conduct a pre-feasibility study for the project. However, in support of its petition, the
Coalition failed to mention this study and never submitted it to the Board. I find this omission
significant. Had the Banks study been persuasive in support of the project, one would have
expected the Coalition to enthusiastically rely on it.

        The Coalition ultimately mentioned the existence of the R.L. Banks study in its reply
only after it was submitted and referenced by the objectors in their replies to the Coalition's



Construction & Operation Exemption-Rail Line Between Eielson Air Force Base & Fort
Greely, Alaska, FD 34658, slip op. at 2 (STB served Oct. 4, 2007), the Coalition has failed to
make that showing. The Coalition cites only " the ongoing COVID-19 pandemic and its
economic impacts" in suppo1i of its argument that there are unique or compelling circumstances
here. (Pet. 26.) While the significant impacts the pandemic has had across the country and the
world are self-evident, these impacts are also among the principal reasons that further inquiry
into the financial viability of the project is necessary, as discussed, infra.
       4
           On December 21, 2020, a group oflandowners filed a petition for reconsideration in
that docket alleging, among other things, that the petitioner "misrepresented to the Board that the
Petition is unopposed." Pet. for Recons. 2, Ken Tenn Reg'l Rail Partners, FD 36328. The
petition for reconsideration is cmTently pending before the Board.

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petition.5 (See Coalition Reply 16 n.46 & 17 n.51, July 21, 2020.) The inescapable conclusion
from a review of the R.L. Banks study is that the project's success relies entirely on an increase
in oil production in the Uinta Basin, with that oil being shipped by rail; shipment of any other
commodities on the railroad would be insignificant in comparison to oil. (See Pet. 15; id., V.S.
McKee ,I 17 (Executive Director of the Coalition stating the line "will prin1arily be used to ship
crude oil and fracking sand.").) Non-oil shipments could never justify the cost of constructing
the project.6

         But the R.L. Banks study hardly is persuasive on the likelihood that a projected increase
in oil production will be large enough to sustain the railroad. First, the only version of the study
obtainable by the Center is woefully incomplete. While R.L. Banks states that it undertook to
make detailed projections of the demand for Uinta Basin oil and the number of carloads such
demand would generate for the proposed railroad, the Coalition has redacted every statistic and
every table in the R.L. Banks study released to the Center. Therefore, it is in1possible for the
Board (or anyone) to evaluate the substance and reliability of the conclusions purportedly
reached by R.L. Banks concerning the projected volume of shipments on the line. If those
statistics were persuasive of the transportation merits of the project, again, one would have
expected the Coalition to supply them to the Board (which, if confidentiality was a concern,
could have been submitted under seal subject to a protective order). The Coalition's failure to do
so supports an inference that the statistics compiled by R.L. Banks are either not persuasive or
are no longer reliable.7

        Aside from this shortcoming, even the R.L. Banks study acknowledges that the demand
for the type of oil extracted from the Uinta Basin is unknown. (Ctr Supp. 417 ("Unknown
Demand -The demand for Uinta Basin's waxy crude, which is not well known outside of Utah,
in large part due to lack of transportation infrastructure to ship product out of the Uinta Basin,
may not be as readily accepted as initial indications would suggest.").) More importantly, since

       5
         The Board only received a copy of this study because, in its opposition to the petition,
the Center for Biological Diversity (Center) submitted a version of the study. But that version
was redacted by the Coalition before it was made available to the Center. (See Ctr. Supp. 387-
469.)
       6
           The Center and the Argyle Wilderness Preservation Alliance (Argyle) argue there is no
evidence to support a claim of need for the line outside the oil industry. (Ctr. Reply 31 (noting
that prior revenue forecasts for the project have not included products outside the oil industry);
Argyle Reply 9, 12 & Appx. 1 at 2, July 7, 2020 (arguing in particular that there are no
agricultural producers who would utilize the line).) The Draft EIS also points out that the
volume of non-oil traffic is likely to be low, stating that " [t]he Coalition does not anticipate that
the volume of other commodities would be large enough to warrant dedicated trains." (Draft
EIS 2-2.)
       7
          Surprisingly, the majority dismisses its own inability to examine the redacted material
in the R.L Banks study, concluding, without explanation, that no additional financial information
is needed. Decision 6 n.8. Since there is virtually no financial information in the record showing
the viability of the project, apparently, the majority concludes that financial viability is
unimportant.

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the preparation of the R.L. Banks study in 2018, the global demand for oil has changed
dramatically, both because of the pandemic and its long tenn ramifications, and because of the
changing progress in the world's reliance on non-fossil fuel energy.

        As a result, there are significant questions about the future global demand for oil, which
would affect the financial viability of a rail line built primarily to move Uinta Basin oil, the
demand for which was unknown even prior to the pandemic. Further, while the Coalition
assumes the pandemic-related changes may be short-term (Pet. 10 n.28, 14 n.52), there are
significant indications that this assumption may be unwarranted.

       These questions of future global demand were recently summarized by fom1er Vice
President AI Gore:

       As a fom1er oil minister in Saudi Arabia put it 20 years ago, "the Stone Age came
       to an end, not because we had a lack of stones, and the oil age will come to an end
       not because we have a lack of oil." Many global investors have reached the same
       conclusion and are beginning to shift capital away from climate-destroying
       businesses to sustainable solutions.... [S]ome of the world's largest investment
       firms are now joining this movement, too, having belatedly recognized that fossil
       fuels have been extremely poor investments for a long while. Thirty asset
       managers overseeing $9 trillion announced on [December 11, 2020] an agreement
       to a lign their portfolios with net-zero emissions by 2050.

Al Gore, Opinion, Al Gore: Where I Find Hope, New York Tin1es (Dec. 13, 2020),
https://www.nytin1es.com/2020/ 12/ 12/opinion/sunday/biden-clin1ate-change-al-gore.html.

       Indeed, many of the world's major oil producers have written down the value of their oil
reserves-including shale oil reserves-by multi-billions of dollars since the middle of 2020.
These write-downs have been based on longer term projections, only partly resulting from
pandemic fallout:

       BP PLC, Hess Corp. and Occidental Petroleum Corp., have recently taken
       multibillion-dollar [asset] impairments as a coronavirus-induced economic
       slowdown adds pressure to an already struggling shale sector. Chevron Corp.
       took a $ 10 billion write-down in December, [2019] and Royal Dutch Shell PLC
       said Tuesday that it would write down the value of its assets by up to $22 billion
       because of lower energy prices.

       The U.S. shale industry has written down more than $450 billion in assets since
       2010, according to a June [2020] report by Deloitte, reassessing holdings amid a
       global supply glut and growing investor concerns about the long-term future of
       fossil fuels. The accounting firm projects additional shale impairments of as
       much as $300 billion in coming months as the coronavirus holds down
       commodity prices.




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Christopher M. Matthews, Exxon Mobil Resists Write-Downs as Oil. Gas Prices Plummet, Wall
Street Journal (June 30, 2020), https://www.wsj .com/articles/exxon-mobil-resists-write-downs-
as-oil-gas-prices-plummet-11593521685 (emphasis added); see also Christopher M. Matthews,
Exxon Slashes Spending, Writes Down Assets, Wall Street Journal (Nov. 30, 2020),
https://www.wsj.com/articles/exxon-slashes-spending-writes-down-assets-1 1606774099
("Exxon cut its expectations for future oil prices for each of the next seven years by 11 % to 17%
.... The sizable reduction suggests Exxon expects the economic fallout from the pandemic to
linger for much of the next decade.").8

         To be clear, owners of oil assets generally distinguish between the amount of their
"proven reserves" and all other reserves. The term "proven reserves" refers to the quantity of oil
which can be extracted profitably at the prevailing price for that oil. Thus, if the price of oil
drops below the cost of extraction, then the amount of "proven reserves" must be reduced
accordingly. Here, questions have been raised about the quantity of oil reserves in the Basin, the
demand for the specific type of oil found there, and whether there are sufficient proven reserves
to provide long term business for the proposed railroad. Estimates in the record of the amount of
oil in the Basin vary, in part depending on whether unconventional resources such as oil
produced from oil shale are included in the estin1ate.9 (Ctr. Reply 23-24 (estimating 401 million
barrels of "proven" conventional reserves across the state of Utah at the end of 201 8, or only
approximately five years' worth); Ctr. Supp 392 (R.L. Banks study estiniating "between 50-321
billion barrels" without further description of type).) While the high-end estimates here would
support the prospect of a booming oil business in the Basin if the demand exists, the low-end
estimates would not- and there is little information in the record that would enable the Board to
determine even a range of what might be realistic.

        Given the depression in the oil market since the R.L. Banks study in 2018, there is no
basis in the present record for the Board to determine the amount of "proven reserves" in the
Uinta Basin. But surely, if in 2020, the world's major oil producers have been forced to
undertake major write-downs of the value of their oil reserves and lower their expectations for
the future of oil prices, as discussed above, it is difficult to imagine that the Uinta Basin
producers have not been required to do the same, especially in view of the R .L. Banks study's
concession that the demand for Uinta Basin's waxy crude is "unknown" and " may not be as
readily accepted as initial indications would suggest," (Ctr. Supp. 417).




       8
          Further, as Argyle points out, changes in the foreign and domestic oil markets " recently
resulted in a negative value of crude oil for the first time in history." (Argyle Reply 8, July 7,
2020.)
       9
           The R.L. Banks study looked at, among other commodities, crude oil and shale oil
production in the Basin to estiniate potential traffic volumes. While the study includes some
unredacted information about the estimated production of crude oil, (Ctr. Supp. 419-421
(estin1ating annual crude oil production in the Basin to be between 225,000 barrels per day and
350,000 barrels per day)), the actual data relating to potential shale oil traffic volumes is all
redacted, (Ctr. Supp 423).

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        If, as the foregoing sources suggest, the global demand for oil is indeed depressed and
does not bounce back to pre-pandemic levels as quickly as the Coalition assumes 10- or never
rebounds entirely- the viability of the U inta Basin railroad is clearly thrown into question.
Understandably, even the R.L. Banks study caveats its traffic volume forecasts, stating that
"[t]he viability of the [project] is grounded on the assumption that oil markets will be stable or
favorable ... . However, a significant and long-term downturn in the price of [West Texas
Inte1mediate crude oil], particularly in the early years of the prospective railroad, could result in
significant shortfalls from the performance indicated herein." (Ctr. Supp. 416.) It takes no great
insight to observe that the oil markets have been anything but stable or favorable, thus leaving
R.L Banks' "assumption" at best questionable. 11

       The majority did not explore these significant changes in the global oil market and
dismisses concerns raised by the Center and Argyle about the financial viability of the project,
finding that, because the Board's authority is permissive, "the ultimate decision to go forward
with an approved project is in the hands of the applicant and the financial marketplace," and thus
the Board need not consider such concerns. 12 Decision 6.

        Even if relying on the financial marketplace to determine whether this railroad should be
built constituted a sufficient discharge of the Board's duties in determining whether a project
should be granted an exemption from the full application process, here the record establishes that
the financial marketplace cannot be relied on. The R.L. Banks feasibility study makes clear that
the private sector will not build this railroad; only a government can afford to build it:

       [R.L. Banks] assumed that construction of the railroad would be the responsibility
       of [the Coalition], another public entity, or a consortium of public entities. While

       10
           A further challenge to the Coalition's assumptions about oil demand is the concern
that office commuters, significant users of petroleum products either through mass transit or
automobile travel, may never return to commuting at pre-pandemic levels. See, e.g., Paul
Wiseman and Alexandra Olson, Shift in Economic Landscape, Chicago Tribune, Dec. 26, 2020,
at 7 ("A McKinsey survey of 800 corporate executives worldwide found that 38% expect their
employees now working remotely to continue to do so at least two days a week after the
pandemic, up from 22% in surveys before the pandemic.").
       11
           The R.L. Banks study states that, in 2018, experts expected domestic oil production to
grow at record pace, and that it was expected that "worldwide demand for oil also will continue
to grow over the next five years and the United States will supply most of the production to
answer that growing demand." (Ctr. Supp. 392.) The study, of course, could not have
anticipated the current pandemic and the related drastic change in the global oil markets, as
reflected in 2020 by the write-downs undertaken by the world's major oil producers.
        12
           But see, Tex. Cent. R.R. July 2020, FD 36025, slip op. at 13-15. In that case, the
Board chose not to rely on the financial marketplace to decide the viability of the project, instead
rejecting a petition and requiring an application due to the financial feasibility concerns raised by
commenters. Though the projected cost estimates in that case were higher than in this case, the
cost of the project here is greater than a billion dollars, (Pet. 11), and, as discussed herein, there
is significant uncertainty about the financial viability of a project of that magnitude.

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        private/public partnerships ("3Ps") are not unprecedented in the freight rail
        industry, there has never been such a partnership approaching the size and scope
        of the [project]. Furthermore, given the generally conservative nature of the rail
        freight industry, [R.L. Banks] believes any railroad which may eventually service
        the line has relatively little incentive to invest in the construction of the line,
        especially given the high associated capital costs projected and lack of current
        production levels sufficient to justify construction.

(Ctr. Supp 433 (emphasis added).) Further, R.L. Banks made clear that the railroad financing
could only be obtained through the issuance of government bonds:

        Given the large capital investment required to construct the [project] ... , [R.L.
        Banks] assumed that construction of the railroad would be financed through the
        issuing of bonds. Specifically, [R.L. Banks] assumed that the entire cost to
        construct the [project] would be financed with capital generated from issuing 30-
        year bonds.

(klat 444.)

        While the record (as submitted, not by the Coalition, but by the objectors) refers to the
possibility that the railroad construction will be financed by "municipal conduit bonds,"13 there is
no indication of how such financing would be structured. Given the uncertainty of demand for
Uinta Basin oil, as discussed above, there is every possibility that such bonds could only be sold
if they were backed not only by revenues from the railroad, but also by local tax dollars. As
forn1er Vice President Gore observed, the world's largest investment firms are withholding
investments in fossil fuels and, if that is true, it appears highly unlikely that private investors can
be found to invest in construction of a railroad dependent on harvesting oil of the type found in
the Basin, in light of all of the information unknown from this record. Thus, the private financial
marketplace is not likely to be a determinant of the financial feasibility of the railroad and should
not be relied on by the Board to evaluate whether to grant a petition or approve an application for
this project. On the contrary, the availability of public funding or public guarantees is likely to
be the determinant.

         Adding to the uncertainty at this tin1e is the fact that the Coalition has decided to rely on a
private investment partner to develop the financing. The Coalition is partnering with DHIP,
(Pet. 6, 37-38), which it describes as "an established independent infrastructure investment
company that is successfully developing and financing projects across the United States ... ,"
(Coalition Reply 12, July 21, 2020). Nevertheless, now known as DHIP Group, the company
appears to be a small, young firm. Its website reflects that it consists of two managing partners,

        13
          (Ctr. Reply 12; Ctr. Supp. 229 (Drexel Hamilton Infrastructure Pa1tners LP (DHIP)
Request for lnforn1ation Response for the Commercialization, Financing, Construction,
Operation, and Maintenance of the Uinta Basin Railway by the Seven Counties Infrastructure
Coalition of Utah, dated Apr. 11, 2019); Ctr. Supp. 351 (Memorandum of Understanding
Regarding the Development of the Uinta Basin Railway between the Coalition and DHIP, dated
May 10, 2019) .)

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and the firm lists no prior experience in financing the construction of railroads. Home - DHIP
Group, http://dhipgroup.com/ (last visited Jan. 4, 2021). The firm ' s website also lists only one
other infrastructure project in which it has been involved. Infrastructure - DHIP Group,
http://dhipgroup.com/infrastructure/ (last visited Jan. 4, 2021). While DHIP Group may, in fact,
be well qualified to carry out this project, given all of the above serious concerns with the future
of the oil market, the Board should insist on further information from DHIP Group on the
practicality of obtaining the necessary financial resources to complete the project.

       In sum, the current record before the Board is woefully inadequate to permit the Board to
evaluate and judge whether an exemption is warranted under the R TP or whether an application
should be required so that the Board can determine whether the public convenience and necessity
are met for the construction of the Uinta Basin railroad.

        Environmental review. As noted above, OEA concludes in the Draft EIS that the project
"would result in significant environmental impacts." (Draft EIS S-1; id. 1-1.) OEA also
preliminarily concludes there could be major " significant and adverse impacts" as a result of the
project on: water resources; special status species (including several threatened and endangered
plant species and a bird species managed by the Bureau of Land Management and the State of
Utah); wayside noise (train noise adjacent to a rail line other than that from a locomotive horn);
land use and recreation on public, private, and tribal lands; socioeconomics, including beneficial
in1pacts like the creation of jobs, and adverse impacts like the displacement of structures on
private land and the severance of properties; and issues of tribal concern affecting the Ute Indian
Tribe of the Uintah and Ouray Reservation, including impacts related to vehicle safety and delay,
rail operations safety, biological resources, air emissions, 14 and cultural resources. (Draft
EIS S-7 to S-9.) Mitigation measures could reduce but not eliminate these impacts, and the route
recommended by OEA, the Whitmore Park Alternative, "would result in the fewest significant
in1pacts on the environment," (Draft EIS 2-47), compared to other alternative routes. In addition
to these major in1pacts, OEA also enumerates several minor impacts in the Draft EIS, which
OEA states can be mitigated if the recommended mitigation measures are adopted by the Board,
as well as downline and cumulative impacts. (Draft EIS S-9 to S-12.) OEA states the Coalition
has proposed 56 voluntary mitigation measures to address the environmental impacts of the
project, and OEA preliminarily recommends an additional 73 mitigation measures for the
project. (Draft EIS S-23; see also Draft EIS ch. 4, Mitigation.)

        Both Argyle and the Center argue against the Board' s reaching a preliminary conclusion
on the Coalition' s petition before the environmental review process is complete. The Center
states that "development of the railway raises many significant environmental and
socioeconomic issues, which must be weighed[,] along with the project's financial risks, against
its highly speculative benefits." (Ctr. Reply 33; see also Argyle Reply 14, July 7, 2020.)


       14
           Argyle notes that the Coalition clain1s crude oil production will increase by 400%,
which, Argyle argues, "would cause a corresponding increase in local truck traffic between the
oilwell sites and the rail loading points." (Argyle Reply 10.) An increase in truck traffic in the
Basin would have its own environmental and congestion-related impacts on the limited road
infrastructure in the Basin.

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        The Draft EIS clearly illustrates there are serious environmental impacts that must be
mitigated if the project is to proceed. What remains to be determined is whether the mitigation
measures identified through the environmental review process will be sufficient to address these
impacts, or whether the overall environmental impact of the project will outweigh the project's
transportation merits which, as discussed above, are at this time, at best, uncertain. The likely
significant cost of any imposed mitigation measures may also affect the project's financial
viability. The transportation merits and the environmental impacts of this project are inherently
interrelated and should be considered in balance with each other, rather than even preliminarily
dealing with the transporiation merits now. See Alaska R.R.- Constr. & Operation
Exemption-A Rail Line Extension to Port MacKenzie, Alaska, FD 35095, slip op. at 22 (STB
served Nov. 21, 2011) (Commissioner Mulvey, dissenting) ("[T]he more severe the
environmental impacts, particularly those that cannot be fully mitigated, the greater burden on
the proponent of the rail line to show that the transportation merits of its proposal outweigh those
in1pacts."). 15

        Conclusion. Contrary to the majority's conclusions, the Board is mistaken when it
reaches a conclusion, preliminarily and via the petition for exemption process, on the
transportation merits of a project presenting serious questions like those raised here without more
thoroughly evaluating those issues. The record in this proceeding on the overall financial
viability of the project is significantly underdeveloped. Neither I nor the Board majority should
be required to rely on reports in the media, which I have highlighted above, or on feasibility
studies with all relevant data redacted, to make such an important decision on whether to approve
construction of a rail line costing over a billion dollars through an environmentally sensitive
area.

        Rather than determining at this time that the Coalition's petition is ripe for decision, even
prelinunarily and piecemeal, the Board should require the Coalition to submit a complete and
unredacted version of the R.L. Banks study, should insist that the Coalition elaborate on the
projected demand for Uinta Basin oil in light of the global oil demand issues that have arisen
since that study was completed, as discussed above, and should obtain more detail from the
Coalition and DRIP Group on the reality of obtaining the necessary financing for the project,
with or without obligating public funds, along with considering further input on these issues
from the objectors.

       I therefore find it premature for the Board to issue the decision the majority issues today.
Though the Decision states that it "does not prejudge the Board's final decision, nor diminish the
agency's environmental review process concerning the proposed line's construction,"
Decision 10, nevertheless, the far more prudent course of action for the Board here would be to
defer any decision on whether an exemption is warranted and on the overall transportation merits




       15
           Though the majority states that it will weigh the environmental impacts and the
transportation merits of the project following the conclusion of the environmental review
process, Decision 10, a preliminary decision on the transportation merits in this case gives the
merits of the project an endorsement that may well not be warranted.

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until the environmental review process is complete and until the Coalition submits more
persuasive evidence on the financial viability of the entire project.

       I respectfully dissent.




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51032                      SERVICE DATE – DECEMBER 15, 2021
EB

                           SURFACE TRANSPORTATION BOARD

                                           DECISION

                                     Docket No. FD 36284

     SEVEN COUNTY INFRASTRUCTURE COALITION—RAIL CONSTRUCTION &
      OPERATION EXEMPTION—IN UTAH, CARBON, DUCHESNE, AND UINTAH
                           COUNTIES, UTAH

        Digest:1 This decision grants final approval for an exemption sought by the
        Seven County Infrastructure Coalition to construct and operate a new line of
        railroad in Utah, subject to certain environmental mitigation conditions.

                                  Decided: December 15, 2021

        In 2020, the Seven County Infrastructure Coalition (Coalition) filed a petition for
exemption under 49 U.S.C. § 10502 from the prior approval requirements of 49 U.S.C. § 10901
for authorization to construct and operate an approximately 85-mile rail line connecting two
termini in the Uinta Basin (Basin) near South Myton Bench, Utah, and Leland Bench, Utah, to
the national rail network at Kyune, Utah (the Line). According to the Coalition, the Line would
provide shippers in the Basin with a viable alternative to trucking, which is currently the only
available transportation option. (Pet. for Exemption 13-15.)

        On January 5, 2021, the Board issued a decision assessing the transportation merits of the
proposed transaction and preliminarily concluding, subject to completion of the ongoing
environmental review, that the proposal meets the statutory standard for an exemption on the
transportation merits. Seven Cnty. Infrastructure Coal.—Rail Constr. & Operation Exemption—
in Utah, Carbon, Duchesne, & Uintah Cntys., Utah (January 5 Decision), FD 36284, slip op. at 8-
10 (STB served Jan. 5, 2021) (86 Fed. Reg. 1564) (with Board Member Oberman dissenting).
The Board noted that it was not granting the exemption or allowing construction to begin and
that after the Board has considered the potential environmental impacts associated with this
proposal and weighed those potential impacts with the transportation merits, it would issue a
final decision either granting the exemption, with conditions, if appropriate, or denying it. Id.
at 2. The Board received petitions for reconsideration of the January 5 Decision and denied
those requests in a decision served on September 30, 2021. Seven Cnty. Infrastructure Coal.—
Rail Constr. & Operation Exemption—in Utah, Carbon, Duchesne, & Uintah Cntys., Utah
(September 30 Decision), FD 36284 (STB served Sept. 30, 2021) (with Board Member Oberman
dissenting).

        1
        The digest constitutes no part of the decision of the Board but has been prepared for the
convenience of the reader. It may not be cited to or relied upon as precedent. See Pol’y
Statement on Plain Language Digs. in Decisions, EP 696 (STB served Sept. 2, 2010).



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         The Board’s Office of Environmental Analysis (OEA), in cooperation with stakeholders,
tribes, and federal, state, and local agencies, has completed a thorough environmental analysis
that reviewed the potential environmental impacts that could result from the proposed project,
culminating in a Final Environmental Impact Statement (Final EIS) served on August 6, 2021.
OEA reviewed a number of build alternatives and a No-Action (or No-Build) Alternative to take
a “hard look” at potential environmental impacts as required by the National Environmental
Policy Act of 1969 (NEPA), 42 U.S.C. §§ 4321-4370m-12. The environmental review process
has included extensive opportunity for public participation as well as input from agencies and
other interested parties. Based on this analysis, OEA identifies the Whitmore Park Alternative as
its Environmentally Preferable Alternative for the Line because it would avoid or minimize
major environmental impacts compared to the two other build alternatives, as discussed in more
detail below. OEA also recommends environmental conditions (including both voluntary
mitigation proposed by the Coalition and additional mitigation developed by OEA) to avoid,
minimize, or mitigate the transaction’s potential environmental impacts.

        In this decision, the Board will grant final approval for a construction and operation
exemption for the Whitmore Park Alternative, subject to OEA’s final recommended
environmental mitigation measures, with minor changes. The environmental mitigation is set
forth in Appendix B to this decision.

                                        BACKGROUND

        On May 29, 2020, the Coalition filed a petition for exemption from the prior approval
requirements of 49 U.S.C. § 10901 under 49 U.S.C. § 10502 to construct and operate the Line,
which will connect with Union Pacific Railroad Company (UP) at Kyune, Utah. The Coalition
notes that it is an independent political subdivision of the State of Utah, whose member counties
include Carbon, Daggett, Duchesne, Emery, San Juan, Sevier, and Uintah Counties. (Pet. for
Exemption 5.) It was formed to, among other things, identify and develop infrastructure projects
that will promote resource utilization and development. (Id.)

       The Coalition asserts that goods produced or consumed in the Basin now can be
transported only by truck and that the proposed project would give shippers an additional freight
transportation option, eliminating longstanding transportation constraints. (Id. at 13-15.) It
explains that adding a rail transportation option would provide local industries the opportunity to
access new markets and increase their competitiveness in the national marketplace, and that the
removal of transportation constraints would benefit oil producers, mining companies, ranchers,
farmers, and other local industries. (Id. at 15.)

       The Coalition argues that regulation of the construction and operation of the proposed
line under § 10901 is not needed to carry out the rail transportation policy (RTP) at 49 U.S.C.
§ 10101, that the project would promote several provisions of the RTP, and that an application
under § 10901 is not required to protect shippers from an abuse of market power. (Pet. for
Exemption 21-22.) In considering the petition, the Coalition asked that the Board follow a two-
step approach, addressing the transportation aspects of the project in advance of the
environmental issues. (Id. at 26-28.)



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       The Board received filings both supporting and opposing the petition for exemption.
Several government officials filed comments in support of the petition for exemption. January 5
Decision, FD 36284, slip op. at 3.2 The opponents included the Center for Biological Diversity
(CBD), the Argyle Wilderness Preservation Alliance (Argyle), and numerous individuals. Id.
at 1.

        In its January 5 Decision, the Board addressed the substantive comments, concluded that
an application was not necessary, and found the requested approach of issuing a preliminary
decision on the transportation merits appropriate. The Board preliminarily concluded, subject to
completion of the ongoing environmental and historic review, that the proposed transaction
meets the statutory standards for exemption under § 10502. January 5 Decision, FD 36284, slip
op. at 1. As noted above, the Board stated that it was not granting the exemption or allowing
construction to begin and that after the Board has considered the potential environmental impacts
associated with this proposal and weighed those potential impacts with the transportation merits,
it would issue a final decision either granting the exemption, with conditions, if appropriate, or
denying it. Id. at 2.

        The Board received petitions for reconsideration of the January 5 Decision from Eagle
County, Colo., on January 25, 2021, and CBD on January 26, 2021. The agency denied those
requests in its September 30 Decision, where among other things, the Board rejected arguments
that an application was required because of concerns related to potential reactivation of the
Tennessee Pass Line in Colorado and that the Board’s consideration of the statutory standards for
exemption in the January 5 Decision was inadequate. September 30 Decision, FD 36284, slip
op. at 3, 5-7.

       During this time, OEA was conducting its environmental review of potential impacts
from constructing and operating the Line. As part of this process, OEA issued a Notice of Intent
to Prepare an EIS on June 19, 2019, a Final Scope of Study for the EIS on December 13, 2019,
and a Draft EIS on October 30, 2020. The Draft EIS analyzed three Action Alternatives for the
proposed Line, as well as the No-Action Alternative. The three alternatives examined were the
Indian Canyon Alternative, Wells Draw Alternative, and Whitmore Park Alternative. (Draft EIS
S-5.) Each of the Action Alternatives would extend from two terminus points in the Basin near
Myton, Utah, and Leland Bench to a proposed connection with UP’s existing Provo Subdivision
near Kyune. (Id. at S-7.). A map of the Action Alternatives is found at Appendix A of this
decision. The Indian Canyon Alternative, Wells Draw Alternative, and Whitmore Park
Alternative would be approximately 81 miles, 103 miles, and 88 miles in length, respectively.


       2
          To date, the Board has received letters supporting the project from the Ute Indian Tribe
of the Uintah and Ouray Reservation (Ute Indian Tribe), U.S. Senators Mitt Romney and Mike
Lee and U.S. Representatives Rob Bishop, Chris Stewart, John Curtis, Burges Owens, and Blake
Moore. The Board also received letters supporting the project from state officials, including
Utah’s former Governor Gary R. Herbert, its current Governor Spencer J. Cox, Lieutenant
Governor Deidre M. Henderson, State Senate President J. Stuart Adams, and State House
Speaker Brad Wilson.


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(Draft EIS S-7.) In its request for authority, the Coalition identified the Whitmore Park
Alternative as its preferred route for the Line.

        Based on the analysis in the Draft EIS, OEA concluded that construction and operation of
any of the Action Alternatives would result in environmental impacts, some of which would be
significant. (Id. at S-7 to 13.) OEA preliminarily concluded, however, that, among the three
Action Alternatives, the Whitmore Park Alternative would result in the fewest significant
impacts on the environment. (Id. at S-12.)

       OEA invited agency and public comment on the Draft EIS, including its preliminary
conclusion on the Whitmore Park Alternative and the conditions OEA preliminarily
recommended to mitigate the impacts of constructing and operating any of the Action
Alternatives. OEA established a comment period, which it agreed to extend several times upon
request, until February 12, 2021. OEA also conducted six online public meetings during the
comment period. In total, OEA received 1,934 comment submissions on the Draft EIS,
including both written and oral comments. (Final EIS S-5.)

         In the Final EIS, OEA includes all of the comments received on the Draft EIS and OEA’s
responses to substantive comments, as well as all changes to the analysis that resulted from the
comments. OEA concludes that the Whitmore Park Alternative is indeed the Environmentally
Preferable Alternative, and that if the Board decides to permit construction and operation of a rail
line, the Board should authorize that alternative to minimize impacts of construction and
operation on the environment. (Final EIS 2-48.) OEA also provides its final recommendations
for environmental mitigation to minimize potential environmental impacts. (Id. at Chapter 4.)

        On August 25, 2021, the State of Utah (State) filed in support of the Coalition’s project
but asked that OEA modify several mitigation measures that OEA recommends in the Final EIS.
In addition, the U.S. Environmental Protection Agency (USEPA) filed comments on the Final
EIS on September 2, 2021, recommending certain changes to an air emissions dispersion model
that OEA ran as part of the environmental review process. On October 1, 2021, the Ute Indian
Tribe filed a comment in response to the Final EIS stating that it supports the rail construction
project. CBD filed a comment on October 18, 2021, and supplemental exhibits on November 8,
2021, raising objections to the exemption sought by the Coalition, the Final EIS, and a related
Biological Opinion (BO) issued by the U.S. Fish and Wildlife Service (USFWS) on
September 20, 2021.3




       3
           CBD simultaneously filed a petition asking that the Board accept its comment into the
record. It claims that the Board has a compelling interest in accepting the filing, partly to allow
the agency to fully consider the impacts of the project. (CBD Comment 1, Oct. 18, 2021.) The
Coalition filed in opposition to CBD’s request on October 22, 2021. In the interest of a complete
record, CBD’s filing as well as the other filings commenting on the Final EIS will be accepted
into the record. See Alaska R.R.—Constr. & Operation Exemption—Rail Line Between N. Pole
& Delta Jct., Alaska, FD 34658, slip op. at 6 (STB served Jan. 6, 2010).


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                               DISCUSSION AND CONCLUSIONS

        The construction and operation of new railroad lines requires prior Board authorization,
through either a certificate under 49 U.S.C. § 10901 or, as requested here, an exemption under
49 U.S.C. § 10502 from the prior approval requirements of § 10901. Section 10901(c) is a
permissive licensing standard that directs the Board to grant rail line construction proposals
unless the agency finds the proposal “inconsistent with the public convenience and necessity.”
Thus, Congress has established a presumption that rail construction projects are in the public
interest and should be approved unless shown otherwise. See Alaska R.R.—Constr. & Operation
Exemption—Rail Line Extension to Port MacKenzie, Alaska, FD 35095 (STB served Nov. 21,
2011), aff’d sub nom. Alaska Survival v. STB, 705 F.3d 1073 (9th Cir. 2013).

        Under § 10502(a), the Board must exempt a proposed rail line construction from the prior
approval requirements of § 10901 when the Board finds that: (1) application of those procedures
is not necessary to carry out the RTP of 49 U.S.C. § 10101; and (2) either (a) the proposal is of
limited scope, or (b) the full application procedures are not necessary to protect shippers from an
abuse of market power.

        In the January 5 Decision, the Board determined that the Line would enhance competition
by providing shippers in the area with a freight rail option that does not currently exist and that
the Line would foster sound economic conditions in transportation, consistent with § 10101(4)
and (5). January 5 Decision, FD 36284, slip op. at 9. Additionally, the Board found that
§ 10101(2) and § 10101(7) would be furthered by an exemption because it would minimize the
need for federal regulatory control over the rail transportation system and reduce regulatory
barriers to entry by minimizing the time and administrative expense associated with the
construction and commencement of operations. January 5 Decision, FD 36284, slip op. at 9.

         The Board also discussed Argyle’s claims that § 10101(8), concerning public safety, and
§ 10101(11), concerning safe working conditions, would be undermined by the project because
rail traffic could cause forest fires and substantial truck traffic. Id. at 8. The Board noted that it
takes these concerns seriously and that they would be examined as part of OEA’s environmental
review and further examined by the Board in its final decision. Id. at 9.

        Nothing in the environmental record calls into question the Board’s determination in the
January 5 Decision that § 10101(2), (4), (5), and (7) would be furthered by the rail construction
project. Moreover, as discussed below and in the Final EIS, nothing in the environmental record
raises significant concerns regarding § 10101(8) and (11). The Board therefore reaffirms its
analysis here and now turns to consideration of the environmental aspects of the proposed
project.

       Environmental Analysis

               1. The Requirements of NEPA

        NEPA requires federal agencies to examine the environmental impacts of proposed major
federal actions and to inform the public concerning those effects. See Balt. Gas & Elec. Co. v.



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Nat. Res. Def. Council, 462 U.S. 87, 97 (1983). Under NEPA and related environmental laws,
the Board must consider significant potential environmental impacts in deciding whether to
authorize a railroad construction as proposed, deny the proposal, or grant it with conditions
(including environmental mitigation conditions). The purpose of NEPA is to focus the attention
of the government and the public on the likely environmental consequences of a proposed action
before it is implemented to minimize or avoid potential adverse environmental impacts. See
Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 371 (1989). While NEPA prescribes the process
that must be followed, it does not mandate a particular result. See Robertson v. Methow Valley
Citizens Council, 490 U.S. 332, 350 (1989). Thus, once the adverse environmental effects have
been adequately identified and evaluated, the Board may conclude that other values outweigh the
environmental costs. Id. at 350-51.

        The Board has assessed the Action Alternatives, OEA’s final recommended
environmental mitigation, and OEA’s conclusions regarding the environmental impacts
associated with this construction proposal. The Board has also fully considered the entire
environmental record, including the Draft EIS, public comments, the Final EIS, and the
comments received following issuance of the Final EIS from the State, CBD, USEPA, and the
Ute Indian Tribe. CBD, generally, argues that the Final EIS fails to sufficiently analyze and
disclose environmental impacts or recommend appropriate mitigation. (CBD Comment 2-6,
Oct. 18, 2021.) Most of these objections, however, are objections CBD already had raised when
commenting on the Draft EIS. Below, the Board briefly discusses OEA’s analysis of several
major issues previously raised in comments on the Draft EIS and then responds to the major
issues raised following issuance of the Final EIS by CBD and the State as well as USEPA’s
request to modify some of the recommended environmental mitigation in the Final EIS. The
Draft EIS and Final EIS discuss many issues beyond what the Board addresses in this decision;
however, the Board adopts OEA’s analysis and conclusions in those documents, even if specific
issues are not addressed here.

        In the Final EIS, OEA identifies the major environmental impacts that could result from
construction and operation of the Line. These major impacts include impacts on water resources,
impacts on special status species, impacts from wayside noise during rail operations, impacts
related to land use and recreation, socioeconomic impacts, and issues of concern to the Ute
Indian Tribe, including impacts on cultural resources. During the EIS process, OEA also
analyzed other types of environmental impacts that OEA concluded would not be significant if
the Coalition’s voluntary mitigation measures and OEA’s recommended mitigation measures
were implemented. These minor impacts include impacts on vehicle safety and delay, impacts
related to rail operations safety, impacts on big game, impacts on fish and wildlife, impacts on
vegetation, impacts related to geology and soils, impacts on hazardous waste sites, impacts from
construction-related noise, vibration impacts, impacts related to energy resources, impacts on
paleontological resources, and visual impacts.

               2. Range of Alternatives

        NEPA requires that federal agencies consider reasonable alternatives to the proposed
action. Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 195-96 (D.C. Cir. 1991). To
be considered, an alternative must be “‘reasonable [and] feasible’ in light of the ultimate purpose



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of the project.” Protect Our Cmtys. Found. v. Jewell, 825 F.3d 571, 580-81 (9th Cir. 2016)
(quoting City of Carmel-by-the-Sea v. U.S. Dep’t of Transp., 123 F.3d 1142, 1155 (9th Cir.
1997)); see also Busey, 938 F.2d at 195 (“rule of reason” applies to the selection and discussion
of alternatives). Here, the three Action Alternatives were developed as part of a years-long
review of routes by the Utah Department of Transportation (UDOT) and the Coalition, and
finally OEA. (Final EIS Sec. 2.2.) OEA determined the range of reasonable alternatives by first
looking at potential conceptual routes. (Id.) In evaluating these conceptual routes, OEA looked
at many factors, including logistical constraints, the potential for disproportionately significant
environmental impacts, and construction and operations costs. (Id.) As explained in detail in
Chapter 2 of the Final EIS, the primary reasons certain identified conceptual routes were not
moved forward for analysis in the EIS were because they were infeasible due to the prevailing
topography surrounding the Basin and because they would require substantial cut-and-fill and
large or numerous bridges, as well as numerous large tunnels to pass through mountains. For
these reasons and after extensive analysis, OEA determined that there were three reasonable
Action Alternatives, one of which was the Environmentally Preferable Whitmore Park
Alternative. (Id. at Chapter 2.)

        CBD contends that the Final EIS does not consider a reasonable range of alternatives.
(CBD Comment 70-71, Oct. 18, 2021.) CBD, however, does not identify any alternative routes
that OEA did not analyze that CBD contends are reasonable. Nor does CBD provide any
evidence that conceptual routes not moved forward for analysis as alternatives in the EIS are in
fact reasonable. CBD asserts that OEA should have considered electrified rail or another
“solutionary alternative.” (Id. at 71.) Electrified rail, however, would not satisfy the proposed
project’s purpose and need because of the capital costs associated with electrification. (Final EIS
App. T-83-84.) Those costs, including installing power generating stations and overhead
powerlines for the entire length of the approximately 85-mile rail line, would render the Line
infeasible.4 As a result, OEA’s determination as to the range of reasonable alternatives is
consistent with NEPA and the “rule of reason” applicable to every environmental analysis. See
Busey, 938 F.2d at 195-96; Jewell, 825 F.3d at 581 (any potential alternative must be viewed in
the context of its feasibility and consistency with agency goals); Env’t Def. Fund, Inc. v. Andrus,
619 F.2d 1368, 1375 (10th Cir. 1980). The Board adopts OEA’s analysis and concludes that the
Final EIS’s selection of alternatives, along with the extensive discussion in the Final EIS
regarding why numerous theoretical alternatives were not feasible or did not otherwise meet the
project’s purpose and need, was reasonable and in compliance with NEPA.

               3. Special Status Species

       Special status species include species that are listed or proposed to be listed as threatened
or endangered under the Endangered Species Act (ESA); candidate species for ESA listing; bald
and golden eagles; and sensitive species listed by the U.S. Bureau of Land Management (BLM),

       4
           Additionally, there is a significant possibility that the infrastructure required for an
electrified rail line itself could adversely affect biological resources, including the greater
sage-grouse. (See, e.g., Final EIS 3.4-33 (discussing potential adverse effects on wildlife caused
by power distribution lines, communications towers, and fences), 3.15-27 (discussing potential
adverse effects on greater sage-grouse caused by power lines).)


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the U.S. Forest Service (Forest Service), the State, or the Ute Indian Tribe. (Final EIS
Sec. 3.4.1.) Any of the Action Alternatives would impact special status species. For example,
the Action Alternatives would all cross suitable habitat for several plant species that are listed as
threatened or endangered under the ESA, including Pariette cactus, Uinta Basin hookless cactus,
Barneby ridge-cress, and Ute ladies’-tresses.5 (Id. at S-8.)

        The Coalition has presented voluntary mitigation measures to lessen the impacts to
special status species. Additionally, OEA has consulted with USFWS and other appropriate
agencies to develop appropriate measures for further avoiding, minimizing, or mitigating impacts
on those species. (Id. at S-8.) For example, pursuant to VM-39 and one of OEA’s mitigation
measures, BIO-MM-9, the Coalition must comply with the terms and conditions of USFWS’s
BO, which specifies that the Coalition shall, as appropriate and possible, fund the permanent
protection of habitat for ESA-listed plant species as compensatory mitigation for the loss of
occupied habitat for those plants. (BO 64-71.) The Board is satisfied that, if implemented, the
Coalition’s voluntary mitigation measures and OEA’s additional recommended mitigation
measures related to biological resources would lessen impacts of construction and operation on
animal and plant species, including ESA-listed species and any potential permanent loss of
existing habitat in the rail-line footprint. (Final EIS 3.4-63.)

        Any of the Action Alternatives would also cross habitat for the greater sage-grouse, a
bird species that is managed by BLM and the State. (Id. at S-8.) The Action Alternatives would
each pass near one or more greater sage-grouse leks, which are areas where male grouse perform
mating displays and where breeding and nesting occur. (Id.) Depending on the Action

       5
          CBD criticizes the Final EIS for not conducting field surveys of all of the Action
Alternatives to establish a baseline population for each of the threatened or endangered plants
species and, instead, planning to conduct those surveys after the EIS process is completed.
(CBD Comment 62-64, Oct. 18, 2021.) While field surveys were conducted to establish the
presence and extent of suitable habitat for each threatened or endangered plant species along
each of the Action Alternatives, OEA appropriately did not conduct clearance surveys that would
establish baseline populations for those species as part of the EIS process. Per USFWS
guidelines, clearance surveys are only valid for one year and, if construction is authorized, it is
anticipated that construction would last two to three years and start no earlier than 2022. See
USFWS’s Utah Field Office Guidelines for Conducting and Reporting Botanical Inventories and
Monitoring of Federally Listed, Proposed and Candidate Plants (USFWS 2011) at
https://www.fws.gov/utahfieldoffice/Documents/Plants/USFWS%20UtahFO%20Plant%2
0Survey%20Guidelines%20Final.pdf. Therefore, any clearance surveys conducted during the
EIS phase would be outdated at the time of construction and would not provide useful
information about the locations of individual plants at the time that impacts on those plants
would occur. (Final EIS T-198-99.) Although OEA did not conduct clearance surveys to
establish baseline populations, OEA, in consultation with USFWS, used a combination of
suitable habitat field surveys and USFWS mapping data as the best available data to assess
impacts on threatened and endangered plant species, while also providing for clearance surveys
to be conducted after the EIS process so that those clearance surveys will be in compliance with
USFWS guidelines and will provide accurate data about the locations of individual plants at the
relevant time.


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Alternative, several of those leks could experience significant increases in noise during
construction and rail operations, which would disturb the birds and potentially cause them to
abandon the leks. (Id.) OEA has determined that the Whitmore Park Alternative would avoid or
minimize impacts on greater sage-grouse that would result under the other Action Alternatives
because the Whitmore Park Alternative would be located the furthest distance away from the
greatest number of leks and associated summer brood rearing habitat.6 (Final EIS S-8.) To
lessen impacts on the greater sage-grouse, the Coalition also volunteered a number of mitigation
measures. OEA recommends additional mitigation measures in the Final EIS. With both OEA’s
final recommended mitigation, and the Coalition’s voluntary mitigation, all of which the Board
will impose, the EIS properly finds that, particularly under the Whitmore Park Alternative, the
impacts on greater sage-grouse would not be significant.7 (Id.)

        In its comments on the Final EIS, the State asks that OEA remove BIO-MM-20, a Final
EIS mitigation measure prohibiting construction during greater sage-grouse mating and nesting
season. The State explains that eliminating the condition will help the Utah Division of Wildlife
Resources and the Coalition negotiate a final mitigation agreement concerning the greater
sage-grouse (State Comment 3, Aug. 25, 2021.) The State later filed this agreement on
September 27, 2021, and the document provides significant additional mitigation to further
lessen impacts on the greater sage-grouse. (State Filing 5-6, Sept. 27, 2021.)

       Among the mitigation in the final mitigation agreement are steps to lessen noise during
construction and operation, including, to the greatest degree practicable, limiting railroad
operational noise to no more than 10 decibels above the ambient level at the edge of the lek
during breeding season (March 1 to May 15) and limiting use of horns to emergency situations.8

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         Reduction in impacts, including those on greater sage-grouse, is, in fact, one of the
primary reasons that the Whitmore Park Alternative was developed. (Draft EIS 2-25.)
       7
          CBD criticizes the data and methodology OEA used in its analysis of impacts on the
greater sage-grouse, including the locations of the baseline ambient noise level measurements,
the noise levels deemed to cause disturbance of greater sage-grouse, and a claimed failure to
account for declining population levels. (CBD Comment 48-56, Oct. 18, 2021.) The Final EIS
thoroughly explains why these criticisms are misplaced and how the data and methodologies
used by OEA in the EIS are supported by the record. (See Final EIS 3.4-45 to 46, 3.4-48 to 49,
3.4-58 to 62; App. T-184, T-203-05, T-208-09.) Moreover, determining the best data and
methodology upon which to rely is a determination that falls well within the agency’s discretion.
Jewell, 825 F.3d at 583-85 (upholding agency’s discretionary decision not to conduct nocturnal
migratory bird survey because agency’s determination was a discretionary one and “founded on
reasonable inferences from scientific data”).
       8
          CBD asserts that the mitigation proposed for the greater sage-grouse, as well as for
numerous other resources and impacts, such as threatened and endangered plants, big game,
geological hazards, revegetation of temporarily disturbed construction areas, and recreational
resources, is insufficient because it includes plans to continue developing specific mitigation
actions as the project progresses or as based on continuing consultation with other agencies and
the Ute Indian Tribe. (CBD Comment 72-79, Oct. 18, 2021.) However, explicit concrete detail
and definitive actions not subject to further evaluation or refinement are not required in an



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(State Filing 6, Sept. 27, 2021.) CBD asks that the Board prohibit train operations during greater
sage-grouse mating season between 6:00 a.m. and 9:00 a.m. (CBD Comment 56, Oct. 18, 2021.)
The Board generally does not restrict how railroads choose to conduct their operations. In any
event, it is not necessary to consider CBD’s request as the final mitigation agreement provides
more protection for the greater sage-grouse than the mitigation recommended in the Final EIS,
including limits on train noise and hours of operation. (Compare Final EIS Sec. 4-7 with State
Filing 5-6, Sept. 27, 2021.) Therefore, the Board will not adopt CBD’s request to limit
operations. However, as discussed below in the Board Mitigation section, the Board will grant
the State’s request to remove BIO-MM-20 recommended in the Final EIS and instead will
impose the measures in the final mitigation agreement.

        As part of the NEPA process for this project and pursuant to Section 7 of the ESA, on
September 20, 2021, USFWS issued its BO evaluating the effects of the project on endangered
and threatened species. The BO presents USFWS’s conclusions regarding likely impacts on
ESA-listed species and details the data and information on which it bases those conclusions. The
BO concludes that the proposed project is not likely to jeopardize the continued existence of the
ESA-listed plants or fish or result in the adverse modification of the endangered fishes’ habitat.
(BO 47-49.) CBD makes a generalized claim that the BO is flawed and asserts, among other
things, that the BO does not rely on current data, arbitrarily limits the area of study, and fails to
consider the effects of oil and gas development that would be spurred by the Line on listed plant
species. (CBD Comment 6, Oct. 18, 2021.) However, the BO is a USFWS document that
neither OEA nor the Board have the authority to revise. Moreover, CBD previously raised these
claims of flaws in its comments on OEA’s draft Biological Assessment (BA), which was
appended to the Draft EIS.

       OEA addressed comments on the draft BA in the Final EIS and revised the BA in
response to comments, as appropriate, before submitting the BA to USFWS to begin formal
consultation with USFWS. (Final EIS T-203.) Thus, CBD’s concerns do not lead the Board to
conclude that it should not rely on the BO.

               4. Wildfires

        OEA’s analysis also thoroughly addresses the possibility of trains sparking wildfires
along the routes of the Action Alternatives. OEA notes that the Forest Service has created a
Wildfire Hazard Potential (WHP) map. (Final EIS 3.4-16.) According to the map,
approximately 90% of the study areas for the Indian Canyon Alternative and Whitmore Park
Alternative, and approximately 87.4% of the study area for the Wells Draw Alternative, are

agency’s discussion and development of appropriate mitigation. Rather, what is required under
both NEPA and the NEPA-implementing regulations of the Council on Environmental Quality is
“a reasonably complete discussion of possible mitigation measures.” Busey, 938 F.2d at 206
(quoting Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 352 (1989)); see also
Theodore Roosevelt Conservation P’ship v. Salazar, 616 F.3d 497, 516-17 (D.C. Cir. 2010)
(upholding an adaptive management plan because NEPA does not require “agencies to make
detailed, unchangeable mitigation plans for long-term development projects”). The Final EIS’s
discussion of mitigation is reasonably complete and therefore complies with NEPA.


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associated with very low, low, or moderate wildfire hazard potential. (Id.) The Final EIS further
determined that the “very high” WHP is not present in the study areas for any Action
Alternative. (Id.) Moreover, the Final EIS concludes that the probability of a train-induced
forest fire is very low because trains only cause a small percentage of fires (id. at Table 3.4-7)
and improvements in locomotive technology further lessen the risk. (Id. at 3.4-42.)

        Nonetheless, to further reduce the risk of wildfires, OEA recommends mitigation
requiring the Coalition to develop and implement a wildfire management plan in consultation
with appropriate state and local agencies, including local fire departments (BIO-MM-7).
Further, OEA recommends that the plan incorporate specific information about operations,
equipment, and personnel on the Line that might be of use in case a fire occurs and should
evaluate and include, as appropriate, site-specific techniques for fire prevention and suppression.
OEA reasonably concludes that, if its recommended mitigation is implemented, the impacts of
wildfire on vegetation would not be significant. (Id. at 3.4-42 to 43.)

         In response to comments received on the Draft EIS, OEA also considered impacts from
rail operations along existing rail line segments downline of the proposed rail line for some
biological resources, including impacts related to wildfires. (Id. at 3.4-43.) Trains originating or
terminating on the proposed rail line could be an ignition source for wildfires along existing rail
lines outside of the study area. However, because those existing rail lines are active rail lines
that have been in operation for many years, construction and operation of the Line would not
introduce a new ignition source for wildfires along the downline segments. (Id.) Moreover, for
the reasons discussed above, the probability that a train would trigger a wildfire is very low, and
nearly 90% of the area along the downline segments has no WHP or has a very low or low WHP.
(Id. at Table 3.4-9.) OEA therefore concludes that the downline wildfire impact of the proposed
rail line would not be significant. (Id. at 3.4-43.) The Board adopts OEA’s reasonable analysis
concerning wildfires and will impose OEA’s final recommended mitigation regarding a wildfire
management plan.

               5. Land Use and Recreation

        Most of the area surrounding any of the Action Alternatives is rural and sparsely
populated. The Indian Canyon Alternative and Whitmore Park Alternative both have five
residences in their respective study areas, and nine residences are located in the study area of the
Wells Draw Alternative. (Id. at 3.11-4.) However, all of the Action Alternatives could
significantly affect land uses on public, private, or tribal lands. (Id. at S-9.) The Indian Canyon
Alternative and Whitmore Park Alternative would each cross inventoried roadless areas within
Ashley National Forest and Tribal trust land within the Ute Indian Tribe’s reservation. (Id.) The
Wells Draw Alternative would cross the Lears Canyon Area of Critical Environmental Concern
and Lands with Wilderness Characteristics on BLM-administered lands. Noise and visual
impacts would disturb recreational activities on those public lands, such as camping, hiking, and
hunting, as well as recreational activities on private and tribal lands. (Id.)

       As the Final EIS explains, construction and operation of the Line would result in
unavoidable consequences on land use and recreation, including the permanent loss of irrigated
cropland and grazing land, the severance of properties, and visual and noise disruption of



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recreational activities on public and private lands. OEA concludes that these unavoidable
impacts on land use and recreation would be locally significant because each of the Action
Alternatives would permanently alter existing land use and the availability and quality of
recreational activities in the study area, including special designation areas on public lands.
However, the Coalition has proposed voluntary mitigation measures and OEA is recommending
additional mitigation measures to avoid or minimize impacts on land use and recreation. (Id.
at 3.11-28.) The Board adopts OEA’s reasonable analysis of impacts on land use and recreation
and will impose all of OEA’s final recommended mitigation.

               6. Vehicle Safety and Delay

         Construction and operation of any of the Action Alternatives would introduce new
vehicles (such as construction vehicles) on public roadways and would require the construction
of new at-grade road crossings. (Id. at S-10.) Among the three Action Alternatives, the Wells
Draw Alternative would involve constructing the most at-grade road crossings and would result
in the greatest potential for vehicle accidents and vehicle delays at those new crossings. Because
it is the longest Action Alternative, construction of the Wells Draw Alternative would also result
in the greatest vehicle disruption. (Id. at 3.1-20.) Because it is the shortest Action Alternative
and would require the fewest new at-grade road crossings, the Indian Canyon Alternative would
result in the least impacts on vehicle safety and delay. (Id.)

         Any of the Action Alternatives would generate limited additional road traffic, primarily
associated with employees commuting. (Id. at 3.1-8.) On some local roads, operations would
reduce truck traffic because some freight that is currently transported by truck would move by
rail instead. (Id.)

        To minimize effects on vehicles, OEA recommends that the Board adopt the mitigation
measures the Coalition has volunteered as well as various conditions OEA has crafted itself. The
voluntary mitigation measures include a requirement for the Coalition to consult with appropriate
federal, tribal, state, and local transportation agencies to determine the final design of the
at grade crossing warning devices and to follow standard safety designs for at-grade road
crossings, among other measures (VM 2). Additionally, OEA is recommending a mitigation
measure that would require the Coalition to consult with private landowners and communities
affected by new at-grade crossings to identify measures to mitigate impacts on emergency access
and evacuation routes and incorporate the results of this consultation into the emergency
response plan identified in VM-11 (VSD-MM-6). OEA is also recommending additional
mitigation measures, (VSD-MM-4, VSD-MM-5), requiring the Coalition to support Operation
Lifesaver educational programs in communities along the Line to help prevent accidents at
highway/rail grade crossings and to adhere to Federal Highway Administration regulations for
grade-crossing signage. OEA concludes that, if the recommended mitigation measures in the
Final EIS are implemented, impacts from the new vehicles and at-grade road crossings would not
significantly affect vehicle safety on public roadways or cause significant delay for people
traveling on local roads. (Id. at S-10.) The Board adopts OEA’s reasonable analysis of impacts
concerning vehicle safety and delay and will impose the mitigation recommended in the Final
EIS.




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               7. Rail Operations Safety

         Operation of any of the Action Alternatives would involve the risk of rail-related
accidents, potentially including collisions, derailments, or spills. (Id.) Because the Wells Draw
Alternative is the longest of the Action Alternatives, OEA predicts that it would have the highest
chance of accidents (0.24 to 0.72 accident per year), followed by the Whitmore Park Alternative
(0.22 to 0.60 accident per year) and the Indian Canyon Alternative (0.20 to 0.56 accident per
year). (Id. at 3.2-7.) Given that approximately one in four accidents involving loaded trains
would result in a release of some crude oil, OEA predicts that rail operations under the Wells
Draw Alternative would result in a spill approximately once every 11 years (under the high rail
traffic scenario) to approximately once every 33 years (under the low rail traffic scenario). (Id.)
Under the Indian Canyon Alternative, a spill would be expected approximately once every 14 to
40 years, while OEA predicts that the Whitmore Park Alternative would experience a spill
approximately once every 13 to 36 years, depending on the volume of rail traffic.9 (Id. at 3.2-7
to 8.)

        To minimize the likelihood and consequences of accidents during rail operations, the
Coalition volunteered mitigation (VM-1, VM-15) to ensure that train operators using the Line
would comply with the requirements of the Hazardous Materials Transportation Act, as
implemented by the U.S. Department of Transportation, and with Federal Railroad
Administration safety requirements, including any applicable speed limits and train-lighting
requirements. In addition, OEA is recommending a mitigation measure (ROS-MM-2) that would
require the Coalition to inspect, as part of its routine rail inspections or at least twice annually,
both track geometry and local terrain conditions. Implementation of this measure would
minimize the potential for problems with the track or track bed that could lead to accidents
(ROS-MM-2). To ensure that the consequences of a potential accident would be minimized, the
Coalition also has committed to developing an internal Emergency Response Plan for operations
on the Line. The plan would include a roster of agencies and people to contact for specific types
of emergencies during rail operations and maintenance activities, procedures to be followed by
particular rail employees in the event of a collision or derailment, emergency routes for vehicles,
and the location of emergency equipment (VM-8). In addition, the Coalition’s voluntary
mitigation measure (VM-14) and OEA’s recommended mitigation measure (ROS-MM-1),
require the Coalition to immediately notify state and local authorities in the event of a release of
crude oil and to immediately commence cleanup actions in compliance with federal, state, and
local requirements.

       Because the operation of rail lines inherently involves the potential for accidents, some
impacts related to rail operations safety in the project study area would be unavoidable. OEA
concludes, however, that these impacts would be minimized and would not be significant if the

       9
          CBD criticizes the methodologies the Final EIS uses and claims that the Final EIS does
not fully disclose its underlying data. However, OEA’s analysis methods for assessing impacts
related to rail operations safety are widely used and accepted and are consistent with OEA’s past
practice in railroad construction cases. Agencies are entitled to choose among reasonable
methodologies, Jewell, 825 F.3d at 584-85, and the EIS fully explains its analysis. (Final EIS
Sec. 3.2, App. T-40-41.)


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Coalition’s voluntary mitigation measures, OEA’s recommended mitigation measures, and all
applicable federal requirements are implemented. (Id. at 3.2-8.) The Board adopts OEA’s
reasonable analysis of impacts concerning the safety of rail operations and will impose the
mitigation recommended in the Final EIS.

               8. Air Quality and Greenhouse Gases (GHG)

        OEA explains in the Final EIS that during the rail construction phase, construction
equipment would emit air pollutants, including criteria air pollutants that could contribute to poor
air quality and GHGs that would contribute to climate change. (Id. at S-12.) Among the three
Action Alternatives, the Wells Draw Alternative would result in the most construction-related air
pollution and GHG emissions, followed by the Whitmore Park Alternative and the Indian
Canyon Alternative. Emissions from rail construction activities would be temporary and would
move continually during the construction period. (Id. at 3.7-38.) Construction-related air
emissions would not cause concentrations of criteria air pollutants to exceed the National
Ambient Air Quality Standards (NAAQS)10 and would not exceed the de minimis thresholds for
air emissions within the Uinta Basin Ozone Nonattainment Area. (Id. at S-12.) With
implementation of the Coalition’s voluntary mitigation measure and OEA’s recommended
mitigation measures, OEA concludes that impacts related to air quality and GHG emissions
would not be significant. (Id. at 3.7-38.)

        The State responded to the Final EIS, asking that OEA remove AQ-MM-4, a condition
requiring biodiesel fuel to be used during rail construction, and AQ-MM-8, a condition requiring
the use of renewable diesel fuel during rail construction. (State Comment 2, Sept. 27, 2021.)
The State notes that it already has a Utah Clean Diesel Program and that OEA’s recommended
measures would pose a regulatory burden. (Id.) The Board disagrees with the State’s opinion
that requiring the Coalition to use alternatives to traditional diesel fuel during construction in
order to reduce GHG emissions would pose an undue regulatory burden. Therefore, the Board
will not remove these conditions but will further clarify them in the Board Mitigation section
below. Similarly, the State asks that AQ-MM-9 be removed to encourage voluntary ozone-
reduction activities in coordination with the Utah Department of Environmental Quality. (Id.)
That condition requires, to the extent practicable, that the Coalition avoid conducting project-
related construction activities that could result in the emission of ozone precursors within the
Uinta Basin Ozone Nonattainment Area in January and February to minimize emissions of
ozone. The Board will not remove this condition but, in response to the Coalition’s concerns,
will modify it to explain that if the Coalition cannot avoid such construction during January and

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            Under the Clean Air Act, USEPA sets air quality standards for six principal pollutants
which can be harmful to public health and the environment. USEPA designates areas where
criteria air pollutant levels are less than the NAAQS as “attainment” areas and where pollutant
levels exceed the NAAQS as “nonattainment” areas. USEPA designates former nonattainment
areas that have attained the NAAQS as “maintenance” areas. USEPA has designated the Basin as
an attainment area for all pollutants except ozone because measured concentrations of ozone in
the eastern part of the Basin have exceeded the NAAQS in winter when the ground is covered by
snow and stagnant atmospheric conditions are present (ozone levels at other times have been less
than the NAAQS). (See Final EIS 3.7-8.)


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February, it must consult with OEA and the Utah Department of Environmental Quality’s Air
Quality Division to identify and implement other appropriate ozone-reduction activities for those
months.11

        OEA also examined projected air emissions from rail operations over the Line and finds
in the Final EIS that the primary source of emissions would be locomotives. (Final EIS 3.7-38.)
Because it is the longest Action Alternative, the Wells Draw Alternative would result in the most
emissions of all pollutants, followed by the Whitmore Park Alternative and then the Indian
Canyon Alternative. (Id.) Based on the air quality modeling, OEA concludes that operation of
the Line would not cause air pollutant concentrations to exceed the NAAQS at any location.
(Id.) Therefore, OEA finds that operation of the Line would not result in significant air quality
impacts. (Id. at 3.7-39.)

         OEA recommends mitigation measures related to GHG emissions, but, as the Final EIS
explains, operation of the Line would still result in unavoidable GHG emissions even if these
measures are implemented. (Id.)12 However, GHG emissions from rail operations would
represent a small percentage (less than one percent) of existing statewide GHG emissions in
Utah, (Final EIS Table 3.7-1), and would not contribute significantly to global climate change,
(id. at 3.7-39).

        USEPA’s comments on the Final EIS discuss several technical issues related to a
computer model that OEA used to predict the dispersion of air pollutants from locomotive
emissions along the Line. Those issues, however, also were raised in USEPA’s comments on the
Draft EIS, and OEA, in response, made changes to its analysis in the Final EIS. (Final EIS
App. M (Air Quality Emissions and Modeling Data); App. T-251.) USEPA also expresses
concern that OEA’s use of a “flagpole height” (i.e., the height above the ground for which the
model predicts the concentration of a pollutant) for one of the modeling scenarios described in
the Final EIS might under-predict air pollutant concentrations for that modeling scenario. After
receiving USEPA’s letter, OEA reran the model scenario without using a flagpole height, as
USEPA had recommended, and found the new results to be identical to the results reported in the
Final EIS. Therefore, no further air quality modeling is necessary to support OEA’s conclusions,




       11
           CBD states that OEA should use the most recent global warming potential (GWP)
values in calculating GHG emissions from the Line and other projects in the area. (CBD
Comment 37, Oct. 18, 2021.) OEA appropriately used the GWP values from the
Intergovernmental Panel on Climate Change’s (IPCC) Fourth Assessment Report from 2007,
consistent with international GHG reporting standards under the United Nations Framework
Convention on Climate Change.
       12
          CBD states that the Board should require the railroad to achieve net-zero emissions,
including emissions from oil and gas production in the Basin and downstream uses of oil
transported on the rail line. (CBD Comment 44-45, Oct. 18, 2021.) This would be an
unprecedented mitigation that is not mandated by any federal or applicable state regulatory
requirement and would likely be impossible to implement as proposed.


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and the Board agrees with OEA’s determination that the Line would not significantly affect air
quality in the project area.13

               9. Increased Oil and Gas Drilling and Other Cumulative Impacts

        Under NEPA, agencies must analyze direct, indirect, and cumulative impacts. 40 C.F.R.
§§ 1502.16, 1508.7, 1508.8, 1508.25 (as applicable in 2019). To do that, OEA reviewed
information on relevant past, present, and reasonably foreseeable projects and actions that could
have impacts that coincide in time and location with the potential impacts of the proposed rail
line. (Final EIS S-13.) OEA identified 27 relevant projects, including facility and infrastructure
improvements, watershed improvements, road improvements, two interstate electric power
transmission projects, one crude oil processing facility, one Programmatic Agreement for
cultural resource preservation, projects on Forest Service lands, and projects on BLM-
administered lands. (Id.) Based on the cumulative impacts analysis, OEA concludes that the
impacts of those projects in combination with the impacts of construction and operation of the
Line could result in cumulative adverse impacts on water resources, biological resources,
paleontological resources, land use and recreation, visual resources, and socioeconomics. (Id.)

        Apart from these 27 projects, OEA’s cumulative impacts assessment also includes an
analysis of potential future oil and gas development in the Basin and the potential future
construction and operation of new rail terminal facilities near Myton and Leland Bench, Utah.
(Id.) Although OEA expected that the Line would divert to rail transportation some oil that in
the past has been trucked to terminals outside the Basin, OEA assumed, for purposes of the
cumulative-impacts analysis, that all oil transported on the Line would come from new
production. (Id. at 3.15-4.) For the analysis of potential cumulative impacts, OEA developed
two potential scenarios for future oil and gas development in the Basin that correspond to the
Coalition’s estimated range of rail traffic. (Id. at 3.15-3.) Under the high oil production
scenario, total oil production in the Basin would increase by an average of 350,000 barrels per
day and result in 3,330 wells over the first 15 years. (Id. at 3.15-4 to 6.)

       As explained in the Final EIS, construction and operation of any of the Action
Alternatives would, along with oil and gas development activities in the Basin, contribute to
increased vehicle trips in the cumulative impacts study area that could increase the potential for
vehicle safety and delay impacts. (Id. at 3.15-10.) Under the high oil production scenario, traffic
would increase by a maximum of 6% on the major roadways, leaving substantial remaining
capacity. (Id. at 3.15-13.) Local roads, however, have smaller roadway capacity, and OEA
concludes that the increase in traffic on local roads used to serve the terminals could result in

       13
           As part of its further claim that OEA’s analysis of climate change is insufficient, CBD
lists multiple methods that it asserts OEA should have used in its analysis of climate change,
such as social cost of carbon, carbon budgeting, and carbon “lock-in.” (CBD Comment 37-42,
Oct. 18, 2021.) Use of these methodologies, however, is not required under NEPA or its
implementing regulations, and the existence of alternative tools for analysis does not support a
conclusion that the methodologies used in the EIS were insufficient. (Final EIS, App. T-280,
T-283, T-430-31); see also Jewell, 825 F.3d at 584-85 (agencies are entitled to choose among
reasonable methodologies).


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significant cumulative impacts on vehicle delay in the absence of road improvements or other
mitigation. (Id.)

        Additionally, OEA concludes that vehicle traffic stemming from increased oil and gas
development would not result in significant cumulative impacts on vehicle safety. (Id.
at 3.15-15.) OEA notes, among other things, that vehicle safety in the study area is generally
good and that crash rates in Uintah and Duchesne Counties, where most oil and gas activity is
occurring, are below the national average. (Id.)

        As to air quality and climate change, OEA assumed that total air pollutant emissions each
year would vary according to the number of wells constructed in that year. (Id. at 3.15-33.)
Once a well is producing, emissions occur from operations and maintenance activities, which
generate truck trips to the well site, and from trucks that transport the crude oil to the rail
terminals. Emissions also occur from venting, flaring, equipment leaks, and engine exhaust from
equipment located at operating wells. (Id. at 3.15-34.) OEA estimated aggregate emissions from
potential future oil and gas development based on the best available information regarding
emissions from oil and gas production in the Basin. (Id. at Table 3.15-11.) However, OEA
determined the specific locations of localized air quality impacts in the cumulative impacts study
area are not known because there are no available data on the characteristics or local site
conditions of potential future oil and gas development projects. (Id. at 3.15-33.)

        OEA adds that refiners would refine the crude oil transported by the Line into various
fuels and other products. To the extent that the crude oil would be refined into fuels that would
be combusted to produce energy, emissions from the combustion of the fuels would produce
GHG emissions that would contribute to global warming and climate change. (Id. at 3.15-35.)
Downstream end use emissions associated with the combustion of the crude oil that could be
transported on the Line under the high oil production scenario could represent up to
approximately 0.8% of nationwide GHG emissions and 0.1% of global GHG emissions. (Id.
at 3.15-36.) However, the actual volumes of crude oil that would move over the Line would
depend on various independent variables and influences, including general domestic and global
economic conditions, commodity pricing, the strategic and capital investment decisions of oil
producers, and future market demand for crude oil from the Basin, which would be determined
by global crude oil prices and capacity at oil refineries, among other factors. (Id. at 3.15-3).
Furthermore, to the extent that crude oil transported on the Line could be refined into products
other than fuel and, to the extent that the fuels produced from crude oil transported on the Line
could displace other fuels from the market, GHG emissions from downstream end uses would be
lower, and potentially significantly lower, than these estimates.

       OEA also reasonably explains that benefits would result from the increase in annual oil
production. Notably, increased production would generate long-term employment, labor income,
and spending on goods and services in the cumulative impacts study area.14 Increased
production would also generate state and local revenue through taxes. Additionally, new wells


       14
           Constructing and operating any of the Action Alternatives would also generate direct,
indirect, and induced employment, including for tribal members, and create state and local
revenue. (Id. at 3.13-26 to 33.)

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drilled on state land or accessing state minerals would generate additional revenue for Utah
through royalties and lease payments. (Id. at 3.15-51.)

        CBD asserts that the Final EIS is insufficient because it fails to treat a potential future
increase in oil and gas production in the Basin and downstream emissions from the end uses of
oil transported on the Line as indirect impacts of the project. And, as a result, CBD argues that
the Final EIS does not sufficiently disclose the impacts of increased oil and gas production in the
Basin that could occur as a result of the Line. (CBD Comment 8-14, Oct. 18, 2021.)

         Indirect effects are reasonably foreseeable effects that are caused by the action but that
are later in time or farther removed in distance. 40 C.F.R. § 1508.8. An indirect effect is more
than something that could not occur “but for” the federal action at issue and, instead, to be an
indirect effect of an action under NEPA requires a reasonably close causal connection. Dep’t of
Transp. v. Pub. Citizen, 541 U.S. 752, 767-68, 770-72 (2004); see also Metro. Edison Co. v.
People Against Nuclear Energy, 460 U.S. 766, 774 (1983). Thus, when an agency “has no
ability to prevent a certain effect due to its limited statutory authority over the relevant actions,
the agency cannot be considered a legally relevant ‘cause’ of the effect” for NEPA purposes.
Dep’t of Transp. v. Pub. Citizen, 541 U.S. at 770. Here, the Board has no authority or
jurisdiction over development of oil and gas in the Basin nor any authority to control or mitigate
the impacts of any such development. Accordingly, contrary to CBD’s argument, the fact that
this oil and gas development likely would not occur “but for” the Board granting authority to
construct and operate the Line does not make this an indirect effect. OEA properly declined to
treat oil and gas development as an indirect effect.

        This does not mean that OEA did not consider effects of potential oil and gas
development in the Basin. Rather, OEA determined that impacts from potential oil and gas
development should be considered as a cumulative impact and conducted a full and appropriate
analysis of those impacts. (Final EIS Sec. 3.15.4.1.) Cumulative impacts are those which result
from the incremental impact of the action when added to other past, present, and reasonably
foreseeable future actions regardless of what agency or person undertakes such other actions.
40 C.F.R. § 1508.7. Oil and gas development that may occur following authorization of the Line
would entail many separate and independent projects that have not yet been proposed or planned
and that could occur on private, state, tribal, or federal land and could range in scale from a
single vertical oil well to a large lease involving many horizontal wells.15 As a result, the Board
agrees with OEA that this development was properly considered as a cumulative impact.16

       15
           Furthermore, regardless of whether the EIS labeled the impacts from oil and gas
development in the Basin as indirect or cumulative impacts, OEA conducted a full analysis of
those effects. The impacts and the analysis of those impacts would be the same no matter which
label is used.
       16
          CBD levels several additional criticisms of OEA’s analysis of potential oil and gas
development in the Basin, including claims of inconsistent statements and conclusions. But the
Board will not directly address those here because a fair reading of the Final EIS shows that they
are based on mischaracterizations of the statements in the Final EIS that CBD relies on and the
thorough analysis OEA conducted. (See CBD Comment 10-13, Oct. 18, 2021; Final EIS
Sec. 3.15.4.1.)


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        CBD asserts that OEA erred in relying, in part, on the results of an EIS prepared by the
BLM for the Monument Butte Oil and Gas Development Project to predict potential air
emissions that could result from future oil and gas production in the Basin as part of OEA’s
cumulative impacts analysis.17 (CBD Comment 3-4, 26-36, Oct. 18, 2021.) The Monument
Butte EIS was a study of a proposed oil development project in the Basin and OEA relied, in
part, on the results of that study to make conclusions about the cumulative air quality impacts of
potential future oil and gas production in the Basin when considered in combination with the
potential air quality impacts that could result from construction and operation of the Line. (Final
EIS 3.15-32.) OEA’s use of the results of the Monument Butte EIS in the cumulative impacts
analysis was reasonable and appropriate because the Monument Butte EIS provides the best
available information regarding potential air emissions from oil and gas production projects in
the Basin. (Final EIS App. T-266, T-401-407.)

               10. Downline Impacts

         As part of its analysis of impacts, OEA examined downline impacts of the project, i.e.,
reasonably foreseeable impacts that could occur outside the project area as a result of
construction and/or operation of trains using the Line. (See Final EIS, Sec. 3.1 (Vehicle Safety
and Delay), Sec. 3.2 (Rail Operations Safety), Sec. 3.6 (Noise and Vibration), Sec. 3.7 (Air
Quality and Greenhouse Gases).) The Board’s regulations at 49 C.F.R. § 1105.7(e)(11)(v)
governing review of potential downline impacts refer to the general thresholds for environmental
review concerning air quality and noise. 49 C.F.R. §§ 1105.7(e)(5); 1105.7(e)(6). Consistent
with prior practice and based on its experience, OEA determined that these regulatory thresholds
should also apply to the analysis of downline impacts on freight rail safety and grade-crossing
safety and delay in the EIS here. See Tongue River R.R.—Constr. & Operation—in Custer,
Powder River, & Rosebud Cntys., Mont., FD 30186, Draft EIS at Sec.17.1 (STB served Apr. 17,
2015). That approach is reasonable, as the rationale for finding that minimal increases in train
traffic on existing rail lines over which trains already operate are unlikely to cause significant
impacts on air quality and, furthermore, that noise applies equally to potential effects on rail
safety and grade-crossing safety and delay.

        There are many different potential destinations for Uinta Basin oil transported by train
and even more practical routes available to reach those destinations. Because it is not possible to
identify specific refineries that would receive shipments of Uinta crude oil, in order to assess
downline impacts, OEA first identified potential refinery destinations for Uinta crude oil using a
regional approach. (See Final EIS App. C.) After those regions were identified, OEA then
considered potential routing to those destinations and where the estimated project-related rail
traffic would exceed the Board’s regulatory thresholds. (Id.) Using the predicted number and
length of trains, OEA’s analysis of likely regional destinations, and the projected reasonably

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          CBD also asserts that the EIS fails to properly account for Clean Air Act requirements
for Uinta Basin as a nonattainment area. (CBD Comment 33-35, Oct. 18, 2021.) The record
contradicts CBD’s claim that the EIS failed to consider those impacts or comprehensively
explain how it came to conclusions regarding the same. (See Final EIS Sec. 3.7.1.1; 3.15.5.7;
App. M; App. T-268-69, T-271-76, T-401-02.)


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foreseeable routes for this traffic, OEA identified a downline impact study area eastward from
Kyune to the northern, southern, and eastern edges of the Denver Metro/North Front Range that
met the Board’s regulatory thresholds for analysis and assessed impacts in that downline study
area. (Id.) Using its analysis of predicted destinations, OEA further concluded that rail traffic
outside of the downline study area would be dispersed and that no individual rail lines outside of
the downline study area can reasonably be expected to experience an increase in rail traffic in
excess of OEA’s analysis thresholds. Therefore, the Final EIS concludes that an analysis of
downline impacts on existing rail lines outside of the downline study area would not be
appropriate.

        CBD objects to both the application of the Board’s regulatory thresholds to rail safety and
delay, environmental justice, and GHG emissions from refining Uinta crude oil, as well as the
validity of the thresholds themselves. According to CBD, the Board’s thresholds prevent
analysis of reasonably foreseeable impacts. (CBD Comment 14-18, Oct. 18, 2021.) As noted
above, the regulatory thresholds place reasonable limits on OEA’s assessment of certain impacts
because minimal increases in train traffic on existing rail lines already in use are not likely to
result in significant additional impacts required to be analyzed under NEPA. And indeed, CBD
points to nothing that would indicate that the downline impacts here would be significant but
instead relies on speculation. (Id.)

        NEPA does not require agencies to examine every possibility that an impact could occur
no matter how speculative, nor does it require agencies to analyze the impacts of effects over
which it has no control because evaluation of those impacts would not inform the agency’s
decision-making. See Dep’t of Transp. v. Pub. Citizen, 541 U.S. at 768-70; Jewell, 825 F.3d
at 583 (agencies are entitled to make reasonable inferences based upon the data); Andrus,
619 F.2d at 1375-76 (discussion of environmental effects must be governed by “rule of reason”
and NEPA does not require every action to be discussed in exhaustive detail). Because the
Board cannot regulate downline train operations by other carriers as part of this proceeding, it
cannot regulate or mitigate impacts caused by those downline operations. The type of analysis
that CBD claims is necessary is therefore neither required nor useful. As a result, OEA’s
application of the thresholds here was appropriate, reasonable, and consistent with NEPA and the
regional analysis of downline rail operations complies with NEPA.

        CBD also asserts that OEA should have included in its downline analysis impacts from
operation of trains carrying Uinta crude oil on the Tennessee Pass Line. (CBD Comment 18-19,
Oct. 18, 2021.) The Tennessee Pass Line is a line of railroad in Colorado that is owned by UP
and has been out of service for many years. See Colo., Midland & Pac. Ry.—Lease & Operation
Exemption Containing Interchange Commitment—Union Pac. R.R., FD 36471, slip op. at 1, 4-5
(STB served Mar. 25, 2021). As discussed in the Board’s September 30 Decision, even if it were
in service, the Tennessee Pass Line would be unlikely to carry Uinta crude oil. September 30
Decision, FD 36284, slip op. at 6. Among other things, the Board noted that the modeling
program used by OEA to examine the patterns for traffic coming off the Line did not forecast
any traffic travelling over the Tennessee Pass Line. (Final EIS, App. C, C-4, C-6.) Instead,
OEA projects that “all rail traffic moving from Kyune to destinations in the east would travel




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over the existing rail line between Kyune and Denver, Colorado.” (Id. at C-4.)18 Thus, the
Board agrees with OEA that analysis of impacts from use of the Tennessee Pass Line is not
reasonably foreseeable and, therefore, not appropriate for consideration in the EIS.

               11. Tribal Concerns

        OEA coordinated and consulted with tribes in accordance with NEPA, Executive
Order 13175, and Section 106 of the National Historic Preservation Act (NHPA). (Final EIS 5-
7.) Through government-to-government consultation with the Ute Indian Tribe,19 OEA
identified impacts related to vehicle safety and delay, rail operations safety, biological resources,
air emissions, and cultural resources as areas of concern for the tribe. (Id. at S-9.) To mitigate
the impacts, OEA has crafted mitigation measures that require the Coalition to work with the Ute
Indian Tribe to address issues of tribal concern. In particular, OEA worked with the Ute Indian
Tribe and other Section 106 consulting parties to develop a Programmatic Agreement, which has
been executed, that sets forth how cultural resources would be protected if the Board were to
authorize the Line. (Id. at S-9 to 10.) In addition, OEA has identified impacts on the Pariette
cactus and the Uinta Basin hookless cactus as disproportionately high and adverse impacts on an
environmental justice community. Because those species are culturally important to the Ute
Indian Tribe, OEA is recommending mitigation requiring the Coalition to consult with the Ute
Indian Tribe regarding impacts on those special status plant species and to abide by the tribe’s
requirements for addressing the impacts. (Id. at S-10.)

       NHPA

        In accordance with Section 106 of NHPA, OEA surveyed the project area, identified
historic properties, and consulted with interested parties regarding the potential effects of the
project on these properties. Construction of the proposed rail line would physically alter and
potentially destroy cultural resources located within the below-ground portion of the area of
potential effects (APE) (the project footprint plus a 50-foot buffer). (Id. at 3.9-13.) The APE for
the Indian Canyon Alternative includes 16 known historic properties, the APE for the Wells
Draw Alternative includes 19 known historic properties, and the APE for the Whitmore Park
Alternative includes 16 known historic properties. (Id. at 3.9-13 to 16.) Some of these resources
could be altered or destroyed during construction of the Line. (Id.)

        Because the APEs have not been surveyed comprehensively, OEA concludes that
additional cultural resources, such as previously unidentified archeological sites, are likely to be
present in the APEs and could be impacted by construction and operation of the proposed rail
line. (Id. at 3.9-17.) To ensure that any adverse effects on historic and cultural resources are

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           The Coalition provided additional support for OEA’s independent analysis by
submitting a verified statement from Rio Grande Pacific Corporation, the proposed operator of
the Line, stating that it has no intention of routing trains originating on the Line over the
Tennessee Pass Line and that using the Tennessee Pass Line to transport crude oil would be
impractical and the highest-cost option. (Coal. Reply, V.S. Hemphill 2, Jan. 26, 2021.)
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           As noted earlier, the Ute Indian Tribe filed a letter on October 1, 2021, in support of
the project.

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appropriately avoided, minimized, or mitigated, OEA recommends that the Coalition be required
to comply with the terms of the executed Programmatic Agreement discussed above. (VM-42,
VM-43). The Board adopts OEA’s thorough and reasonable analysis under NHPA and will
impose the recommended mitigation requiring the Coalition to comply with the Programmatic
Agreement.

       Environmentally Preferable Alternative

        Based on OEA’s analysis and consultation with appropriate government agencies, the Ute
Indian Tribe, other interested stakeholders, and the public, OEA concludes that, among the three
Action Alternatives, the Whitmore Park Alternative would result in the fewest significant
impacts on the environment. (Final EIS S-13.) In particular, the Whitmore Park Alternative
would permanently affect the smallest area of water resources, including wetlands and perennial
streams; would minimize impacts on greater sage-grouse leks and associated summer brood
rearing habitat, as discussed above; and avoid impacts on subdivided residential areas. (Id.)

         The Final EIS explains that, compared to the Wells Draw Alternative, the Whitmore Park
Alternative would permanently and temporarily affect a smaller area of wetlands and intermittent
streams, as well as a smaller number of springs. (Id.) It would avoid impacts on special use
areas on BLM-administered lands, including Areas of Critical Environmental Concern, Lands
with Wilderness Characteristics, and areas classified by BLM as sensitive to visual impacts. The
Whitmore Park Alternative also would affect a smaller area of suitable habitat for the Pariette
cactus and Uinta Basin hookless cactus than the Wells Draw Alternative and would avoid
potential impacts on moderately suitable habitat for the threatened Mexican spotted owl and a
smaller area of big game habitat. (Id.) In addition, it would result in fewer total emissions of
criteria air pollutants and GHGs during construction and rail operations; would cross a smaller
area of land that may be prone to landslides; would displace fewer residences; would involve a
lower risk for accidents at at-grade road crossings; and would cross a smaller area with high
potential for wildfires. (Id.)

        Compared to the Indian Canyon Alternative, the Whitmore Park Alternative would
permanently and temporarily affect a smaller area of wetlands, a smaller area of riparian habitat,
and a smaller number of springs and would also require fewer stream realignments. (Id. at S-14.)
It would avoid noise impacts on residences during rail operations, as well as visual and other
impacts on residential areas in the Argyle Canyon and Duchesne Mini-Ranches areas of
Duchesne County. (Id.) The Whitmore Park Alternative would generate more employment,
labor income, and local and state tax revenue during construction than the Indian Canyon
Alternative and would cross a smaller area of geological units that may be prone to landslides
and a smaller area of land with high wildfire hazard potential. (Id.) For these reasons, OEA
recommends that the Board authorize the Whitmore Park Alternative if it grants final approval to
the Line. (Id.) For the reasons discussed above and in the Draft and Final EIS, the Whitmore
Park Alternative is the alternative the Board approves.




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       Board Conclusions on Environmental Analysis

        Upon consideration of the Draft EIS, the environmental comments submitted to the
Board, and the Final EIS, the Board is satisfied that the Draft and Final EIS have taken the
requisite “hard look” at the potential environmental impacts associated with this transaction. The
Draft and Final EIS adequately identify and assess the environmental impacts discovered during
the course of the environmental review, carefully consider a reasonable range of alternatives
(including a No Action Alternative), and include extensive environmental mitigation to avoid or
minimize potential environmental impacts. Accordingly, the Board adopts the Draft and Final
EIS and all of OEA’s analysis and conclusions, including those not specifically addressed here.
The Board finds that OEA’s recommended Environmentally Preferable Alternative (Whitmore
Park Alternative) best satisfies the purpose and need for the Line, while minimizing potential
impacts to residential areas, water resources, and greater sage-grouse leks and associated summer
brood rearing habitat.

       Board Mitigation

        The Draft and Final EIS demonstrate that construction of the Whitmore Park Alternative
would result in impacts on the environment, including impacts not discussed in this decision.
However, the mitigation measures voluntarily proposed by the Coalition along with the
mitigation developed by OEA during its environmental review should minimize the potential
environmental effects of the transaction to the extent practicable. The Board will therefore
impose the voluntary mitigation measures developed by the Coalition and, except as discussed
above, all of the additional mitigation measures recommended by OEA. In addition to the
impacts discussed above, the mitigation measures appropriately address a number of other
environmental issues assessed in the Draft and Final EIS, including impacts concerning water
resources, wayside noise, and hazardous materials. The Board will also adopt the changes to
mitigation measures concerning air quality and the greater sage-grouse following issuance of the
Final EIS, which are discussed above, as well as modify a condition in the Final EIS concerning
big game migration routes, BIO-MM-19.20 The Coalition will also be required to comply with
the executed Programmatic Agreement developed to address potential adverse impacts to
cultural resources.

      Weighing Environmental Impacts and Transportation Merits and Considering
Appropriateness of an Exemption

       The Board recognizes that, as with most other rail construction projects, the construction
and operation of this Line is likely to produce unavoidable environmental impacts. But the
Board also finds that the construction and operation of the Environmentally Preferred Whitmore
Park Alternative, with the extensive mitigation conditions imposed, will minimize those impacts

       20
           Specifically, in light of concerns by CBD, (see CBD Comment 58-62, Oct. 18, 2021),
the Board will amend the condition to require the big game corridor crossing plan to evaluate the
use of big game overpasses or underpasses (including standards for design), wildlife friendly
fencing, reduced train speeds in high-risk areas, use of sound signaling, and barriers in collision
hotspots.


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to the extent practicable. And the construction and operation of this Line will have substantial
transportation and economic benefits. As noted above, the Line will bring rail service to an area
of Utah that does not currently have service, provide shippers that must now rely on trucks
another shipping option, and create jobs. (See, e.g., Congressional Letter 1, June 28, 2021.) Rail
service will eliminate longstanding transportation constraints. The availability of a more cost-
effective rail transportation option could also support the diversification of local economies in
the Basin, which could support additional employment and expand the regional economy. (See
Governor Cox & Lieutenant Governor Henderson Letter 1, Aug. 30, 2021.) Moreover, the
Board notes the Ute Indian Tribe’s support of the project and the benefits that the Tribe has
stated that it will provide. While the No-Action Alternative would avoid the potential
environmental impacts of the rail project, it would not bring these benefits to the Basin or meet
the goals of the counties making up the Coalition or the Ute Indian Tribe. The environmental
impacts identified in the Draft and Final EIS have been sufficiently mitigated so that they do not
outweigh the Line’s transportation benefits. Moreover, as explained in the Board’s January 5
Decision (slip op. at 5-6), the Board can grant the Coalition’s request for authority even if all
issues involving financing are not yet resolved because the grant of authority is permissive, not
mandatory, and the ultimate decision on whether to proceed will be in the hands of the Coalition
and the marketplace, not the Board.21 A grant of authority permits a new line to be built if the
necessary financing is obtained. Without moving forward with the process needed to obtain
Board authority, however, no new rail lines could be built, regardless of how viable the projects
might be.

        Concerning the appropriateness of an exemption, one would further the RTP goals at
§ 10101 (2), (4), (5), and (7). As noted above, however, Argyle claims that the RTP goals at
§ 10101(8), concerning public safety, and § 10101(11), concerning safe working conditions,
would be undermined by the project. (Argyle Reply 9, July 7, 2020.) Argyle asserts that there
will be a substantial increase in local truck traffic if oil production were to increase to the extent
claimed by the Coalition. (Id. at 10.) Argyle also claims, among other things, that rail activities
could trigger forest fires and notes that Argyle Canyon was heavily damaged by a fire in 2012.
(Id.) Similarly, CBD argues that the project’s many significant environmental impacts, the
undefined nature of certain mitigation measures proposed in the EIS and BO, and questions
about the project’s financial viability require more extensive proceedings to determine whether
the project is financially able to avoid and/or mitigate the project’s environmental effects and
operate without detriment to the public health and safety. (CBD Comment 6, Oct. 18, 2021.)

       These concerns do not warrant denying the petition for exemption. The Board properly
considered the statutory standards that govern exemption requests in the January 5 Decision and
the September 30 Decision. The record developed in this proceeding is substantial, and
additional regulatory processes would not likely add to the substance of what has been presented.
OEA has demonstrated in its Final EIS that there only would be a small risk of forest fire based
on various factors such as the geography crossed by the Whitmore Park Alternative and that any


       21
           The Board notes that the Coalition has stated its “plans for financing the project
through a private partner” and that “the project will be privately financed.” (Coal. Reply 12-13,
July 21, 2020.)



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harm would be lessened by the extensive mitigation measures the Board imposes here.
Similarly, truck traffic would not significantly increase on major roads as a result of construction
and operation of the Line and problems on local roads would be lessened by the mitigation
measures the Board will impose. As for CBD’s concerns regarding the mitigation, these were
previously raised in CBD’s comments on the Draft EIS and were appropriately addressed by
OEA in the Final EIS. Further, the Board is modifying a number of the mitigation measures that
CBD and the State identified as unclear or inadequately defined. The Board need not revisit the
financial concerns CBD raises as the Board already discussed those issues in its January 5
Decision.

        In sum, the transportation merits of the project outweigh the environmental impacts and
the Coalition has demonstrated that an exemption from § 10901 is appropriate. There also is a
presumption that rail construction projects are in the public interest. Section 10901(c) provides
that the Board “shall issue a certificate [authorizing construction activities] […] unless the Board
finds that such activities are inconsistent with the public convenience and necessity.”
Recognizing the presumption, the Board finds that this project should be approved.

                                         CONCLUSIONS

       The Board is satisfied that the Whitmore Park Alternative will meet the transportation
goals of the project. Accordingly, the Board reaffirms here the analysis it discussed in the
January 5 Decision.

        After weighing the transportation merits and environmental impacts and considering the
entire record, the Board finds that the Coalition’s petition for exemption under § 10502 from the
prior approval requirements of § 10901 should be granted. The Board is granting final approval
of the construction and operation of the Environmentally Preferable Alternative—Whitmore Park
Alternative—subject to compliance with the environmental mitigation measures listed in
Appendix B of this decision.

       It is ordered:

       1. The filings commenting on the Final EIS are accepted into the record.

       2. Under 49 U.S.C. § 10502, the Board exempts the Coalition’s construction and
operation of the above-described rail line from the prior approval requirements of 49 U.S.C.
§ 10901.

        3. The Board adopts the environmental mitigation measures set forth in Appendix B to
this decision and imposes them as conditions to the exemption granted here.

       4. Notice will be published in the Federal Register.

       5. Petitions for reconsideration must be filed by January 4, 2022.




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       6. This decision is effective on January 14, 2022.

      By the Board, Board Members Begeman, Fuchs, Oberman, Primus, and Schultz. Board
Member Oberman dissented with a separate expression.
_____________________________________________________________________________
BOARD MEMBER OBERMAN, dissenting.

        I respectfully dissent from today’s decision (Today’s Decision) granting the Coalition’s
petition for exemption. The project’s environmental impacts outweigh its transportation merits,
and I would accordingly deny the Coalition authority to construct the Line.

        As an initial matter, as I explained in my dissent to the January 5 Decision, the Board
should not have utilized a so-called two-step process and granted preliminary approval of the
transportation merits before completion of the environmental review. In addition, the Board
should have required the Coalition to submit additional information before concluding that an
application under 49 U.S.C. § 10901 was not necessary. I raised grave concerns then regarding
the Line’s financial viability given the increasingly uncertain global market for crude oil, and the
likelihood that it would be the public—and not private investors—who would bear the cost of
constructing an ultimately unprofitable rail project. These concerns have grown over the last
year, as the world economy has accelerated its transition away from use of the internal
combustion engine and corresponding need for crude oil. Ever increasing doubt about the future
market for oil undermines the project’s transportation merits and counsels against an exemption.

         But now that the environmental review has been completed, I have concluded not only
that the financial viability of the Line is in serious doubt but also that the Line’s environmental
impacts significantly outweigh its transportation merits. In my view, it should be underscored
that the Board has the power to deny construction approval based on weighing all of the
environmental impacts that will arise from oil and gas development in the Basin, and the Board
should consider those impacts as the reasonably foreseeable, indirect effects that they are,
especially since the “entire purpose” of this Line is to stimulate and support oil production in the
Basin. Assessing these impacts solely within a cumulative impact analysis, as Today’s Decision
does, badly understates their significance, and in particular the significance of downstream
greenhouse gas emissions that will result from the combustion of oil moved over the Line. The
critical question presented in this proceeding is whether the Line would serve the public interest
given its centrality to oil development in the Basin and the broader and dire global warming
crisis, as well as the very serious, significant, and unavoidable environmental impacts that
Today’s Decision does in fact attribute to the project.

        Absent some particularized national need for increased oil from the Basin, of which there
is none, I cannot support construction of the Line.

       Transportation Merits

        As noted in my dissent to the January 5 Decision, it is beyond controversy that the
project’s financial success depends entirely upon increased oil production in the Uinta Basin.
January 5 Decision, FD 36284, slip op. at 14 (Board Member Oberman dissenting). But yet,



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questions abound regarding the “future global demand for oil,” as well as the “quantity of oil
reserves in the Basin, the demand for the specific type of oil found there, and whether there are
sufficient proven reserves to provide long term business for the proposed railroad.” Id. at 16, 17.

         Although the price of oil has rebounded since the January 5 Decision, it remains volatile.
Moreover, since that time, government and business leaders have advanced new commitments
and policies to achieve carbon neutrality in the coming years, with diminished use of the internal
combustion engine—and resulting oil consumption—playing a significant role. At the federal
level, the United States has rejoined the Paris Agreement and the Biden Administration has set a
goal of achieving net-zero emissions economy-wide by 2050. See Tackling the Climate Crisis at
Home and Abroad, Exec. Order No. 14008, 86 Fed. Reg. 7619 (Jan. 27, 2021). The President
has even more recently called for 50% of all new passenger cars and light trucks sold in the
United States to be zero-emission by 2030 and, to help achieve this goal, has directed the
Environmental Protection Agency and Department of Transportation to develop new emission
and fuel efficiency standards.1 Strengthening Am. Leadership in Clean Cars & Trucks, Exec.
Order 14037, 86 Fed. Reg. 43583 (Aug. 5, 2021). Critically, Congress recently passed the
Infrastructure Investment and Jobs Act, which, among other things, provides $7.5 billion for
electric vehicle charging stations, $5.75 billion for the replacement of public transit vehicles with
zero emission vehicles, and establishes a carbon reduction program at the Department of
Transportation. See Pub. L. 117-58 (2021).2

       States as well have passed new legislation meant to curb oil consumption and have
continued to award grants for, or have otherwise initiated, green infrastructure projects, including
to support vehicle electrification. See, e.g., Act of Mar. 18, 2021, ch. 263, 2021 Va. Legis. Serv.
(H.B. 1965) (West) (codified at Va. Code Ann. §§ 10.1-1307 & 10.1-1307.04) (establishing low-
emissions and zero-emissions vehicle program for motor vehicles, consistent with California
standards, with a model year of 2025 or later); Washington Climate Commitment Act, ch. 316,
2021 Wash. Sess. Laws 2606 (creating, among other things, greenhouse gas cap-and-invest
program that includes declining limits on major emission sources); Press Release, Cal. Energy
Comm’n, California Announces $17.5 million for Public Electric Vehicle Charging in 13 Rural
Counties (May 17, 2021) (advancing September 2020 executive order requiring sales of all new
passenger vehicles in California to be zero-emission by 2035).3 Such action has not been limited

       1
         See also Executive Order on Catalyzing Clean Energy Industries and Jobs through
Federal Sustainability, Exec. Order 14057, 86 Fed. Reg. 70935 (Dec. 8, 2021) (directing
executive agencies to achieve 100% zero-emission vehicle acquisitions by 2035).
       2
          On November 19, 2021, the House of Representatives passed the Build Back Better
Act, which among other things, raises the electric vehicle tax credit to $12,500 and provides tens
of billions of dollars for electric vehicle infrastructure and the replacement of heavy-duty
vehicles with zero emissions vehicles. See H.R. 5376, 117th Cong. (2021).
       3
          Available at: https://www.energy.ca.gov/newsroom/news-releases. This builds on the
California Public Utilities Commission’s (CPUC) prior approval of a $437 million electric
vehicle charging program to be implemented by Southern California Edison. See Press Release,
CPUC, CPUC Expands SCE Charge Ready 2 Transportation Electrification Program (Aug. 27,
2020), https://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M345/K822/345822512.PDF.


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to the United States. For example, the European Commission in July proposed expanding the
EU’s emissions trading scheme, strengthening vehicle emissions standards, including by
requiring that all new cars be zero emission by 2035, and introducing a carbon price on imports.
Press Release, European Commission, European Green Deal: Commission Proposes
Transformation of EU Economy and Society to Meet Climate Ambitions (July 16, 2021).4 And,
on May 26, 2021, a Dutch court stunningly ordered Royal Dutch Shell (Shell) to reduce its
carbon dioxide emissions, arising both from its business operations and sold energy-carrying
products, by net 45% by the end of 2030, relative to 2019 levels. Rb. Hague 26 mei 2021,
ECLI:NL:RBDHA:2021:5337 (Vereniging Milieudefensie/Royal Dutch Shell PLC).5

         In response to these trends, and ominously for the future of oil proposed to be extracted
from the Basin and the Line’s fiscal foundation, car manufacturers are increasingly committing
to the sale of electric vehicles in the coming years. Immediately following President Biden’s
executive order on clean cars and trucks, Ford, General Motors and Stellantis jointly announced
their intention to achieve sales of 40-50% of annual U.S. volumes of electric vehicles by 2030.
Press Release, General Motors, Ford, GM and Stellantis Joint Statement of Electric Vehicle
Annual Sales (Aug. 5, 2021).6 Volkswagen has set a similar global sales target for 2030, while
by that date Ford has separately committed to sell only electric passenger vehicles in Europe.
Press Release, Volkswagen Group, NEW AUTO: Volkswagen Group Set to Unleash Value in
Battery-Electric Autonomous Mobility World (July 13, 2021);7 Press Release, Ford Motor Co.,
Ford Europe Goes All-In on EVs on Road to Sustainable Profitability (Feb. 17, 2021).8

       Other automakers have announced time horizons for transitioning to fully electrified
vehicle fleets, including as early as 2025. See, e.g., Press Release, Volvo Car USA, Volvo Cars
to be Fully Electric by 2030 (Mar. 2, 2021);9 Press Release, Tata Motors, Jaguar Land Rover
Reimagines the Future of Modern Luxury by Design (Feb. 15, 2021) (announcing that Jaguar
vehicles will be “all-electric” by 2025);10 see also Press Release, Nissan Motor Corp., Nissan
Unveils Ambition 2030 Vision to Empower Mobility and Beyond (Nov. 28, 2021) (announcing


       4
            Available at: https://ec.europa.eu/commission/presscorner/detail/en/IP_21_3541.
       5
           Available at:
https://uitspraken.rechtspraak.nl/inziendocument?id=ECLI:NL:RBDHA:2021:5339. Since then,
Shell has sold its assets in the Permian Basin and pulled out of a controversial plan to develop a
new oil field near the Shetland Islands. See Press Release, Shell, Shell Completes Sale of
Permian Business to ConocoPhillips (Dec. 1, 2021), https://www.shell.com/media/news-and-
media-releases.html; Danica Kirka, Shell Pulls Out of Controversial Cambo Project in Scotland,
Associated Press, December 3, 2021, https://apnews.com/article/business-europe-environment-
economy-scotland-ef91aa323b36cb3d8f3d7dcf9b616a36.
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            Available at: https://media.gm.com.
       7
            Available at: https://www.volkswagen-newsroom.com/en/press-releases.
       8
            Available at: https://media.ford.com/content/fordmedia/feu/en/news.html.
       9
            Available at: https://www.media.volvocars.com/us/en-us/media/pressreleases/list.
       10
            Available at: https://www.tatamotors.com/investors/jlr-press-release-archive/.


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investments of $17.6 billion over the next five years to accelerate the electrification of its vehicle
lineup).11 Prevailing company valuations highlight the internal combustion engine’s bleak
future, with electric vehicle manufacturers Tesla and Rivian currently having enterprise values of
approximately $1 trillion and $100 billion, respectively, making them the first and third most
valuable automobile manufactures by market capitalization. See Yahoo Finance,
https://finance.yahoo.com/screener/predefined/auto_manufacturers/ (last visited Dec. 14, 2021).

         Not surprisingly, the American oil majors uniformly identify increased political and
social attention to greenhouse gas emissions as risks that may result in reduced demand for their
oil. See, e.g., ConocoPhilips, Annual Report (Form 10-K) 27 (Feb. 16, 2021) (“[T]he new
administration has recommitted the United States to the Paris Agreement, and a significant
number of U.S. state and local governments and major corporations headquartered in the U.S.
have also announced their intention to satisfy [the Paris Agreement] commitments.”); Pioneer
Natural Resources Co., Annual Report (Form 10-K) 28 (Mar. 1, 2021) (noting that numerous
proposals “have been made and could continue to be made at the international, national, regional
and state levels of government to monitor and limit existing emissions of GHGs as well as to
restrict or eliminate such future emissions”); Chevron Corp., Annual Report (Form 10-K) 22
(Feb. 25, 2021) (“[I]f new legislation, regulation, or other governmental action contributes to a
decline in the demand for the company’s products, this could have a material adverse effect on
the company and its financial condition.”); Occidental Petroleum Corp., Annual Report (10-K)
10 (Feb. 26, 2021) (explaining that government action relating to greenhouse gas emissions
could impose increased operating and maintenance costs, such as “higher rates charged by
service providers” or “promote the use of alternative sources of energy and thereby decrease
demand for oil”).

        This risk is being increasingly reflected in the financial markets. As noted in my dissent
to the January 5 Decision, investment managers—under pressure from their clients to pursue
environmentally sustainable investing—have begun aligning their portfolios with net-zero
emissions. January 5 Decision, FD 36284, slip op. at 16 (Board Member Oberman dissenting).12
This includes putting pressure directly on oil producers to develop more sustainable business
strategies. For example, on May 26, 2021, Exxon Mobil Corporation’s shareholders elected to
its Board—over the opposition of company management—three insurgent directors from a small
hedge fund, Engine No. 1. Exxon Mobil Corp., Current Report (Form 8-K/A) 3 (June 21, 2021).
These nominees were advanced for the express purpose of directing the company towards a
“long-term commitment to only funding projects that can break-even at much more conservative
oil and gas prices,” and to explore growth areas in “net-zero emission energy sources and clean
energy infrastructure.” Exxon Mobil Corp., Definitive Proxy Statement (Schedule 14A) 5

       11
            Available at: https://global.nissannews.com/en/pages/all-news-archive.
       12
           On May 20, 2021, President Biden signed an executive order, Climate-Related
Financial Risk, which sets forth a policy of “advancing consistent, clear, intelligible, comparable,
and accurate disclosure of climate-related financial risk . . . .” Climate-Related Financial Risk,
Exec. Order No. 14030, 86 Fed. Reg. 27967 (May 26, 2021). The executive order acknowledges
the risk to the competitiveness of companies and markets, as well as workers and communities,
should financial institutions fail to adequately account for “the global shift away from carbon-
intensive energy sources and industrial processes.” Id. at 27967.


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(March 15, 2021). In its proxy statement, Engine No. 1 emphasized “growing long-term oil and
gas uncertainty” arising from a “decarbonizing world.”13 Id. at 1.

        It bears emphasizing that the political and business developments described above
constitute only the latest and a small set of examples of the global transition away from fossil
fuels. This broad and rapidly accelerating trend calls into question both the viability of the
Coalition’s over $1 billion rail construction project as well as its ability to raise money from
private funding sources. It confirms the significant concerns I raised previously about the extent
to which the project will both require the backing of, and put at risk, public funds. January 5
Decision, FD 36284, slip op. at 19 (Board Member Oberman dissenting). These concerns have
been exacerbated by the Coalition’s decision not to supply (and indeed, to redact) oil and traffic
projections from its consultant’s pre-feasibility study, creating the ineluctable inference that the
withheld data, if revealed, would undermine the commercial viability of the project. January 5
Decision, FD 36284, slip op. at 14-15 & n.5 (Board Member Oberman dissenting). The
majority’s continuing to turn a blind eye to this glaring omission is even more perplexing in light
of the dramatic changes in the world oil market detailed above.

         But make no mistake: the writing is on the wall. The Board has previously made clear
that “significant questions surrounding the financial feasibility of [a] proposed rail project” may
diminish its transportation merits and warrant against the granting of an exemption under
§ 10502. Tex. Cent. R.R. & Infrastructure, Inc.—Petition for Exemption—Passenger Rail Line
Between Dallas & Houston, Tex. (Texas Central), FD 36025, slip op. at 14-15 (STB served July
16, 2020) (citing the RTP factors at 49 U.S.C. §§ 10101(4) and 10101(5) as a basis for denying a
petition for exemption given “questions about increased costs and funding sources,” the
magnitude of the project, and the substantial public interest). Although the Board in Texas
Central permitted the petitioner there to proceed via application, so as to provide additional
information about the project’s financial feasibility, an application in this case would not have
changed the fact that the Line’s transportation merits are greatly impaired by a future that has
little use for the product it will be built to deliver. Moreover, and as explained in the following
section, regardless of whether the Coalition had proceeded via application or petition for
exemption, the Line’s environmental impacts outweigh its transportation merits.

       Environmental Impacts

       Consideration of the Line’s environmental effects must treat as indirect effects those
impacts associated with oil development in the Basin that will be supported by the Line,

       13
           The hedge fund Third Point Investors also recently announced that it had taken a stake
in Shell in part to advance a growth strategy focused on “aggressive investment in renewables
and other carbon reduction technologies.” Available at https://thirdpointlimited.com/wp-
content/uploads/2021/10/Third-Point-Q3-2021-Investor-Letter-TPIL.pdf.] Weeks later, Shell
announced plans to simplify its share structure to accelerate “delivery of its strategy to become a
net-zero emissions business.” Press Release, Royal Dutch Shell, Notice of General Meeting –
Shell Seeks Shareholder Approval to Change Articles to Implement a Simplified Structure (Nov.
15, 2021), https://www.shell.com/media/news-and-media-releases/2021/november-press-
release.html.


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including downstream greenhouse gas emissions that will result from the oil’s eventual
combustion. Contrary to the position taken in Today’s Decision, the Board has the power to act
on these impacts, including by denying construction authority, and accordingly has an obligation
to consider them as reasonably foreseeable effects of the project. Only in doing so, may the
Board reach the central question in this case: whether it is in the public interest for the Board to
authorize the building of a railroad for the near exclusive purpose of facilitating oil and gas
development, given all that we know today about the worsening global warming crisis and the
role played by fossil fuel combustion. That question lies at the heart of whether the
transportation merits of the project outweigh its environmental impacts, including the troubling
and unavoidable disturbance to wetlands and wildlife that are in fact acknowledged by the
majority as effects of this project. In my view, the Line is not worth these costs.

         With respect to downstream greenhouse gas emissions, the Final EIS recognized that
construction of the Line “would increase transportation capacity to ship an additional 130,000 to
350,000 barrels of oil on average each day from existing oil fields . . . .” (Final EIS 3.15-51; see
also id. 3.15-3 to 3.15-4.) Further, it assumed that the oil from this new production would
ultimately be refined into fuel and combusted, and it estimated that the resulting emission of
carbon dioxide equivalents would total 19,785,953 metric tons annually under a low oil
production scenario and 53,269,873 metric tons annually under a high oil production scenario,
the latter of which would represent approximately 0.8% of nationwide greenhouse gas emissions
and 0.1% of global greenhouse gas emissions. (Id. at 3.15-36.) The Final EIS also identified
other, more localized impacts of oil and gas development on water resources, biological
resources, soils, noise, land use, cultural resources, and socioeconomics, including from the
drilling of new wells. (See generally id. § 3.15.) These impacts are acknowledged in Today’s
Decision. Today’s Decision 17.

        However, they are considered only for the purpose of assessing the project’s cumulative
impacts. Accordingly, and importantly, the Final EIS does not consider as an indirect impact the
harm caused to the environment by downstream combustion of increased oil production enabled
by the Line’s construction. The Final EIS focuses instead only on the incremental de minimis
effect of emissions from construction and operation of the Line when added to emissions from
downstream combustion. (Final EIS 3.15-32); see also Twp. of Bordentown, NJ v. FERC, 903
F.3d 234, 258 (3d Cir. 2018) (explaining that a cumulative impact analysis looks at the marginal
impact of the jurisdictional project when added to the non-jurisdictional projects’ impacts). The
majority approved this approach and in so doing obscured the centrality of the Line’s
construction to oil and gas development in the Basin, which will foreseeably cause far larger
emissions from combustion of oil that will be moved over the Line.14 See Twp. of Bordentown,

       14
          In contrast to the estimated emissions from the production scenarios discussed above,
the Final EIS estimated that “[greenhouse gas] emissions from rail operations . . . would
represent a small percentage (ranging from 0.9 percent to 3.5 percent) of regional and statewide
GHG emissions . . . and would not contribute significantly to global climate change.” (Final EIS
3.7-39.) Not surprisingly, the majority did not find cumulative adverse effects on greenhouse
gas emissions or air quality, but rather identified only cumulative adverse effects on water
resources, biological resources, paleontological resources, land use and recreation, visual
resources, and socioeconomics. Today’s Decision 16.


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903 F.3d at 258 (“Where the other projects’ impacts are themselves already significant or greatly
outweigh the jurisdictional projects’ impacts, such that the jurisdictional project will not
meaningfully influence the extent of the already significant environmental impacts, the
cumulative impacts test is inapposite.”).

        Considering the environmental impacts of oil development in the Basin only in the
context of a cumulative impact analysis, and not as reasonably foreseeable impacts attributable to
the Line itself, materially affects how those effects are factored by the Board when weighing the
Line’s transportation merits against its environmental impacts. See Landmark West! v. U.S.
Postal Serv., 840 F. Supp. 994, 1011 (S.D.N.Y. 1993) (explaining that a cumulative impact
analysis “entails the consideration of the foreseeable actions of others as background factors, but
does not require that the impacts of others’ actions be weighed in assessing the significance” of
the agency’s actions, only the “marginal impacts of its own actions”), aff’d, 41 F.3d 1500 (2d
Cir. 1994).15 Today’s Decision justifies this approach by relying on Department of
Transportation v. Public Citizen, 541 U.S. 752 (2004), contending that the Board cannot be the
“legally relevant” cause of impacts from oil and gas development, and therefore those impacts
cannot be considered indirect impacts of the construction project. Today’s Decision 18. Today’s
Decision emphasizes that the Board has no authority or jurisdiction over development of oil and
gas in the Basin nor any authority to control or mitigate the impacts of any such development.
Id. Importantly, and although not said in so many words, its reliance on Public Citizen
necessarily implies that the Board cannot be the cause of such impacts because it lacks the
power to act on them when deciding whether to approve or deny the Coalition’s petition.

         I disagree. In Public Citizen, the Supreme Court indeed held that where an “agency has
no ability to prevent a certain effect due to its limited statutory authority over the relevant
actions, the agency cannot be considered a legally relevant ‘cause’ of the effect,” and hence need
not consider such effects under NEPA. 541 U.S. at 770. That case, however, is readily
distinguishable. At issue in Public Citizen was the planned lifting of a moratorium by the
President (with authority from Congress) on cross-border truck traffic from Mexico and related
regulations under review by the Federal Motor Carrier Safety Administration (FMCS). Although
the regulations had to be issued before Mexican traffic could enter the United States, by statute
the rules were limited to safety and financial responsibility issues. Id. at 758-59. The Supreme
Court concluded that the FMCSA had no obligation to evaluate emissions from the truck traffic
when assessing the environmental impact of its regulations because FMCSA “simply lack[ed]
the power to act on” any such emissions data. Id. at 768. Key to this holding was the Supreme
Court’s finding that FMCSA had “no ability to countermand the President’s lifting of the
moratorium” or otherwise “categorically” prevent such traffic from entering the United States.
Id. at 766 (emphasis added). As the Supreme Court explained, the “legally relevant cause of
entry of the Mexican trucks is not FMCSA’s action, but instead the actions of the President in
lifting the moratorium and those of Congress in granting the President this authority while
simultaneously limiting FMCSA’s discretion.” Id. at 769.


       15
           Even though the labeling of the effects of oil and gas development in the Basin as
indirect or cumulative impacts may not have affected their analysis within the Final EIS
(Today’s Decision 18 n.15), it does affect how they are weighed by the Board.


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         The scope of Public Citizen becomes even more apparent when considering how the case
has been applied in other circumstances involving downstream greenhouse gas emissions. For
example, in Sierra Club v. FERC (Freeport), the D.C. Circuit held that the Federal Energy
Regulatory Commission (FERC) had no obligation to consider such emissions when approving
facility upgrades at a liquified natural gas terminal that would be used to support export
operations. 827 F.3d 36, 47-48 (D.C. Cir. 2016). This was because the Department of Energy
(DOE) has exclusive jurisdiction over the export of natural gas as a commodity and had already
authorized the terminal in Freeport to export gas. Id. at 40. DOE merely delegated to FERC
licensing authority over the siting, construction, expansion, and operation of specific facilities.
Id. at 40-41. Citing Public Citizen, the D.C. Circuit concluded that FERC could not be the
“legally relevant” cause of emissions from gas exported from the terminal because DOE’s
“intervening” and “independent decision to allow exports—a decision over which [FERC] has no
regulatory authority—[broke] the NEPA causal chain and absolve[d]” FERC of responsibility to
consider impacts it “could not act on.” Id. at 47-48.

        Public Citizen, which the majority relied upon, and Freeport, which shows its application,
lay bare the flaw in the majority’s reasoning. Had Congress itself authorized construction of a
railroad out of the Basin, or vested that authority in another federal agency, but left to the Board
the narrower responsibility of deciding where that line should be placed and the details of its
construction, then perhaps Public Citizen would be instructive. But here, the Board has
independent and plenary authority, and exclusive jurisdiction, over whether a line of railroad
should be built in the first instance. 49 U.C.S. §§ 10501, 10901. See Alaska Survival v. STB,
705 F.3d 1073, 1086 (9th Cir. 2013) (emphasizing that the decision as to “which communities
are entitled to important railroad development projects” is “committed in the first instance to the
agency authorized by Congress to approve rail line construction projects, the STB”). That the
Board has no authority or jurisdiction over development of oil and gas in the Basin, (Today’s
Decision 18),16 and generally cannot restrict the types of products and commodities that are
transported on already constructed rail lines, (Final EIS 3.15-36),17 are not the types of
overarching limitations like that at issue in Public Citizen which would diminish, let alone
inform, the Board’s authority over rail construction.

        The D.C. Circuit’s decision in Sierra Club v. FERC (Sabal Trail) is on point. That case
involved FERC’s decision to approve the construction and operation of certain interstate natural
gas pipelines in the southeastern United States. Sabal Trail, 867 F.3d 1357, 1363 (D.C. Cir.
2017). As here, at issue was whether Public Citizen excused FERC’s decision not to attribute to
the pipeline, and consider, greenhouse gas emissions arising from the end-use combustion of gas
to be moved over the pipeline. Id. at 1365, 1371-72. In its decision, the D.C. Circuit made clear

       16
          See Birkhead v. FERC, 925 F.3d 510, 519 (D.C. Cir. 2019) (rejecting argument that
agency cannot be legally relevant cause of emissions from gas transported via agency-approved
pipeline “due to its lack of jurisdiction over any entity other than the pipeline applicant”).
       17
           The Final EIS cites to Riffin v. STB, 733 F.3d 340, 345-47 (D.C. Cir. 2013), for the
established proposition “that railroads have a common carrier obligation to carry all
commodities, including hazardous materials, upon reasonable request . . . .” (Final EIS 3.15-6
(emphasis added).) While that may be true, it has nothing to do with the Board’s authority to
license rail construction and its obligation to consider environmental impacts when doing so.


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that the relevant question is not “‘What activities does [an agency] regulate?’ but instead . . .
‘What factors can [the agency] consider when regulating in its proper sphere?’” Id. at 1373. In
other words, is an agency “forbidden to rely” on the effects of the impact as “justification” for
denying a license? Id. The Court found that FERC was “not so limited.” Id. Critical to its
analysis was that Congress gave FERC broad power over the construction and operation of
interstate pipelines, expansively directing it to consider the “public convenience and necessity”
when reviewing an application. Id. (citing 15 U.S.C. § 717f(e).) The Court emphasized that
FERC balances the “public benefits against the adverse effects of the project,” including
“adverse environmental effects,” and can deny construction authority “on the ground that [it]
would be too harmful to the environment.” Sabal Trail, 867 F.3d at 1373. For all of these
reasons, the Court concluded that FERC “is a ‘legally relevant cause’ of the direct and indirect
environmental effects of the pipelines it approves.” Id. (emphasis added).18

         As in Sabal Trail, here too the Board has a broad statutory obligation not to authorize rail
construction when doing so would be “inconsistent with the public convenience and necessity.”
49 U.S.C. § 10901(c). And although in this case the Coalition has proceeded via a petition for
exemption from the prior approval requirements of § 10901, use of the exemption process does
not affect the level of environmental review a project receives. Cal. High-Speed Rail Auth.—
Constr. Exemption—in Merced, Madera, and Fresno Cntys., Cal., FD 35724, slip op. at 21-22
(STB served June 13, 2013). The Board has also made clear that environmental impacts can lead
it to categorically decline to authorize rail construction, including when considering a petition for
exemption. Alaska R.R.—Constr. & Operation Exemption—Rail Line Between N. Pole & Delta
Junction, Alaska, FD 34658, slip op. at 10 (STB served Jan. 6, 2010). In either circumstance,
and as in Today’s Decision, the Board weighs the project’s transportation merits against its
environmental impacts when determining whether to grant construction authority. (Today’s
Decision 23-25.) This is in keeping with NEPA, which requires the Board to consider the
environmental impacts of a decision permitting rail construction, regardless of whether it does so
by granting an application under § 10901 or an exemption under § 10502.19 42 U.S.C.
§ 4332(C).

         I see no reason why the Line’s construction would not otherwise be a sufficient cause of
the oil and gas development impacts and downstream emissions identified in the Final EIS. It

       18
          See also WildEarth Guardians v. Zinke, 368 F. Supp. 3d 41, 73 (D.D.C. 2019) (holding
that because Bureau of Land Management (BLM) could decline to sell an oil and gas lease if the
“environmental impact of those leases—including use of the oil and gas produced—would not be
in the public’s long-term interest,” BLM was required to consider downstream greenhouse gas
emissions “as indirect effects of oil and gas leasing”), appeal dismissed per stipulation, 2021 WL
3176109 (D.C. Cir. Apr. 28, 2021).
       19
           In any event, the Board may not exempt construction from § 10901 where regulation is
necessary to carry out the RTP, including those factors calling for the development of a sound
rail transportation system to meet the public need, operation of transportation facilities without
detriment to public health and safety, and energy conservation. 49 U.S.C. § 10502; 49 U.S.C.
§ 10101(4), (8), (14). In my view, these policy directives broadly warrant the Board’s
consideration of the environmental impacts to be caused by oil development in the Basin,
including downstream greenhouse gas emissions.


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may well be the case that oil development “may occur, and is already taking place, without the
proposed rail line,” (Final EIS T-44), and that the “actual volumes of crude oil that would move
over the Line would depend on various independent variables and influences,” (Today’s
Decision 17). However, the Coalition’s own position has been that trucking oil produced from
the Basin to distant markets is cost prohibitive and that “the lack of rail access has effectively
capped oil production in the Basin.” (Pet. 13-14.) As the Coalition puts it, a rail line would
“enable local producers to increase their output under appropriate market conditions.” (Id. at
15.) It cannot be disputed that “but for” the proposed rail line, significantly less oil will be
extracted from the Basin. See Mid States Coal. for Progress v. STB, 345 F.3d 520, 548-50
(8th Cir. 2003) (requiring that agency consider emissions from combustion of coal transported
over rail line as it was “almost certainly true” that the line would increase the “availability of
inexpensive coal” and “any adverse effects that result from burning coal”).20

         Of course, a “‘but for’ causal relationship is insufficient to make an agency responsible
for a particular effect under NEPA . . . .” Public Citizen, 541 U.S. at 767. Instead, “NEPA
requires analysis of an effect only where there is a reasonably close causal relationship between
the environmental effect and the alleged cause, analogous to the doctrine of proximate cause
from tort law.” (Final EIS T-43 (citing Public Citizen, 541 U.S. at 767).) As the Supreme Court
has made clear, proximate cause “turns on policy considerations” and where best to “draw a
manageable line between those causal changes that may make an actor responsible for an effect
and those that do not.” Public Citizen, 541 U.S. at 767 (citations omitted) (emphasis added).
Notably, in Public Citizen, prevailing policy dictated that the FCMSA could not possibly be the
proximate cause of the motor carrier emissions at issue since, again, FMCSA had “no ability
categorically to prevent the cross-border operation of Mexican motor carriers.” Id. at 768. That
is, in Public Citizen the Court’s analysis of proximate cause turned on its conclusion that the
FMCSA’s lacked authority over the traffic.

        As explained above, Public Citizen does not “excuse” the Board from considering
impacts from oil and gas development. Sabal Trail, 867 F.3d at 1373. And it otherwise seems
well within the range of reasonable policy considerations—and frankly, the only reasonable
policy consideration—for the Board to weigh these impacts when making its final decision, at
least with respect to this particular line. As noted in my prior dissent, there is no question that
increased oil production is the “singular rationale” for the Line: its potential use by other
industries is ancillary to the movement of oil and not valuable enough standing alone to justify
the line’s construction and continued operation. January 2020 Decision, slip op. at 14 (Board
Member Oberman dissenting) (citing Pet. 13-17). That is, increased oil output, its refinement


       20
          The Final EIS suggests that this aspect of Mid States would not stand today, given the
Supreme Court’s subsequent decision in Public Citizen. (Final EIS T-440.) But as explained
above, the Court in Public Citizen grounded its holding on FCMSA’s inability to prevent the
relevant environmental effect “due to its limited statutory authority over the relevant actions.”
541 U.S. at 770. Mid States did not address whether the Board had the authority to deny or
condition its construction approval on the emissions it originally failed to consider. Mid States
appears still to be relevant for the proposition that the Board may be the legally relevant cause of
downstream impacts that would not occur “but for” the agency’s construction approval.


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into petroleum, and that petroleum’s ultimate sale and combustion are not only “reasonably
foreseeable,” they are “the project’s entire purpose.”21 Sabal Trail, 867 F.3d at 1372.

         Moreover, there can be no question about the significance of the threat that global
warming poses to the environment as well as to our continued prosperity. Days after OEA
issued the Final EIS, the United Nations’ Intergovernmental Panel on Climate Change’s
(IPCC’s) Working Group I released its contribution to the IPPC’s Sixth Assessment Report,
which presents the most up-to-date understanding of the current state of the climate.22 The
report presents a dire picture. Among other things, it concludes that: (i) it is “unequivocal” that
human influence has warmed the atmosphere, ocean, and land; (ii) global surface temperature in
the first two decades of the 21st century was .99°C higher than 1850-1900; (iii) human-induced
climate change is “already affecting many weather and climate extremes in every region across
the globe”; (iv) evidence attributing heatwaves, heavy precipitation, droughts, and tropical
cyclones to human influences has strengthened in the last several years; (v) global warming of
1.5°C and 2°C will be exceeded during the 21st century unless deep reductions in greenhouse
gas emissions occur in the coming decades;23 and (vi) with further global warming, every region
around the world will increasingly experience extreme climate events, including heavy
precipitation, flooding, and droughts. IPCC 2021 at SPM-5, SPM-10, SPM-17, and SPM-32.

       These effects are already being felt. July 2021 was the hottest month ever recorded,
according to global data from the National Oceanic and Atmospheric Administration (NOAA),
with parts of the world witnessing record high temperatures, unprecedented heat waves, floods,
and other extreme weather events.24 The World Meteorological Organization (WMO), an agency

       21
            When weighing the project’s transportation merits against its environmental impacts,
Today’s Decision stresses that a “rail transportation option could also support the diversification
of local economies in the Basin, which could support additional employment and expand the
regional economy.” (Today’s Decision 24.) But it gives no weight to the nature of the industry
the Line is meant to support and that industry’s impact on climate change. While local economic
development may be a reason to support the Line’s construction, if the majority is to weigh the
economic benefits of that development, it should weigh all of its harms as well. When that is
done, it is apparent that the project’s environmental impacts outweigh its benefits.
       22
          See Richard Allan, et al., Summary for Policymakers in Climate Change 2021: The
Physical Science Basis. Contribution of Working Group I to the Sixth Assessment Report of the
Intergovernmental Panel on Climate Change (IPCC 2021 Summary for Policymakers) (Valérie
Masson-Delmonte et al., eds., in press),
https://www.ipcc.ch/report/ar6/wg1/downloads/report/IPCC_AR6_WGI_Full_Report.pdf.
       23
           According to the Climate Action Tracker— an independent scientific analysis that
tracks government climate action and measures it against the globally agreed Paris Agreement—
current policies in place around the world are projected to result in 2.7°C warming above pre-
industrial levels. Temperature, Climate Action Tracker,
https://climateactiontracker.org/global/temperatures/# (last updated Nov. 9, 2021).
       24
          See NOAA, It’s Official: July was Earth’s Hottest Month on Record (Aug. 13, 2021),
available at: https://www.noaa.gov/news-features. On July 11, 2021, the National Weather



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of the United Nations, has predicted that the annual mean global temperature is likely to be at
least 1°C above pre-industrial levels in each of the next five years, with a 90% chance that at
least one of those years will be the warmest on record. Press Release, WMO, New Climate
Predictions Increase Likelihood of Temporarily Reaching 1.5°C in Next 5 Years (May 27,
2021).25 The past seven years are on track to be the warmest on record. Press Release, World
Meteorological Organization, State of Climate in 2021: Extreme Events & Major Impacts (Oct.
21, 2021). As detailed above, our national and state governments and many leading components
of the private sector have accelerated their response to the growing environmental disaster.
Decarbonization is national policy.

        The growing threat from global warming is too great, and its connection to the
combustion of fossil fuel too obvious, for the environmental impacts of Line-induced oil and gas
development in the Basin to be treated as anything other than what they are: reasonably
foreseeable effects of the rail construction project itself. For the reasons explained above, the
Board has the power to act on impacts resulting from that development when deciding whether
to approve the petition, and can and should engage with the central question presented in this
matter: whether a railroad built for the purpose of supporting oil and gas development, given the
need for decarbonization and the harmful effects of global warming, is within the public interest.
Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349-50 (1989) (holding that under
NEPA an agency must “carefully consider” information concerning significant environmental
impacts when “reaching its decision”). Such an approach properly situates the significant
environmental impacts that nobody appears to disagree are attributable to the Line’s construction
and operation—among other things, impacts on surface waters and the loss of wetlands,
disruption to habitat of threatened and endangered species, and disturbance of the use of
otherwise pristine land—all of which are unavoidable and cannot be mitigated. (Final EIS S-8 to
S-9.) Is the Line worth all of this given the activity it is intended to support? Without evidence
that there is some particularized need for oil from the Basin, in the face of overwhelming
evidence to the contrary, and given the irrefutable fact that this oil’s use will contribute to the
global warming crisis, I cannot say that it is.

       I dissent.




Service recorded a temperature of 54°C (129.2°F) in Death Valley, which tied the record (set last
year) for the hottest formally recognized daytime temperature ever. July and August also saw
unprecedented heat waves in the Pacific Northwest, national high temperature records set in
Spain, Tunisia, and Turkey, Germany ravaged by floods, and parts of China receiving a year’s
worth of rain in just three days. Press Release, World Meteorological Organization, State of
Climate in 2021: Extreme Events & Major Impacts (Oct. 21, 2021), available at:
https://public.wmo.int/en/media/press-release.
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            Available at: https://public.wmo.int/en/media/press-release.


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                                                          MAP OF ALTERNATIVES




    -       Indian Canyon Attema tive       Stale Route   Bureau of Land Management
    -       Wells Draw Alternative          Counly Road   Bureau of Reclamation
    8       Terminal                        Stream        Private land
    =   Tunnel                              Lake          State Land
    __, Existing Rail line                                Tribal Trust l ard
                                                          U.S. Forest Service



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                                         APPENDIX B

                    ENVIRONMENTAL MITIGATION CONDITIONS

VOLUNTARY MITIGATION MEASURES

Construction and Rail Operations Safety

   VM-1. The Seven County Infrastructure Coalition (Coalition) will follow all applicable
   federal Occupational Safety and Health Administration (OSHA), Federal Railroad
   Administration (FRA), tribal, and state construction and operational safety regulations to
   minimize the potential for accidents and incidents during construction and operation of the
   rail line.

Grade Crossing Safety

   VM-2. The Coalition will consult with appropriate federal, tribal, state, and local
   transportation agencies to determine the final design of the at-grade crossing warning
   devices. Implementation of all grade-crossing warning devices on public roadways will be
   subject to review and approval, depending on location, by the Ute Indian Tribe of the Uintah
   and Ouray Reservation (Ute Indian Tribe), Utah Department of Transportation (UDOT),
   U.S. Forest Service (Forest Service), or Carbon, Duchesne, or Uintah Counties. The
   Coalition will follow standard safety designs for each at-grade crossing for proposed warning
   devices and signs. These designs will follow the Federal Highway Administration Manual
   on Uniform Traffic Control Devices for Streets and Highways as implemented by UDOT and
   the American Railway Engineering and Maintenance-of-Way Association standards for
   railroad warning devices. They will also comply with applicable UDOT, tribal, city, and
   county requirements.

   VM-3. For construction of road crossings, when reasonably practical, the Coalition will
   consult with tribal and local transportation officials regarding detours and associated signs, as
   appropriate, or maintain at least one open lane of traffic at all times to allow the quick
   passage of emergency and other vehicles.

   VM-4. The Coalition will develop a plan to consult with private landowners to determine the
   final details and reasonable signage for grade crossings on private roads.

   VM-5. Where practical, at-grade crossings for minor roads and private roads will be
   combined and consolidated into right-angle, at-grade crossings for safety, and in order to
   reduce the total the number of highway-rail at-grade crossings.

   VM-6. The Coalition will consult with affected communities regarding ways to improve
   visibility at highway-rail at-grade crossings, including by clearing vegetation or installing
   lights at the crossing during construction.




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Hazardous Materials Handling and Spills during Construction

   VM-7. Prior to initiating any project-related construction activities, the Coalition will
   develop a spill prevention, control, and countermeasures plan in consultation with federal,
   tribal, state and local governments. The plan will specify measures to prevent the release of
   petroleum products or other hazardous materials during construction activities and contain
   such discharges if they occur.

   VM-8. In the event of a spill over the applicable reportable quantity, the Coalition will
   comply with its spill prevention, control, and countermeasures plan and applicable federal,
   state, local and tribal regulations pertaining to spill containment, appropriate clean-up, and
   notifications.

   VM-9. The Coalition will require its construction contractor(s) to implement measures to
   protect workers’ health and safety and the environment in the event that undocumented
   hazardous materials are encountered during construction. The Coalition will document all
   activities associated with hazardous material spill sites and hazardous waste sites and will
   notify the appropriate state, local, and tribal agencies according to applicable regulations.
   The goal of the measures is to ensure the proper handling and disposal of contaminated
   materials including contaminated soil, groundwater, and stormwater, if such materials are
   encountered. The Coalition will use disposal methods that comply with applicable solid and
   hazardous waste regulations.

   VM-10. The Coalition will ensure that gasoline, diesel fuel, oil, lubricants, and other
   petroleum products are handled and stored to reduce the risk of spills contaminating soils or
   surface waters. If a petroleum spill occurs in the project area as a result of rail construction,
   operation, or maintenance and exceeds specific quantities or enters a water body, the
   Coalition (or its agents) will be responsible for promptly cleaning up the spill and notifying
   responsible agencies in accordance with federal, state, and tribal regulations.

Hazardous Materials Transport and Emergency Response

   VM-11. The Coalition will prepare a hazardous materials emergency response plan to
   address potential derailments or spills. This plan will address the requirements of the
   Pipeline and Hazardous Materials Safety Administration and FRA requirements for
   comprehensive oil spill response plans. The Coalition will distribute the plan to federal,
   state, local, and tribal emergency response agencies. This plan shall include a roster of
   agencies and people to be contacted for specific types of emergencies during rail
   construction, operation and maintenance activities, procedures to be followed by particular
   rail employees, emergency routes for vehicles, and the location of emergency equipment.

   VM-12. The Coalition will work with the affected communities to facilitate the development
   of cooperative agreements with other emergency service providers to share service areas and
   emergency call response.




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   VM-13. After construction is completed, the Coalition will implement a desktop simulation
   of its emergency response drill procedures with the voluntary participation of local
   emergency response organizations. If necessary, the Coalition will update the hazardous
   materials emergency response plan based on the findings and observations of the simulated
   emergency response.

   VM-14. In the event of a reportable hazardous materials release, the Coalition will notify
   appropriate federal, state, and tribal environmental agencies as required under federal, state,
   and tribal law.

   VM-15. The Coalition will comply with FRA, Pipeline and Hazardous Materials Safety
   Administration, Transportation Security Administration regulations and tribal ordinances or
   plans applicable to the safe and secure transportation of hazardous materials.

Topography, Geology, and Soils

   VM-16. The Coalition will limit ground disturbance to only the areas necessary for project-
   related construction activities.

   VM-17. During project-related earth-moving activities, the Coalition will require the
   contractor to remove topsoil and segregate it from subsurface soils. Where practical, the
   contractor will also stockpile topsoil to be applied later during reclamation activities in
   disturbed areas along the right-of-way.

   VM-18. The Coalition will place the topsoil and other excavated soil stockpiles in areas
   away from environmentally or culturally sensitive areas and will use appropriate erosion
   control measures on and around stockpiles to prevent or contain erosion.

   VM-19. The Coalition will submit a notice of intent to request permit coverage under Utah
   Pollutant Discharge Elimination System Construction General Permit UTRC00000 for
   construction stormwater management.

   VM-20. The Coalition will submit an application for coverage under the National Pollutant
   Discharge Elimination System stormwater construction permits pursuant to Section 402 of
   the Clean Water Act for construction stormwater management on tribal land.

   VM-21. The Coalition will develop a stormwater pollution prevention plan, which will
   include construction Best Management Practices (BMPs) to control erosion and reduce the
   amount of sediment and pollutants entering surface waters, groundwater, and waters of the
   United States. The Coalition will require its construction contractor(s) to follow all water
   quality control conditions identified in all permits, including the Section 404 permit from the
   U.S. Army Corps of Engineers (Corps) and the Section 401 Water Quality Certification from
   the Utah Department of Environmental Quality (UDEQ) and the U.S. Environmental
   Protection Agency (USEPA).




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   VM-22. The Coalition will revegetate disturbed areas, where practical and in consultation
   with the Ute Indian Tribe as applicable, when construction is completed. The goal of
   reclamation will be the rapid and permanent re-establishment of native groundcover on
   disturbed areas to prevent soil erosion, where feasible. If weather or seasonal conditions
   prevent vegetation from being quickly re-established, the Coalition will use measures such as
   mulching, erosion-control blankets, or dust-control palliatives to prevent erosion until
   vegetative cover is established. The Coalition will monitor reclaimed areas for 3 years. For
   areas where efforts to establish vegetative cover have been unsuccessful after 1 year, the
   Coalition will reseed annually for up to 3 years as needed.

Air Quality

   VM-23. Where practical and in consultation with the Ute Indian Tribe as applicable, the
   Coalition will implement appropriate fugitive-dust controls such as spraying water or other
   dust treatments in order to reduce fugitive-dust emissions created during project-related
   construction activities. The Coalition will require its construction contractor(s) to regularly
   operate water trucks on haul roads to reduce dust generation.

   VM-24. The Coalition will work with its contractor(s) to make sure that construction
   equipment is properly maintained and that mufflers and other required pollution-control
   devices are in working condition in order to limit construction-related air pollutant emissions.

Water Resources

   VM-25. The Coalition will obtain a permit from the Corps under Section 404 of the Clean
   Water Act before initiating project-related construction activities in wetlands and other
   jurisdictional waters of the United States. The Coalition will comply with all conditions of
   the Section 404 permit.

   VM-26. The Coalition will obtain a Section 401 Water Quality Certification from the State
   of Utah and USEPA. The Coalition will incorporate the conditions of the Section 401 Water
   Quality Certification into its construction contract specifications and will monitor the project
   for compliance.

   VM-27. The Coalition will minimize impacts on wetlands to the extent practicable in the
   final design of the selected alternative. After all practicable steps have been taken to
   minimize impacts on wetlands, the Coalition agrees to prepare a compensatory mitigation
   plan for any remaining wetland impacts in consultation with the Ute Indian Tribe where
   applicable. Compensatory mitigation may include any one or a combination of the following
   five methods: restoring a previously existing wetland or other aquatic site, enhancing an
   existing aquatic site’s functions, establishing (that is, creating) a new aquatic site, preserving
   an existing aquatic site, and/or purchasing credits from an authorized wetland mitigation
   bank.

   VM-28. Bridges at perennial streams will be designed to maintain a natural substrate.




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   VM-29. The Coalition will obtain stream alteration permits from the Utah Division of Water
   Rights for crossing waters of the state, and any applicable tribal permits, and will comply
   with all conditions of the permits.

   VM-30. The Coalition will construct stream crossings during low-flow periods, when
   practical.

   VM-31. When practical and in consultation with the Ute Indian Tribe where applicable, the
   Coalition will relocate natural streams using bioengineering methods, where relocation is
   needed and is unavoidable.

   VM-32. For streams and rivers with a floodplain regulated by the Federal Emergency
   Management Agency or the Ute Indian Tribe, the Coalition will design the stream crossing
   with the goal of not impeding floodwaters and not raising water surface elevations to levels
   that would change the regulated floodplain boundary. If flood elevations change, the
   Coalition will coordinate with Federal Emergency Management Agency and/or tribal or local
   floodplain managers to obtain a Letter of Map Revision where construction of bridges,
   culverts, or embankments results in an unavoidable increase greater than 1 foot to the 100-
   year water surface elevations.

Biological Resources

   VM-33. The Coalition will comply with any conditions and mitigation commitments
   contained in a biological opinion for sensitive species that could potentially be impacted by
   the project.

   VM-34. The Coalition will require its contractor(s) to comply with the requirements of the
   Migratory Bird Treaty Act in consultation with the Ute Indian Tribe as applicable. The
   following measures will be conducted by the Coalition and/or its contractor(s).
   a. Where practical, any ground-disturbing, ground-clearing activities or vegetation
       treatments will be performed before migratory birds begin nesting or after all young have
       fledged.
   b. If activities must be scheduled to start during the migratory bird breeding season, the
       Coalition will take steps to prevent migratory birds from establishing nests in the
       potential impact area. Birds can be hazed to prevent them from nesting until egg(s) are
       present in the nest. The Coalition or its agents will not haze or exclude nest access for
       migratory birds and other sensitive avian species.
   c. If activities must be scheduled during the migratory bird breeding season, a qualified
       biologist will perform a site-specific survey for nesting birds starting no more than 7 days
       prior to ground-disturbing activities or vegetation treatments. Birds with eggs or young
       will not be hazed, and nests with eggs or young will not be moved until the young are no
       longer dependent on the nest. A qualified biologist will confirm that all young have
       fledged.
   d. If nesting birds are found during the survey, the Coalition will establish appropriate
       seasonal or spatial buffers around nests. Vegetation treatments or ground-disturbing


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      activities within the buffer areas will be postponed, where feasible, until the birds have
      left the nest. A qualified biologist will confirm that all young have fledged.

   VM-35. The Coalition will execute a Mitigation Agreement with the Utah Division of
   Wildlife Resources (UDWR) to address impacts within the Carbon Sage-grouse Management
   Area (CSGMA). The Coalition has discussed several potential mitigation strategies with
   UDWR and other local, state, tribal and federal stakeholders during the EIS process. The
   final CSGMA Mitigation Agreement will define the appropriate mitigation ratio for the
   project type and its impacts and the final mitigation approach.

   VM-36. The Coalition shall comply with the Ute Indian Tribe’s Greater Sage-Grouse
   Conservation Ordinance as applicable.

   VM-37. If the selected alternative impacts U.S. Bureau of Land Management (BLM) lands,
   the Coalition will request that BLM join as a signatory to the CSGMA Mitigation
   Agreement.

   VM-38. The Coalition will prepare a noxious and invasive weed control plan in consultation
   with the Ute Indian Tribe as applicable. Where practical, the Coalition will include the
   policies and strategies in Utah’s Strategic Plan for Managing Noxious and Invasive Weeds
   when designing response strategies for noxious and invasive weeds.

   VM-39. The Coalition will comply with any conditions and mitigation commitments
   contained in a biological opinion for sensitive plant species that could potentially be
   impacted by the project.

   VM-40. The Coalition will work with UDWR, the Ute Indian Tribe, and adjacent
   landowners to define areas of the right-of-way that can be left without fences to maintain big
   game migration corridors.

   VM-41. Where practical and necessary, the Coalition will install wildlife-safe fences to
   confine livestock within grazing allotments.

Cultural Resources

   VM-42. The Coalition will work with the Ute Indian Tribe and others to develop training
   materials to educate construction supervisors about the importance of protecting cultural
   resources and the procedures for handling undocumented discoveries. The Coalition will
   make reasonable efforts to include the Ute Indian Tribe in the presentation of these materials.

   VM-43. The Coalition will comply with the requirements of the Programmatic Agreement
   being developed by the Office of Environmental Analysis (OEA), the Advisory Council on
   Historic Preservation, Utah State Historic Preservation Office, Ute Indian Tribe, and other
   federal and state agencies in consultation with federally recognized tribes and other
   consulting parties.




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Land Use

   VM-44. If temporary construction easements on private property are needed, the Coalition
   will document the preconstruction conditions and, to the extent practical, will restore the land
   to its preconstruction condition after construction is complete.

   VM-45. The Coalition will consult with landowners regarding grazing allotments and will
   install temporary fences during construction to allow continued grazing, where practicable.
   Once construction is complete, the Coalition will replace all permanent fences removed
   during construction.

   VM-46. Where practical, the Coalition will maintain livestock access to water sources or
   will relocate water sources, maintain vehicle and livestock access to grazing allotments, and
   install safety fences and signs for grazing allotment entrances and exits to enable continuance
   of livestock operations within grazing allotments.

   VM-47. The Coalition will secure agreements with utilities to establish responsibility for
   protecting or relocating existing utilities, if impacted by construction.

   VM-48. The Coalition will coordinate with water districts to develop irrigation
   infrastructure protection or relocation plans, if irrigation infrastructure will be impacted by
   construction.

Community Outreach

   VM-49. The Coalition will appoint a community liaison to consult with affected
   communities, businesses, and agencies and seek to develop cooperative solutions to local
   concerns regarding construction activities.

   VM-50. The Coalition will appoint a tribal community liaison to address the needs and
   concerns of Ute Indian Tribe members and communities and seek to develop cooperative
   solutions to concerns regarding construction activities and rail operations.

   VM-51. The Coalition will maintain a project website throughout the duration of
   construction to provide regular updates regarding construction progress and schedule.

   VM-52. The Coalition will install construction warning and detour signs throughout the
   corridor and at recreation sites around the project area as needed.

Noise and Vibration

   VM-53. The Coalition, in consultation with the Ute Indian Tribe, will comply with FRA
   regulations (49 Code of Federal Regulations [C.F.R.] Part 210) establishing decibel limits for
   train operation.




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   VM-54. The Coalition will work with its contractor(s) to make sure that project-related
   construction and maintenance vehicles are maintained in good working order with properly
   functioning mufflers to control noise.

Recreation

   VM-55. If needed for the selected alternative, the Coalition will obtain approval from the
   Forest Service and will follow the conditions of the permit regarding access to, or temporary
   closure of, recreational features during construction.

   VM-56. The Coalition will work with its construction contractor to maintain access to Forest
   Service roads during construction, where feasible.


ADDITIONAL MITIGATION MEASURES

Vehicle Safety and Delay

   VSD-MM-1. The Coalition shall design and construct any new temporary or permanent
   access roads and road realignments to comply with the reasonable requirements of the UDOT
   Roadway Design Manual (UDOT 2020), other applicable road construction guidance (e.g.,
   county road right-of-way encroachment standards), and land management agency or
   landowner requirements (e.g., BLM H-9113-1 Road Design Handbook) regarding the
   establishment of safe roadway conditions.

   VSD-MM-2. During project-related construction activities, the Coalition and its contractors
   shall comply with speed limits and applicable laws and regulations when operating vehicles
   and equipment on public roadways.

   VSD-MM-3. The Coalition shall obtain and abide by the reasonable requirements of
   applicable permits and approvals for any project-related construction activities within UDOT
   rights-of way or state highways where UDOT has jurisdiction and off-system roads that are
   maintained by UDOT.

   VSD-MM-4. For each of the public at-grade crossings on the rail line, the Coalition shall
   provide and maintain permanent signs prominently displaying both a toll-free telephone
   number and a unique grade-crossing identification number in compliance with Federal
   Highway Administration regulations (23 C.F.R. Part 655). The toll-free number would
   enable drivers to report promptly any accidents, malfunctioning warning devices, stalled
   vehicles, or other dangerous conditions.

   VSD-MM-5. The Coalition shall make Operation Lifesaver educational programs available
   to communities, schools, and other organizations located along the rail line. Operation
   Lifesaver is a nationwide, nonprofit organization that provides public education programs to
   help prevent collisions, injuries, and fatalities at highway/rail grade crossings.




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   VSD-MM-6. The Coalition shall consult with private landowners and communities affected
   by new at-grade crossings or that are adjacent to the rail line to identify measures to mitigate
   impacts on emergency access and evacuation routes and incorporate the results of this
   consultation into the Coalition’s emergency response plan. These measures may include
   identifying new ingress and egress routes that could be used to improve safety in the event of
   an emergency.

Rail Operations Safety

   ROS-MM-1. In the event of a reportable hazardous materials release, the Coalition shall
   notify appropriate local (county and city) agencies in addition to appropriate federal, state,
   and tribal environmental agencies as required under federal, state, and tribal law.

   ROS-MM-2. As part of routine rail inspections or at least twice annually, the Coalition shall
   use appropriate technology to inspect both track geometry (horizontal and vertical layout of
   tracks) and local terrain conditions to identify problems with either the track or the
   surrounding terrain. The track inspection shall be designed and conducted so as to identify
   changes in track geometry that could indicate broken rails or welds, misalignments, and other
   technical issues with the track itself. The visual inspection of terrain shall be designed and
   conducted so as to identify evidence of subsidence, rockslides, undermining of the track,
   erosion, changes in runoff patterns, or other issues that could lead to structural weakening of
   the track bed and potentially cause an accident.

Water Resources

   WAT-MM-1. To the extent practicable, the Coalition shall design culverts and bridges to
   maintain existing surface water drainage patterns, including hydrology for wetland areas, and
   not cause or exacerbate flooding. Project‐related supporting structures (e.g., bridge piers)
   shall be designed to minimize scour (sediment removal) and increased flow velocity, to the
   extent practicable. The Coalition shall consider use of multi-stage culvert designs in flood-
   prone areas, as appropriate.

   WAT-MM-2. The Coalition shall design culverts and bridges on land managed by federal,
   state, or tribal agencies to comply with reasonable applicable agency requirements. All
   surface water crossings on land under the jurisdiction of the Ute Indian Tribe shall be
   designed in consultation with the tribe’s Business Committee, Tribal Water Quality
   Department, the Tribal Fish and Wildlife Department, and the Tribal Water Resources
   Department to ensure that those crossings would not adversely affect the quality of surface
   waters on the tribe’s Uintah and Ouray Reservation.

   WAT-MM-3. The Coalition shall design all stream realignments in consultation with the
   Corps and Utah Division of Water Rights as part of the Section 404 permit mitigation plan
   development and Utah Stream Alteration Program, respectively, to ensure that effects on
   stream functions are taken into account and minimized. The Coalition shall also consult with
   the Ute Indian Tribe through the tribe’s Business Committee, Tribal Water Quality
   Department, the Tribal Fish and Wildlife Department, and the Tribal Water Resources



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   Department regarding the design of stream realignments to ensure that those realignments
   would not adversely affect the quality of surface waters on the tribe’s Uintah and Ouray
   Reservation. To the extent practicable, the Coalition shall design realigned streams to
   maintain existing planform, geomorphology, bed material and flows.

   WAT-MM-4. The Coalition shall design, construct, and operate the rail line and associated
   facilities to maintain existing water patterns and flow conditions and provide long‐term
   hydrologic stability by conforming to natural stream gradients and stream channel alignment
   and avoiding altered subsurface flow (i.e., shallow aquifer subsurface flow) to the extent
   practicable.

   WAT-MM-5. During project‐related construction, the Coalition shall minimize, to the
   extent practicable, soil compaction and related effects (e.g., increase runoff and erosion),
   provide surface treatments to minimize soil compaction (e.g., break up compacted soils
   during reclamation to promote infiltration), and take actions to promote vegetation regrowth
   after the facilities (e.g., temporary staging areas) are no longer needed to support
   construction.

   WAT-MM-6. During project-related construction, the Coalition shall implement erosion
   prevention, sediment control, and runoff control and conveyance BMPs to limit the
   movement of soils and sediment-laden runoff. On lands managed by federal, state, or tribal
   agencies, the Coalition shall design and implement these BMPs in consultation with the
   applicable agency. BMPs may include, but are not limited to, seeding disturbed ground and
   stockpiled soil, seed mixes, silt fences, sediment traps, ditch checks, and erosion monitoring.
   The Coalition shall coordinate with the appropriate land management agency, private
   landowner, or the Ute Indian Tribe to select seed mixes for use in restoration and reclamation
   activities. This may require consultation with range and ecology specialists to determine
   seed mixes and timing of seeding appropriate to the ecological site. Within Ashley National
   Forest, disturbed ground area, including stockpiled soil for later reclamation, shall be seeded
   to prevent erosion and the influx of weeds and invasive species. The Forest Rangeland
   Management or Ecology specialists shall be consulted for the appropriate seed mix and
   timing of seeding on Forest Service lands.

   WAT-MM-7. During project‐related construction, the Coalition shall use temporary
   barricades, fencing, and/or flagging around sensitive habitats (e.g., wetlands, flowing
   streams) to contain project‐related impacts within the construction area. The Coalition shall
   locate staging areas in previously disturbed sites to the extent practicable, avoiding sensitive
   habitat areas whenever possible.

   WAT-MM-8. The Coalition shall remove all project-related construction debris (including
   construction materials and soils) from surface waters and wetlands as soon as practicable
   following construction.

   WAT-MM-9. The Coalition shall implement stormwater BMPs to convey, filter, and
   dissipate runoff from the rail line during rail operations. These could include, but would not
   be limited to, vegetated swales, vegetated filter strips, streambank stabilization, and



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   channelized flow dissipation, as appropriate. On lands managed by federal, state, or tribal
   agencies, the Coalition shall design and implement stormwater BMPs in consultation with
   the applicable agency.

   WAT-MM-10. During rail operations, the Coalition shall ensure that all project‐related
   culverts and bridges are clear of debris to avoid flow blockages, flow alteration, and
   increased flooding. The Coalition shall inspect all project‐related bridges and culverts semi‐
   annually (or more frequently, as seasonal flows dictate) for debris accumulation and shall
   remove and properly dispose of debris promptly.

   WAT-MM-11. To address the closing of active groundwater wells and permanent impacts
   on springs, the Coalition shall consult with the owner, the Utah Division of Water Rights,
   and the Ute Indian Tribe, as appropriate, to attempt to replace each active well closed with a
   new well and to mitigate the water rights associated with springs, as practicable.

   WAT-MM-12. The Coalition shall consider potential future changes in precipitation
   patterns caused by climate change when designing surface water crossings (bridges and
   culverts) and other rail line features.

Biological Resources

   BIO-MM-1. The Coalition shall implement appropriate measures to reduce collision risks
   for birds resulting from project-related power communications towers. The Coalition shall
   incorporate the design recommendations in the U.S. Fish and Wildlife Service (USFWS)
   Recommended Best Practices for Communication Tower Design, Siting, Construction,
   Operation, Maintenance, and Decommissioning (USFWS 2018) to avoid or minimize the
   risk of bird mortality at communications towers.

   BIO-MM-2. During project-related construction, the Coalition shall comply with any
   federal, state, tribal, or local in-water work windows and timing restrictions for the protection
   of fish species, and other reasonable requirements of in-water work permits issued by UDWR
   and the Corps.

   BIO-MM-3. During project-related construction, the Coalition shall use a bubble curtain or
   other noise-attenuation method (e.g., wood or nylon pile caps) when installing or proofing
   pilings below the ordinary high water line of a fish-bearing stream to minimize underwater
   sound impacts on fish.

   BIO-MM-4. During project-related construction, the Coalition shall use a block-net to
   remove and exclude fish from in-water work areas. The Coalition shall deploy the block-net
   toward the water from land, with the two ends of the net maintained on shore and the middle
   portion of the net deployed in the water. Any fish handling, exclusion, and removal
   operation shall be consistent with any reasonable requirements of in-water permits from
   UDWR and the Corps.




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   BIO-MM-5. The Coalition shall minimize, to the extent practicable, the area and duration of
   project-related construction activities within riparian areas and along streambanks. Where
   construction activities within riparian areas or along streambanks are unavoidable, the
   Coalition shall implement appropriate erosion control materials to stabilize soil and reduce
   erosion. Following the completion of project-related construction on a segment of rail line,
   the Coalition shall promptly restore and revegetate riparian areas using native vegetation.

   BIO-MM-6. The Coalition shall design culverts and bridges to allow aquatic organisms to
   pass relatively unhindered, to the extent practicable.

   BIO-MM-7. The Coalition shall develop and implement a wildfire management plan in
   consultation with appropriate state, tribal, and local agencies, including local fire
   departments. The plan shall incorporate specific information about operations, equipment,
   and personnel on the rail line that might be of use in case a fire occurs and shall evaluate and
   include as appropriate site-specific techniques for fire prevention and suppression. The plan
   shall also include a commitment for the Coalition and consulting parties to revisit the plan on
   a regular basis (e.g., every 5 years; but to be determined during plan development) to
   determine if environmental conditions have changed (e.g., drier conditions) to the point
   where aspects of the plan would need to be revised to address those changing conditions.

   BIO-MM-8. The Coalition shall protect bald and golden eagles by adhering to the Bald and
   Golden Eagle Protection Act. In addition, the Coalition shall follow the USFWS National
   Bald Eagle Management Guidelines (USFWS 2007), as applicable.

   BIO-MM-9. The Coalition shall comply with the terms and conditions of the USFWS
   Biological Opinion for the protection of federally listed threatened and endangered plants and
   animals that could be affected by the rail line, and to ensure compliance with Endangered
   Species Act Section 7.

   BIO-MM-10. The Coalition shall implement the requirements of the Ute Indian Tribe for
   minimizing impacts on wildlife, fish, and vegetation on Tribal trust lands.

   BIO-MM-11. Prior to project-related construction, the Coalition shall acquire and abide by
   the reasonable requirements of all appropriate federal and state permits to possess, relocate,
   or disassemble a bald or golden eagle nest, and/or work within 0.5 mile of a bald or golden
   eagle nest, regardless of whether the nest is active or inactive. The Coalition shall also
   follow the guidelines for avoiding and minimizing impacts set out in the Utah Field Office
   Guidelines for Raptor Protection from Human and Land Use Disturbances for the protection
   of bald and golden eagles, as applicable.

   BIO-MM-12. Rail employees engaged in routine rail line inspections that observe carcasses
   along the rail line shall remove carcasses away from the rail line to minimize potential eagle
   strikes. Carcass data shall be recorded, including species, location, and number, and
   submitted to UDWR. The Coalition will consult with UDWR to determine the best way to
   submit this data and the frequency at which it will be transmitted.




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   BIO-MM-13. The Coalition shall abide by the BLM Utah Greater Sage-Grouse Approved
   Resource Management Plan Amendment for approved Action Alternatives that affect BLM
   land, and will follow the reasonable requirements of the Utah Conservation Plan for Greater
   Sage-Grouse.

   BIO-MM-14. During project-related construction, the Coalition shall employ ecologically
   sound methods to remove all cleared vegetation and green debris from construction areas,
   including trees from woodland and timber clearing. On lands managed by federal, state, or
   tribal agencies, the Coalition shall consult with the appropriate agencies regarding methods
   for removal or cleared vegetation and green debris and shall implement those agencies’
   requirements.

   BIO-MM-15. Prior to any project-related construction, the Coalition shall consult with the
   appropriate County Weed Boards/Departments and the Ute Indian Tribe to develop and
   implement a plan to address the spread and control of nonnative invasive plants during
   project-related construction. For any construction activities on lands managed by federal,
   state, or tribal agencies, the Coalition shall seek input on the plan from the appropriate land
   management agency. The plan shall incorporate the reasonable requirements and
   recommendations of those agencies and shall identify and address 1) planned seed mixes,
   2) weed prevention and eradication procedures, 3) equipment cleaning protocols, 4)
   revegetation methods, 5) protocols for monitoring revegetation, and 6) ongoing inspection of
   the rail right-of-way for noxious weeds and invasive species during rail operations.

   BIO-MM-16. If the Surface Transportation Board (Board) authorizes the Indian Canyon
   Alternative or Whitmore Park Alternative, the Coalition shall comply with the reasonable
   mitigation conditions imposed by the Forest Service in any special use permit allowing the
   Coalition to cross National Forest System Lands, including complying with the USDA Forest
   Service Guide to Noxious Weed Prevention Practices and the Ashley National Forest
   Noxious Weeds Management Supplement.

   BIO-MM-17. Prior to any project-related construction, the Coalition shall consult with the
   Ute Indian Tribe, USFWS, and UDWR to develop and implement a reclamation and
   revegetation plan for areas that would be temporarily disturbed by construction activities.
   For any construction activities on lands managed by federal, state, or tribal agencies, the
   Coalition shall seek input on the plan from the appropriate agency. The reclamation and
   revegetation plan shall incorporate the reasonable requirements and recommendations of
   those agencies and shall clearly identify and address 1) the areas to be reclaimed and
   revegetated; 2) the proposed reclamation and revegetation materials, methods, and timing;
   and 3) the proposed monitoring schedule and contingency plans.

   BIO-MM-18. The Coalition shall not use bird hazing (or scaring) techniques around
   documented leks in the Carbon SGMA during construction.

   BIO-MM-19. The Coalition shall consult with the Ute Indian Tribe, UDWR, OEA, and
   appropriate land management agencies to develop and implement a big game movement
   corridor crossing plan. The plan shall address the need for dedicated big game crossings of



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   the rail line, the need to limit fencing (if applicable), and the need for additional data
   collection. The plan shall specifically evaluate the use of big game overpasses or
   underpasses (including standards for design), wildlife friendly fencing, reduced train speeds
   in high-risk areas, and sound signaling and sound barriers in collision hotspots. The plan
   shall use the latest available big game movement corridor data from UDWR and the Ute
   Indian Tribe.

   BIO-MM-20. The Coalition shall comply with the provisions of the Final Mitigation
   Approach and Agreement for Potential Impacts to Greater Sage-grouse executed by the
   Coalition and UDWR.

Geology, Soils, Seismic Hazards, and Hazardous Waste Sites

   GEO-MM-1. The Coalition shall design and construct the rail line to balance cut and fill
   earthwork quantities, to the extent practicable, in order to minimize the quantities of
   materials required to be excavated, transported, or placed off site.

   GEO-MM-2. The Coalition shall conduct geotechnical investigations to identify soils and
   bedrock in cut areas with potential for mass movement or slumping. The geologic hazard
   investigations shall be conducted in accordance with Utah Geological Survey Circular 122.
   Where appropriate, the Coalition shall implement engineering controls to avoid mass
   movement or slumping. If mass movement or slumping of soils or bedrock occurs during
   project-related construction, the Coalition shall promptly institute appropriate remedial
   actions. The Coalition shall periodically monitor the railbed during operations to identify
   changes related to use, cumulative effects of weight and vibration, and changes in underlying
   soils to prevent deterioration from settling, deformation, collapse, and erosion.

   GEO-MM-3. The Coalition shall conduct geotechnical investigations to identify areas
   within the rail right-of-way where soils with high corrosivity to concrete or steel could affect
   the rail line. The Coalition shall implement appropriate site-specific measures to address the
   soil corrosivity in areas identified during the geotechnical investigations, potentially
   including replacing soils with high corrosivity with non-corrosive engineered soils, as
   applicable. If soil materials are removed and replaced due to corrosivity to steel or concrete,
   the Coalition shall consult with the appropriate land management agencies to determine the
   sites for disposal and the appropriate replacement soil materials. All replacement soil
   materials shall be certified weed-free engineered material, or shall be checked for the
   presence of weeds and sprayed for weeds to prevent bringing in invasive species.

   GEO-MM-4. The Coalition shall conduct geotechnical studies to identify unmapped
   abandoned mines that could affect the rail line and shall take actions to appropriately
   stabilize areas where unmapped mines are identified.

   GEO-MM-5. The Coalition shall conduct geotechnical investigations to identify areas
   within the rail right-of-way that are at risk of seismically induced liquefaction. The geologic
   hazard investigations shall be conducted in general accordance with Utah Geological Survey
   Circular 122. The Coalition shall implement appropriate site-specific measures to minimize



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   the risk of liquefaction in areas identified during the geotechnical investigations, including
   replacing soils subject to liquefaction with engineered soils that are not prone to liquefaction,
   as applicable. If soil materials are removed and replaced due to liquefaction hazards, the
   Coalition shall consult with the appropriate land management agencies to determine the sites
   for disposal and the appropriate replacement soil materials. All replacement soil materials
   shall be certified weed-free engineered material, or shall be checked for the presence of
   weeds and sprayed for weeds to prevent bringing in invasive species.

   GEO-MM-6. The Coalition shall design and construct any tunnels in accordance with
   applicable OSHA guidelines for underground construction (OSHA 2003). Conformance
   shall include ventilation, air monitoring, and emergency procedures.

   GEO-MM-7. In consultation with applicable land management agencies and other agencies
   with expertise in avalanche mitigation, the Coalition shall identify areas with a high risk of
   snow slab avalanche that have the potential to affect the rail line and investigate the use of
   nonstructural and structural methods to control the effects of slab avalanches. Nonstructural
   methods can include triggering and closures. Structural methods can include avalanche dams
   and retarding structures, starting zone structures, and avalanche sheds.

   GEO-MM-8. Prior to construction, the Coalition shall conduct geophysical investigations to
   identify risks associated with the Duchesne-Pleasant Valley fault that could affect the rail
   line.

Noise and Vibration

   NV-MM-1. Before undertaking any project-related construction activities, the Coalition
   shall, with the approval of OEA and in consultation with appropriate tribal and local
   agencies, develop and implement a construction noise and vibration control plan to minimize
   project-related construction noise and vibration affecting residences along the rail line,
   including noise and vibration from general construction equipment, specialized equipment,
   and tunnel construction. For tunnel construction in particular, the plan shall include
   estimates of construction noise and vibration levels and identify measures that shall be taken
   if predicted construction noise or vibration levels exceed Federal Transit Administration
   (FTA) criteria. The Coalition shall also conduct noise and vibration monitoring for receptors
   that would exceed FTA criteria. The Coalition shall designate a noise control officer to
   develop the construction noise and vibration plan, whose qualifications shall include at least
   5 years of experience with major construction noise projects, and board certification from the
   Institute of Noise Control Engineering or registration as a Professional Engineer in
   Mechanical Engineering or Civil Engineering.

   NV-MM-2. The Coalition shall minimize, to the extent practicable, construction-related
   noise disturbances in residential areas. The Coalition shall avoid nighttime construction and
   pile-driving near residential areas and employ quieter vibratory pile-driving or noise curtains
   for project-related construction where FTA construction noise criteria are exceeded.




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   NV-MM-3. In consultation with OEA and appropriate tribal and local agencies, the
   Coalition shall employ reasonable and feasible noise mitigation for receptors that would
   experience noise impacts at or greater than the regulatory analytical threshold of 65 day-night
   average sound level (DNL) and an increase of 3 A-weighted decibels (dBA). The design goal
   for noise mitigation shall be a 10 dBA noise reduction. Using industry standard loudspeaker
   testing, the building sound insulation performance shall be determined in accordance with
   ASTM 966-90, Standard Guide for Field Measurements of Airborne Sound Insulation of
   Building Facades and Façade Elements. The calculated noise reduction shall be at least
   5 dBA. Should the calculated noise reduction be less than 5 dBA then no mitigation is
   warranted as the receptor has sufficient sound insulation.

   NV-MM-4. The Coalition shall install and properly maintain rail and rail beds on the rail
   line according to American Railway Engineering and Maintenance of Way Association
   standards and shall regularly maintain locomotives, keeping mufflers in good working order
   to control noise. The Coalition shall install rail lubrication systems at curves along the rail
   line where doing so would reduce noise associated with wheel squeal for residential or other
   noise-sensitive receptors. The Coalition shall regularly inspect and maintain rail car wheels
   on trains that operate on the rail line in good working order and minimize the development of
   wheel flats (where a round wheel is flattened, leading to a clanking sound when a rail car
   passes).

Air Quality

   AQ-MM-1. In consultation with the TriCounty Health Department and the Ute Indian Tribe
   as applicable, the Coalition shall implement appropriate fugitive-dust controls such as
   spraying water or other dust treatments to reduce fugitive-dust emissions created during
   project-related construction activities. During project-related construction, the Coalition
   shall ensure that construction contractors offer workers daily transportation to the work site
   from a central location to minimize vehicular traffic on unpaved roads in the area and thereby
   reduce exhaust emissions and fugitive dust.

   AQ-MM-2. The Coalition shall ensure that all engine-powered equipment and vehicles used
   in construction, operation, and maintenance of the rail line are subject to a regular inspection
   and maintenance schedule in order to minimize air pollutant emissions, greenhouse gas
   emissions, and fuel consumption. Preventive maintenance activities shall include, but shall
   not be limited to, the following actions:
    Replacing oil and oil filters as recommended by manufacturer instructions.
    Maintaining proper tire pressure in on-road vehicles.
    Replacing worn or end-of-life parts.
    Scheduling routine equipment service checks.

   AQ-MM-3. The Coalition shall develop and implement an anti-idling policy for both rail
   construction and operations and ensure that equipment operators receive training on best
   practices for reducing fuel consumption to reduce project-related air emissions. The anti-
   idling policy shall include required warm-up periods for equipment and prohibit idling
   beyond these periods. The policy shall define any exceptions where idling is permitted for


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   safety or operational reasons, such as when ambient temperatures are below levels required
   for reliable operation. In addition, the policy shall include provisions addressing the use of
   technologies such as idle management systems or automatic shutdown features, as
   appropriate.

   AQ-MM-4. During project-related construction, the Coalition shall require that construction
   contractors use renewable diesel fuel to minimize and control greenhouse gas emissions from
   diesel-fueled construction equipment and on-road diesel trucks, to the extent practicable.
   Renewable diesel refers to biofuel that is chemically identical to diesel derived from
   petroleum, meets the most recent ASTM D975 specification for Ultra Low Sulfur Diesel, and
   has a carbon intensity no greater than 50 percent of traditional diesel. If the Coalition
   believes that renewable diesel is not available at a reasonable price from suppliers within
   200 miles of the construction site, the Coalition may request an exemption from OEA to
   instead require construction contractors use traditional diesel fuel with the highest biodiesel
   content reasonably available. The Coalition shall document the availability and price of
   renewable diesel to meet project demand in consultation with OEA.

   AQ-MM-5. The Coalition shall consider procuring alternative engine and fuel technologies,
   e.g., hybrid-electric diesel equipment, for construction and operation of the rail line to reduce
   greenhouse gas emissions.

   AQ-MM-6. The Coalition shall evaluate the feasibility of installing solar and wind
   microgeneration technologies on site offices, lodgings, and other project-related facilities to
   reduce the use of grid or privately generated electricity to reduce greenhouse gas emissions.
   As part of its evaluation, the Coalition shall consider the suitability of site conditions and
   location of solar and wind generation and the technical and economic feasibility of
   supplementing site electricity demands with renewable power.

   AQ-MM-7. The Coalition shall post signage and/or fencing during project-related
   construction, including tunnel construction, to ensure that members of the public would be
   unable to enter areas within the construction easement that could experience temporary
   adverse air quality impacts.

   AQ-MM-8. To the extent practicable, the Coalition shall avoid conducting project-related
   construction activities that could result in the emission of ozone precursors within the Uinta
   Basin Ozone Nonattainment Area in January and February to minimize emissions of ozone
   precursor chemicals in the nonattainment area. Construction-related activities covered by
   this measure include the use of diesel-powered construction equipment and the transportation
   by truck of materials to construction sites. If the Coalition believes that project-related
   construction activities that could result in the emission of ozone precursors in the Uinta Basin
   Ozone Nonattainment Area during January and February cannot practically be avoided
   during one or more years of the construction period, the Coalition shall consult with OEA
   and UDEQ’s Air Quality Division to identify and implement other appropriate ozone-
   reduction activities for those months.




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Energy

   ENGY-MM-1. The Coalition shall design any project-related road realignments to allow
   continued vehicle access to existing fixed energy facilities, such as oil pads, during and
   following construction of the rail line. The Coalition shall work with the owners of the
   energy facilities to coordinate continued access during construction and rail operations.

   ENGY-MM-2. The Coalition shall ensure that any oil and gas-producing wells within the
   rail right-of-way are plugged and abandoned in accordance with Utah Administrative Code
   Rule R649-3-24, Plugging and Abandonment of Wells. The Coalition shall consult with the
   Utah Division of Oil, Gas, and Mining prior to undertaking any construction activities that
   could affect existing wells and shall follow that agency’s reasonable recommendations
   regarding appropriate safety procedures for the abandonment of wells.

   ENGY-MM-3. The Coalition shall design any crossings or relocations of pipelines or
   electrical transmission lines in accordance with applicable Utah Division of Public Utilities’
   regulations and guidelines. The Coalition shall consult with appropriate utility providers to
   develop a plan to ensure that construction activities that could affect existing electrical
   transmission lines or energy pipelines avoid any interruption of utility service to customers to
   the extent possible.

   ENGY-MM-4. The Coalition shall consult with oil and gas operators of existing facilities
   (e.g., wells, well pads, gathering pipelines, access roads) that would be affected by
   construction and operation of the rail line during the final engineering and design phase for
   the rail line and prior to undertaking project-related construction activities to develop
   appropriate measures to mitigate impacts on these facilities. These measures may include,
   but are not limited to, adjusting the location of construction activities to avoid oil and gas
   facilities or relocating the facilities if impacts cannot be avoided during construction and
   operations.

Paleontological Resources

   PALEO-MM-1. The Coalition shall contract with a qualified paleontologist to develop and
   implement a paleontological resources monitoring and treatment plan to mitigate potential
   impacts on paleontological resources on lands classified as Potential Fossil Yield
   Classification 3, 4 or 5. The plan shall include the following requirements:
   A preconstruction survey where appropriate to describe and recover paleontological
       resources found on the surface.
   Monitoring of ground-disturbing activities during construction to recover paleontological
       resources, including inspection of spoils piles created by tunnel construction.
   Identification, preparation, and documentation of fossils collected during surveys or
       monitoring.
   Curation and deposition of significant paleontological resources into a federally approved
       repository.
   Increasing public awareness about the scientific importance of paleontological resources by
       developing web-based education material, interpretive displays, or other means.



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Land Use and Recreation

   LUR-MM-1. The Coalition shall consult with the Ute Indian Tribe during the final
   engineering and design phase of the rail line and prior to undertaking any project-related
   construction to ensure that construction and operation of the rail line would not significantly
   impact land uses on land under the tribe’s jurisdiction.

   LUR-MM-2. The Coalition shall implement any mitigation measures imposed by the Ute
   Indian Tribe as a condition of a right-of-way across Tribal trust lands.

   LUR-MM-3. If the Indian Canyon Alternative or the Wells Draw Alternative is authorized
   by the Board, the Coalition shall adhere to the reasonable mitigation conditions imposed by
   BLM in any right-of-way granted by BLM allowing the Coalition to cross BLM lands and
   shall ensure that construction and operation of the rail line is in compliance with applicable
   Resource Management Plans, including any potential amendments to those plans, for BLM
   lands that the rail line would cross.

   LUR-MM-4. If the Indian Canyon Alternative or the Whitmore Park Alternative is
   authorized by the Board, the Coalition shall adhere to the reasonable mitigation conditions
   imposed by the Forest Service in any special use permit allowing the Coalition to cross
   National Forest System Lands. These reasonable mitigation conditions may include
   identifying areas where use and storage of petroleum products, herbicides, and other
   hazardous materials should be avoided during construction and operation. Conditions may
   also include avoiding or minimizing impacts on horse pastures to maintain adequate pasture
   size and replacing pasture fences removed during construction, as determined appropriate
   through consultation with the Forest Service. The Coalition shall consult with the Forest
   Service to ensure that construction and operation of the rail line complies with Ashley Forest
   Land and Resource Management Plan, including any existing or potential amendments to
   that plan, and with the Forest Service 2001 Roadless Rule.

   LUR-MM-5. The Coalition shall adhere to the reasonable mitigation conditions imposed by
   the State of Utah School and Institutional Trust Lands Administration (SITLA) in any right-
   of-way grant allowing the Coalition to cross SITLA lands.

   LUR-MM-6. If the Indian Canyon Alternative or the Whitmore Park Alternative is
   authorized by the Board, the Coalition shall obtain a right-of-way from the U.S. Bureau of
   Indian Affairs (BIA) to cross Tribal trust lands and shall implement the reasonable terms and
   conditions imposed by BIA in any decision granting a right-of-way on Tribal trust lands.

   LUR-MM-7. Prior to project-related construction, the Coalition shall consult with BLM, the
   Forest Service, the Ute Indian Tribe, SITLA, and local agencies as appropriate, to develop a
   plan to limit, to the extent practicable, impacts on recreational resources under those
   agencies’ management or jurisdiction, including roads used for recreation and recreational
   site access. The Coalition shall also consult with private landowners to develop appropriate
   measures to mitigate impacts on land uses and recreational activities on private land. The



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   Coalition shall develop the plan prior to completing the final engineering plans for the rail
   line and following the above-mentioned consultation to determine the location of all public
   roads used as access points to a recreation area that would be crossed by the rail line. The
   plan shall designate temporary access points if main access routes must be obstructed during
   project-related construction. The plan shall also include the number and location of access
   points as decided during consultation with the applicable agencies.

   LUR-MM-8. The Coalition shall coordinate with owners of properties used for recreation
   during project-related right-of-way acquisition negotiations to provide adequate private road
   at-grade crossings to ensure that recreationists maintain access to and movement within
   recreational properties and areas. The Coalition shall coordinate with UDWR, the Ute Indian
   Tribe, SITLA, BLM, and the Forest Service, as appropriate, to develop reasonable measures
   to maintain access to hunting and recreation access points.

   LUR-MM-9. The Coalition shall consult with appropriate land management agencies to
   develop appropriate measures to mitigate impacts of construction and operation of the rail
   line on grazing allotments on public lands. These measures could include improving forage
   production in other areas of affected allotments through implementation of vegetation
   treatment projects, including sagebrush reduction treatments and/or seedings, to increase
   forage production and maintain preconstruction carrying capacity.

   LUR-MM-10. The Coalition shall install cattle guards, livestock exclusion fencing, or other
   design features, as appropriate, within grazing areas along the rail line to prevent livestock
   from entering rail tunnels or congregating at tunnel entrances or in other areas in the rail
   right-of-way that could be hazardous to livestock. The Coalition shall work with landowners
   and land management agencies, as applicable, to identify appropriate locations for cattle
   guards, fencing, and other design features and to plan for ongoing maintenance of any of
   these features.

   LUR-MM-11. The Coalition shall consider installing cattle underpasses along the right-of-
   way, as appropriate and practical. These underpasses could also be used by wildlife. The
   Coalition shall work with landowners to identify appropriate locations for cattle passes.

   LUR-MM-12. The Coalition shall coordinate with landowners and holders of conservation
   easements crossed by the rail line to develop appropriate measures to mitigate impacts of
   construction and operation of the rail line on affected conservation easements.

Visual Resources

   VIS-MM-1. The Coalition shall install visual barriers, as appropriate, to obstruct views of
   project-related construction activities and to maintain the privacy of adjacent landowners.

   VIS-MM-2. The Coalition shall direct nighttime lighting, if used during construction, onto
   the immediate construction area during project-related construction to minimize impacts
   from shining lights on sensitive viewers, sensitive natural resource areas, recreational areas,
   and roadway or trail corridors.



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   VIS-MM-3. During project-related construction, the Coalition shall grade contours to create
   slopes with undulations and topographical variations that mimic natural terrain, where
   possible. If this grading practice results in larger areas of cut or fill that would further
   degrade natural features of scenic value, the Coalition shall not implement this measure at
   those locations. For example, a steeper cut slope may be more desirable than removing many
   trees to create more rounded terrain. The Coalition shall grade and restore roadbeds that are
   abandoned because of roadway relocation due to project-related construction to mimic the
   adjacent natural landscape and revegetate the roadway surface.

   VIS-MM-4. The Coalition shall design bridges, communications towers, and other project-
   related features to complement the natural landscape and minimize visual impacts on the
   landscape. To the extent practicable, the Coalition shall use paint colors that are similar to
   colors in the surrounding landscape and shall implement design features that mimic natural
   materials (e.g., stone or rock surfacing) and colors to reduce visibility and to blend better
   with the landscape.

   VIS-MM-5. If the Board authorizes construction and operation of the Indian Canyon
   Alternative or Whitmore Park Alternative, the Coalition shall implement the reasonable
   requirements of any Forest Service decision permitting the rail line within Ashley National
   Forest and shall ensure that construction and operation on National Forest System lands
   complies with the requirements for visual resources management in Ashley National Forest
   Land and Resource Management Plan, including any potential amendments to that plan.

   VIS-MM-6. If the Board authorizes the Indian Canyon Alternative or the Wells Draw
   Alternative, the Coalition shall consult with BLM during all phases of project design to
   ensure that construction and operation of the rail line on BLM lands would be in compliance
   with all applicable BLM Visual Resource Management requirements and procedures. The
   Coalition shall incorporate visual design considerations into the design of the rail line on
   BLM lands; undertake additional visual impact analyses on BLM lands, as appropriate, in
   consultation with BLM and considering applicable BLM Visual Resources Inventories; and
   implement appropriate measures to mitigate visual impacts on BLM lands, as requested by
   BLM.

   VIS-MM-7. If the Board authorizes the Indian Canyon Alternative or the Wells Draw
   Alternative, the Coalition shall, in consultation with BLM, implement appropriate additional
   measures to minimize light pollution on BLM lands, potentially including limiting the height
   of light poles, limiting times of lighting operations, limiting wattage intensity for lighting,
   and constructing light shields, as applicable.

   VIS-MM-8. The Coalition shall implement the requirements of the Ute Indian Tribe
   regarding the design of the rail line on Tribal trust lands for minimizing visual disturbances
   to Tribal trust lands.




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Socioeconomics

   SOCIO-MM-1. The Coalition shall negotiate compensation—for direct loss of agricultural
   land in the right-of-way and the indirect loss of agricultural land from severance—with each
   landowner whose property would be affected by construction and operation of the rail line,
   consistent with applicable state law. The Coalition shall assist landowners in developing
   alternative agricultural uses for severed land, where appropriate. The Coalition shall apply a
   combination of alternative land use assistance and compensation as agreed upon during right-
   of-way negotiations, pursuant to state law. Where capital improvements are displaced by
   construction or operation of the rail line, the Coalition, in consultation with the landowner
   and relevant agencies, such as water districts or the local Natural Resources Conservation
   Services office, shall relocate or replace these improvements or provide appropriate
   compensation based on the fair market value of the capital improvements being displaced,
   consistent with applicable state law.

   SOCIO-MM-2. The Coalition shall consult with landowners to limit the loss of access to
   properties during rail construction. The Coalition also shall consult with landowners to
   determine the location of property access roads that would be crossed by the rail line. The
   Coalition shall install temporary property access points for landowner use if main access
   routes must be obstructed during project-related construction. The Coalition shall coordinate
   with landowners while negotiating the railroad right-of-way easement to identify key access
   points that would be affected by construction and operation of the rail line. The Coalition
   shall install at-grade crossings and relocate roads to maintain adequate access to and
   movement within properties after rail operations begin.

Environmental Justice

   EJ-MM-1. The Coalition shall consult with the Ute Indian Tribe regarding potential impacts
   on the Pariette cactus and Uinta Basin hookless cactus and shall abide by the requirements of
   the tribe’s Sclerocactus Management Plan and the tribe’s other requirements and
   recommendations for project-related activities on Tribal trust lands, which may include soil
   assessments, complying with mitigation measures to be developed in consultation with the
   tribe, and contributing to a conservation mitigation fund, as appropriate.

   EJ-MM-2. The Coalition shall consult with the Ute Indian Tribe regarding the final design
   of the rail line, including the locations and designs of rail-related features, such as sidings,
   communications towers, culverts, bridges, and warning devices, to ensure that impacts on
   tribal members and land and resources under the tribe’s jurisdiction are minimized.

Monitoring and Compliance

   MC-MM-1. The Coalition shall submit quarterly reports to OEA on the progress of,
   implementation of, and compliance with all Board-imposed mitigation measures. The
   reporting period for these quarterly reports shall begin on the date of the Board’s final
   decision authorizing the project until 1 year after the Coalition has completed project-related
   construction activities. The Coalition shall submit copies of the quarterly reports within



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   30 days following the end of each quarterly reporting period and distribute the reports to
   appropriate federal, state, local, and tribal agencies, as specified by OEA.




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                               List of Respondents


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